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                                       RECORD NO. 15-1261
                                  _____________________________

                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT
                              ______________________________

                          CHARITY CHIDINMA EMERONYE SWIFT,
                                                                        Plaintiff-Appellant,


                                                    v.


                                     FRONTIER AIRLINES, INC.
                                              and
                                           JANE DOE,
                                                                        Defendants-Appellees.
        __________________________________________________________________
             ON APPEAL FROM THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF VIRGINIA AT ALEXANDRIA
           ______________________________________________________________


                                         JOINT APPENDIX



        Stephen Christopher Swift                        Sarah E. Moffett
        E-Mail: steve@swift.law.pro                      E-Mail: sarah.moffett@leclairryan.com
        Charity Chidinma Emeronye Swift                  LeClairRyan
        E-Mail: charity@swift.law.pro                    2318 Mill Road, Suite 1100
        Swift & Swift, Attorneys at Law, P.L.L.C.        Alexandria, Virginia 22314
        2121 Eisenhower Avenue, Suite 200                Telephone: (703) 647-5930
        Alexandria, Virginia 22314-4688                  Facsimile: (703) 647-5980
        Telephone: (703) 418-0000                        Counsel for Defendant-Appellee
        Facsimile: (703) 535-8205                        Frontier Airlines, Inc.
        Counsel for Plaintiff-Appellant
        Charity Chidinma Emeronye Swift
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                                                                                           APPEAL,CLOSED,JURY
                                        U.S. District Court
                             Eastern District of Virginia − (Alexandria)
                       CIVIL DOCKET FOR CASE #: 1:14−cv−01139−AJT−IDD

        Swift v. Frontier Airlines, Inc. et al                            Date Filed: 09/04/2014
        Assigned to: District Judge Anthony J Trenga                      Date Terminated: 02/20/2015
        Referred to: Magistrate Judge Ivan D. Davis                       Jury Demand: Plaintiff
        Case in other court: 4th Circuit, 15−01261                        Nature of Suit: 440 Civil Rights: Other
        Cause: 42:1981 Civil Rights                                       Jurisdiction: Federal Question
        Plaintiff
        Charity Chidinma Emeronye Swift                   represented by Geoffrey Stewart Burke
                                                                         Burke Law PLC
                                                                         PO Box 6933
                                                                         Arlington, VA 22206
                                                                         703−665−4454
                                                                         Fax: 703−649−6224
                                                                         Email: gburke@burkelawpractice.com
                                                                         TERMINATED: 11/18/2014
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED

                                                                          Stephen Christopher Swift
                                                                          Swift &Swift Attorneys at Law PLLC
                                                                          2121 Eisenhower Avenue
                                                                          Alexandria, VA 22314−4688
                                                                          (703) 418−0000
                                                                          Fax: 703−535−8205
                                                                          Email: steve@swift.law.pro
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

        Defendant
        Frontier Airlines, Inc.                           represented by Sarah Elizabeth Moffett
        a Colorado corporation                                           LeClairRyan PC (Alexandria)
                                                                         2318 Mill Road
                                                                         Suite 1100
                                                                         Alexandria, VA 22314
                                                                         703−684−8007
                                                                         Fax: 703−684−8075
                                                                         Email: sarah.moffett@leclairryan.com
                                                                         ATTORNEY TO BE NOTICED

        Defendant
        Jane Doe


         Date Filed       #       Docket Text
         09/04/2014           1 COMPLAINT against Jane Doe, Frontier Airlines, Inc. ( Filing fee $ 400, receipt
                                number 14683046159.), filed by Charity Chidinma Emeronye Swift. (Attachments:
                                # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Civil Cover Sheet, #
                                6 Receipt)(nhall ) (Entered: 09/09/2014)
         09/04/2014           2 Summons Issued and given for service by SPS as to Frontier Airlines, Inc. (nhall)
                                (Entered: 09/09/2014)
         09/29/2014           3 SUMMONS Returned Executed Frontier Airlines, Inc. served on 9/17/2014,
                                answer due 10/8/2014. (nhall) (Entered: 10/03/2014)

                                                                                                           1
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         10/08/2014     4 MOTION for Extension of Time to File Responsive Pleadings by Frontier Airlines,
                          Inc.. (Attachments: # 1 Proposed Order)(Moffett, Sarah) (Entered: 10/08/2014)
         10/08/2014     5 Financial Interest Disclosure Statement (Local Rule 7.1) by Frontier Airlines, Inc..
                          (Moffett, Sarah) (Entered: 10/08/2014)
         10/10/2014     6 ORDER granting 4 Motion for Extension of Time to File responsive pleadings to
                          the complaint to 10/22/14. Signed by Magistrate Judge Ivan D. Davis on 10/10/14.
                          (gwalk, ) (Entered: 10/10/2014)
         10/14/2014     7 Motion to appear Pro Hac Vice by Steve Lee Boldt and Certification of Local
                          Counsel Sarah E. Moffett Filing fee $ 75, receipt number 0422−4150231. by
                          Frontier Airlines, Inc.. (Moffett, Sarah) (Entered: 10/14/2014)
         10/16/2014     8 ORDER granting 7 Motion for Pro hac vice. Signed by District Judge Liam
                          O'Grady on 10/16/14. (gwalk, ) (Entered: 10/17/2014)
         10/22/2014     9 Motion to appear Pro Hac Vice by Paula LoMonaco Wegman and Certification of
                          Local Counsel Sarah E. Moffett Filing fee $ 75, receipt number 0422−4160206. by
                          Frontier Airlines, Inc.. (Moffett, Sarah) (Entered: 10/22/2014)
         10/22/2014    10 MOTION to Dismiss for Failure to State a Claim in Counts III and IV of Plaintiff's
                          Complaint by Frontier Airlines, Inc.. (Attachments: # 1 Proposed Order Proposed
                          Order)(Moffett, Sarah) (Entered: 10/22/2014)
         10/22/2014    11 Roseboro Notice as to Frontier's Motion to Dismiss for Failure to State a Claim in
                          Counts III and IV of Plaintiff's Complaint by Frontier Airlines, Inc. (Moffett,
                          Sarah) (Entered: 10/22/2014)
         10/22/2014    12 Memorandum in Support re 10 MOTION to Dismiss for Failure to State a Claim in
                          Counts III and IV of Plaintiff's Complaint filed by Frontier Airlines, Inc.. (Moffett,
                          Sarah) (Entered: 10/22/2014)
         10/22/2014    13 ANSWER to 1 Complaint, by Frontier Airlines, Inc..(Moffett, Sarah) (Entered:
                          10/22/2014)
         10/24/2014        Notice of Correction re 10 MOTION to Dismiss for Failure to State a Claim in
                           Counts III and IV of Plaintiff's Complaint. The filing user has been notified to file a
                           Notice of Hearing Date. (dvanm, ) (Entered: 10/24/2014)
         10/28/2014    14 Notice of Hearing Date set for December 12, 2014 re 10 MOTION to Dismiss for
                          Failure to State a Claim in Counts III and IV of Plaintiff's Complaint (Moffett,
                          Sarah) (Entered: 10/28/2014)
         10/29/2014        Set Deadlines as to 10 MOTION to Dismiss for Failure to State a Claim in Counts
                           III and IV of Plaintiff's Complaint. Motion Hearing set for 12/12/2014 at 10:00 AM
                           in Alexandria Courtroom 700 before District Judge Liam O'Grady. (clar, )
                           (Entered: 10/29/2014)
         11/03/2014    15 First MOTION for Extension of Time to File Response/Reply to Defendant's
                          Motion to Dismiss by Charity Chidinma Emeronye Swift. (Attachments: # 1
                          Proposed Order)(Burke, Geoffrey) (Entered: 11/03/2014)
         11/04/2014        ***Entered In Error***Notice of Correction re 15 First MOTION for Extension of
                           Time to File Response/Reply to Defendant's Motion to Dismiss AND 10 MOTION
                           to Dismiss for Failure to State a Claim in Counts III and IV of Plaintiff's
                           Complaint. The filing user has been notified to file a Notice of Hearing Date.
                           (gwalk, ) Modified on 11/4/2014 because should have only be as to DE #15 and not
                           DE # 10 (dvanm, ). (Entered: 11/04/2014)
         11/04/2014        Notice of Correction ONLY AS TO 15 First MOTION for Extension of Time to
                           File Response/Reply to Defendant's Motion to Dismiss. The filing user has been
                           notified to file a Notice of Hearing Date. (dvanm, ) (Entered: 11/04/2014)
         11/04/2014    16 ORDER granting 15 Motion for Extension of Time to File Response/Reply re 10
                          MOTION to Dismiss for Failure to State a Claim in Counts III and IV of Plaintiff's
                          Complaint. Responses due by 11/20/2014. Signed by Magistrate Judge Ivan D.
                          Davis on 11/4/2014. (rban, ) (Entered: 11/04/2014)
                                                                                                         2
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         11/07/2014    17 ORDER granting 9 Motion for Pro hac vice. Signed by District Judge Liam
                          O'Grady on 11/7/14. (nhall ) (Entered: 11/07/2014)
         11/17/2014    18 MOTION to Withdraw , MOTION to Withdraw as Attorney by Charity Chidinma
                          Emeronye Swift. (Attachments: # 1 Proposed Order)(Burke, Geoffrey) (Entered:
                          11/17/2014)
         11/17/2014    19 Memorandum in Support re 18 MOTION to Withdraw MOTION to Withdraw as
                          Attorney filed by Charity Chidinma Emeronye Swift. (Burke, Geoffrey) (Entered:
                          11/17/2014)
         11/17/2014    20 Waiver of re 18 MOTION to Withdraw MOTION to Withdraw as Attorney , 19
                          Memorandum in Support by Charity Chidinma Emeronye Swift (Burke, Geoffrey)
                          (Entered: 11/17/2014)
         11/18/2014    25 ORDER granting 18 Motion to Withdraw as Attorney. Attorney Geoffrey Stewart
                          Burke terminated. Plaintiff shall have ten days to retain new counsel and the time
                          to file its responsive pleadings to the Defendant Frontier Airline's Motion to
                          Dismiss is hereby extended to and including December 5, 2014. Signed by
                          Magistrate Judge Ivan D. Davis on 11/18/14. (gwalk, ) (Entered: 11/19/2014)
         11/19/2014    21 MOTION to Expedite Motion to Withdraw as Counsel by Charity Chidinma
                          Emeronye Swift. (Attachments: # 1 Proposed Order Granting Expedited Motion to
                          Withdraw as Counsel)(Burke, Geoffrey) (Entered: 11/19/2014)
         11/19/2014    22 Memorandum in Support re 21 MOTION to Expedite Motion to Withdraw as
                          Counsel filed by Charity Chidinma Emeronye Swift. (Burke, Geoffrey) (Entered:
                          11/19/2014)
         11/19/2014    23 Waiver of re 22 Memorandum in Support, 21 MOTION to Expedite Motion to
                          Withdraw as Counsel by Charity Chidinma Emeronye Swift (Burke, Geoffrey)
                          (Entered: 11/19/2014)
         11/19/2014    24 ORDER granting 21 Motion to Expedite. Signed by Magistrate Judge Ivan D.
                          Davis on 11/19/2014. (Davis, Ivan) (Entered: 11/19/2014)
         12/05/2014    26 Opposition to 10 MOTION to Dismiss for Failure to State a Claim in Counts III
                          and IV of Plaintiff's Complaint filed by Charity Chidinma Emeronye Swift. (Swift,
                          Stephen) (Entered: 12/05/2014)
         12/05/2014    27 Memorandum in Opposition re 10 MOTION to Dismiss for Failure to State a
                          Claim in Counts III and IV of Plaintiff's Complaint filed by Charity Chidinma
                          Emeronye Swift. (Swift, Stephen) (Entered: 12/05/2014)
         12/09/2014    28 SCHEDULING ORDER:
                          Initial Pretrial Conference set for 1/14/2015 at 11:00 AM in Alexandria Courtroom
                          400 before Magistrate Judge Ivan D. Davis.
                          Final Pretrial Conference set for 4/16/2015 at 10:00 AM in Alexandria Courtroom
                          700 before District Judge Liam O'Grady.
                          Discovery due by 4/10/2015.
                          Signed by District Judge Liam O'Grady on 12/9/2014. (Attachments: # 1
                          Magistrate Consent, # 2 Pretrial Notice)(rban, ) (Entered: 12/09/2014)
         12/09/2014    29 NOTICE of Appearance by Stephen Christopher Swift on behalf of Charity
                          Chidinma Emeronye Swift (Swift, Stephen) (Entered: 12/09/2014)
         12/09/2014    30 Consent MOTION to Continue Hearing on Motion to Dismiss by Charity
                          Chidinma Emeronye Swift. (Attachments: # 1 Proposed Order)(Swift, Stephen)
                          (Entered: 12/09/2014)
         12/09/2014        Case Reassigned to District Judge Anthony J Trenga. District Judge Liam O'Grady
                           no longer assigned to the case. (rban, ) (Entered: 12/09/2014)
         12/09/2014        Set/Reset Deadlines as to 10 MOTION to Dismiss for Failure to State a Claim in
                           Counts III and IV of Plaintiff's Complaint. Motion Hearing set for 12/12/2014 at
                           10:00 AM in Alexandria Courtroom 701 before District Judge Anthony J Trenga.
                           (rban, ) (Entered: 12/09/2014)

                                                                                                     3
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         12/09/2014        Set/Reset Scheduling Order Deadlines: Final Pretrial Conference set for 4/16/2015
                           at 10:00 AM in Alexandria Courtroom 701 before District Judge Anthony J
                           Trenga. (rban, ) (Entered: 12/09/2014)
         12/10/2014    31 First MOTION to Amend/Correct Complaint by Charity Chidinma Emeronye
                          Swift. (Swift, Stephen) (Entered: 12/10/2014)
         12/10/2014    32 Memorandum in Support re 31 First MOTION to Amend/Correct Complaint filed
                          by Charity Chidinma Emeronye Swift. (Attachments: # 1 Proposed Order, # 2
                          Exhibit 1 − Proposed Amended Complaint, # 3 Exhibit A, # 4 Exhibit B, # 5
                          Exhibit C, # 6 Exhibit D, # 7 Exhibit E, # 8 Exhibit F, # 9 Exhibit G, # 10 Exhibit
                          H, # 11 Exhibit I)(Swift, Stephen) (Entered: 12/10/2014)
         12/10/2014    33 Notice of Hearing Date set for 01/09/2015 re 32 Memorandum in Support, 31 First
                          MOTION to Amend/Correct Complaint (Swift, Stephen) (Entered: 12/10/2014)
         12/10/2014    34 ORDER − It is hereby ORDERED that the hearing presently set for Friday,
                          December 12, 2014 at 10:00 a.m. be, and the same hereby is, CANCELLED and
                          the parties' Unopposed Motion for Continuance of Hearing on Frontier Airline,
                          Inc.'s Motion to Dismiss Counts III&IV of Plaintiffs Complaint 30 is otherwise
                          DENIED. The Court has taken defendant Frontier Airline, Inc.'s Motion to Dismiss
                          Counts III &IV of Plaintiffs Complaint 10 under advisement and will decide the
                          motion without a hearing. Signed by District Judge Anthony J Trenga on 12/10/14.
                          (gwalk, ) (Entered: 12/10/2014)
         12/11/2014        Set Deadlines as to 31 First MOTION to Amend/Correct Complaint. Motion
                           Hearing set for 1/9/2015 at 10:00 AM in Alexandria Courtroom 400 before
                           Magistrate Judge Ivan D. Davis. (clar, ) (Entered: 12/11/2014)
         12/11/2014        MOTIONS REFERRED to Magistrate Judge: Davis. 31 First MOTION to
                           Amend/Correct Complaint (clar, ) (Entered: 12/11/2014)
         12/11/2014    35 REPLY to Response to Motion re 10 MOTION to Dismiss for Failure to State a
                          Claim in Counts III and IV of Plaintiff's Complaint filed by Frontier Airlines, Inc..
                          (Moffett, Sarah) (Entered: 12/11/2014)
         12/11/2014        Per AJT chambers motions set for 12/12/14 an order is to be issued (clar, )
                           (Entered: 12/11/2014)
         12/23/2014    36 Memorandum in Opposition re 31 First MOTION to Amend/Correct Complaint
                          filed by Frontier Airlines, Inc.. (Moffett, Sarah) (Entered: 12/23/2014)
         12/29/2014    37 Rebuttal Brief re 31 First MOTION to Amend/Correct Complaint filed by Charity
                          Chidinma Emeronye Swift. (Swift, Stephen) (Entered: 12/29/2014)
         12/31/2014    38 ORDER granting 10 Motion to Dismiss for Failure to State a Claim. ORDERED
                          that Counts III and IV are DISMISSED. Signed by District Judge Anthony J
                          Trenga on 12/31/2014. (rban, ) (Entered: 12/31/2014)
         01/07/2015    39 Joint Discovery Plan by Charity Chidinma Emeronye Swift.(Swift, Stephen)
                          (Entered: 01/07/2015)
         01/07/2015    40 AMENDED COMPLAINT proposed against All Defendants, filed by Charity
                          Chidinma Emeronye Swift.(Swift, Stephen) (Entered: 01/07/2015)
         01/08/2015    41 Amended Joint Discovery Plan by Charity Chidinma Emeronye Swift.(Swift,
                          Stephen) (Entered: 01/08/2015)
         01/09/2015    42 Minute Entry for proceedings held before Magistrate Judge Ivan D. Davis:Motion
                          Hearing held on 1/9/2015 re 31 First MOTION to Amend/Correct Complaint filed
                          by Charity Chidinma Emeronye Swift. Appearances of counsel. Matter argued.
                          Motion is Granted in part and Denied in part. Order to follow. (Tape #ftr.)(jwil, )
                          (Entered: 01/09/2015)
         01/09/2015    43 ORDERED that Plaintiffs Motion for Leave of Court to Amend Complaint 31 is
                          GRANTED in part and DENIED in part. The Motion is granted as to adding Count
                          V (Breach of Contract of Carriage) to the Complaint, and denied as to adding
                          Count VI (False Imprisonment). Plaintiff shall promptly file an Amended
                                                                                                         4
                          Complaint with the Clerk of the Court, which shall be deemed filed as of the date
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                           of this Order. Signed by Magistrate Judge Ivan D. Davis on 01/09/2015. (jwil, )
                           (Entered: 01/12/2015)
         01/09/2015    44 Order Rule 16(b) Scheduling Order − Pursuant to the Rule 16(b) Conference it is
                          ordered that 1. All discovery shall be concluded by April 10, 2015. 2. Disclosures
                          under Fed. R. Civ. P. 26(a)(1) and (2), notices of depositions,interrogatories,
                          requests for documents and admissions, and answers thereto shall not be filed
                          except on order of the court, or for use in a motion or at trial. 3. The parties'
                          Amended Joint Discovery Plan is approved and shall control discovery to the
                          extent of its application unless further modified by the court. See Order for details.
                          Signed by Magistrate Judge Ivan D. Davis on 01/09/2015. (jwil, ) (Entered:
                          01/12/2015)
         01/14/2015    45 AMENDED COMPLAINT against All Defendants, filed by Charity Chidinma
                          Emeronye Swift. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                          Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit
                          I)(Swift, Stephen) (Entered: 01/14/2015)
         01/20/2015    46 MOTION for Extension of Time to Make Objections by Charity Chidinma
                          Emeronye Swift. (Attachments: # 1 Proposed Order)(Swift, Stephen) (Entered:
                          01/20/2015)
         01/20/2015    47 Memorandum in Support re 46 MOTION for Extension of Time to Make
                          Objections filed by Charity Chidinma Emeronye Swift. (Attachments: # 1 Exhibit
                          1, # 2 Exhibit 2, # 3 Exhibit A, # 4 Exhibit B, # 5 Exhibit C, # 6 Exhibit D, # 7
                          Exhibit E, # 8 Exhibit F, # 9 Exhibit G, # 10 Exhibit H, # 11 Exhibit I)(Swift,
                          Stephen) (Entered: 01/20/2015)
         01/22/2015        Notice of Correction re 46 MOTION for Extension of Time to Make Objections
                           The filing user has been notified to file a Notice of Hearing Date or a Notice of
                           Waiver of Oral Argument. (dvanm, ) (Entered: 01/22/2015)
         01/26/2015    48 MOTION for Settlement Agreement to be Enforced and Other Relief by Frontier
                          Airlines, Inc.. (Attachments: # 1 Proposed Order)(Moffett, Sarah) (Entered:
                          01/26/2015)
         01/26/2015    49 Memorandum in Support re 48 MOTION for Settlement Agreement to be Enforced
                          and Other Relief filed by Frontier Airlines, Inc.. (Attachments: # 1 Declaration of
                          P. Wegman, # 2 Exhibit Ex. A − 1.9.2015 e−mail, # 3 Exhibit Ex. B − 1.12.2015
                          e−mail and agreement, # 4 Exhibit Ex. C − 1.13.2015 e−mail, # 5 Exhibit Ex. D −
                          1.14.2015 e−mail, # 6 Exhibit Ex. E − 1.16.2015 e−mail and agreement)(Moffett,
                          Sarah) (Entered: 01/26/2015)
         01/26/2015    50 Notice of Hearing Date set for February 20, 2015 re 48 MOTION for Settlement
                          Agreement to be Enforced and Other Relief (Moffett, Sarah) (Entered: 01/26/2015)
         01/27/2015        Set Deadlines as to 48 MOTION for Settlement Agreement to be Enforced and
                           Other Relief. Motion Hearing set for 2/20/2015 at 10:00 AM in Alexandria
                           Courtroom 701 before District Judge Anthony J Trenga. (clar, ) (Entered:
                           01/27/2015)
         01/28/2015    51 Memorandum in Opposition re 46 MOTION for Extension of Time to Make
                          Objections filed by Frontier Airlines, Inc.. (Attachments: # 1 Proposed
                          Order)(Moffett, Sarah) (Entered: 01/28/2015)
         01/30/2015    52 ANSWER to Complaint by Frontier Airlines, Inc..(Moffett, Sarah) (Entered:
                          01/30/2015)
         02/03/2015    53 Rebuttal Brief re 46 MOTION for Extension of Time to Make Objections filed by
                          Charity Chidinma Emeronye Swift. (Attachments: # 1 Affidavit of Charity C.E.
                          Swift)(Swift, Stephen) (Entered: 02/03/2015)
         02/09/2015    54 Opposition to 48 MOTION for Settlement Agreement to be Enforced and Other
                          Relief filed by Charity Chidinma Emeronye Swift. (Attachments: # 1 Proposed
                          Order, # 2 Affidavit of Charity Swift, # 3 Exhibit A)(Swift, Stephen) (Entered:
                          02/09/2015)

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         02/12/2015    55 Notice of Hearing Date re 46 MOTION for Extension of Time to Make Objections
                          (Swift, Stephen) (Entered: 02/12/2015)
         02/13/2015        Set Deadlines as to 46 MOTION for Extension of Time to Make Objections.
                           Motion Hearing set for 3/13/2015 at 10:00 AM in Alexandria Courtroom 400
                           before Magistrate Judge Ivan D. Davis. (clar, ) (Entered: 02/13/2015)
         02/13/2015        MOTIONS REFERRED to Magistrate Judge: Davis. 46 MOTION for Extension of
                           Time to Make Objections (clar, ) (Entered: 02/13/2015)
         02/13/2015        Reset Deadlines as to 46 MOTION for Extension of Time to Make Objections.
                           Motion Hearing set for 3/13/2015 at 10:00 AM in Alexandria Courtroom 301
                           before Magistrate Judge Ivan D. Davis. (clar, ) (Entered: 02/13/2015)
         02/16/2015    56 REPLY to Response to Motion re 48 MOTION for Settlement Agreement to be
                          Enforced and Other Relief filed by Frontier Airlines, Inc.. (Moffett, Sarah)
                          (Entered: 02/16/2015)
         02/20/2015    57 Minute Entry for proceedings held before District Judge Anthony J Trenga:
                          Motion Hearing held on 2/20/2015 re 48 MOTION for Settlement Agreement to be
                          Enforced and Other Relief filed by Frontier Airlines, Inc..
                          Appearances of Counsel for Pltf. and Deft.
                          Motion argued and GRANTED IN PART/DENIED IN PART.
                          This matter is GRANTED to the extent that this matter is dismissed as settled.
                          Otherwise the motion is denied. The Court denies fees.
                          (Court Reporter R. Montgomery.)
                          (jall) (Entered: 02/20/2015)
         02/20/2015    58 ORDER re: 48 Motion for Settlement:
                          This matter is before the Court on Frontier Airlines, Inc.'s Motion to Enforce the
                          Settlement Agreement and for Other Relief [Doc. No. 48] (the "Motion"). Upon
                          consideration of the Motion, the memoranda in support thereof and in opposition
                          thereto, the argument of counsel presented at the hearing held on February 20,
                          2015, and for the reasons stated in open court, it is hereby
                          ORDERED that Frontier Airlines, Inc.'s Motion to Enforce the Settlement
                          Agreement and for Other Relief [Doc. No. 48] be, and the same hereby is,
                          GRANTED in part and DENIED in part, The Motion is GRANTED to the extent
                          that this matter is hereby DISMISSED as settled and it is otherwise DENIED.
                          Signed by District Judge Anthony J Trenga on 2/20/2015.
                          (jall) (Entered: 02/20/2015)
         03/04/2015    59 TRANSCRIPT of proceedings held on 2/20/15 ( 48 FRONTIER AIRLINES, INCS
                          MOTION TO ENFORCE THE SETTLEMENT AGREEMENT AND FOR
                          OTHER RELIEF), before Judge Anthony J. Trenga, Court Reporter/Transcriber
                          Rhonda Montgomery, Telephone number 703−299−4599. NOTICE RE
                          REDACTION OF TRANSCRIPTS:The parties have thirty(30) calendar days
                          to file with the Court a Notice of Intent to Request Redaction of this
                          transcript. If no such Notice is filed, the transcript will be made remotely
                          electronically available to the public without redaction after 90 calendar days.
                          The policy is located on our website at www.vaed.uscourts.gov Transcript may
                          be viewed at the court public terminal or purchased through the court
                          reporter/transcriber before the deadline for Release of Transcript Restriction.
                          After that date it may be obtained through PACER Redaction Request due
                          4/3/2015. Redacted Transcript Deadline set for 5/4/2015. Release of Transcript
                          Restriction set for 6/2/2015.(montgomery, rhonda) (Entered: 03/04/2015)
         03/05/2015    60 NOTICE OF APPEAL as to 58 Order on Motion for Settlement,,, by Charity
                          Chidinma Emeronye Swift. Filing fee $ 505, receipt number 0422−4344722.
                          (Swift, Stephen) (Entered: 03/05/2015)
         03/11/2015    61 Transmission of Notice of Appeal to US Court of Appeals re 60 Notice of Appeal
                          (All case opening forms, plus the transcript guidelines, may be obtained from the
                          Fourth Circuit's website at www.ca4.uscourts.gov) (nhall) (Entered: 03/11/2015)
         03/11/2015    62 USCA Case Number 15−1261 4th Circuit, Case Manager B. Rowe for 60 Notice of
                          Appeal filed by Charity Chidinma Emeronye Swift. (rban, ) (Entered: 03/12/2015)
                                                                                                     6
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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Alexandria Division

        ____________________________________
                                            |
        CHARITY CHIDINMA                    |
        EMERONYE SWIFT,                     |
                                            |
                     Plaintiff,             |                Civil Action No. 1:14-cv-1139
                                            |
               v.                           |                Hon. Anthony J. Trenga
                                            |                Hon. Magistrate Judge Ivan D. Davis
        FRONTIER AIRLINES, INC.             |
        (a Colorado corporation),           |
        and JANE DOE,                       |
                                            |
                     Defendants.            |
        ____________________________________|

                             PLAINTIFF’S MOTION FOR LEAVE OF COURT
                                      TO AMEND COMPLAINT

               Plaintiff Charity Chidinma Emeronye Swift (“Mrs. Swift”), through her undersigned

        attorney, pursuant to Rule 15(a)(2) of the Federal Rules of Civil Procedure, moves this Court for

        leave to amend her Complaint, for reasons set forth in the memorandum submitted herewith.

        Mrs. Swift’ counsel has conferred with counsel for Frontier Airlines, Inc., but they have not

        consented to this motion.




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        Dated: December 10, 2014           Respectfully submitted,


                                           /s/ Stephen Christopher Swift
                                           Stephen Christopher Swift
                                           Virginia State Bar ID No. 38419
                                           Swift & Swift, Attorneys at Law, P.L.L.C.
                                           2121 Eisenhower Avenue, Suite 200
                                           Alexandria, Virginia 22314-4688
                                           Telephone: (703) 418-0000
                                           Facsimile: (703) 535-8205
                                           E-Mail: steve@swift.law.pro

                                           Attorney for Plaintiff
                                           Charity Chidinma Emeronye Swift




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                                        CERTIFICATE OF SERVICE

               I hereby certify that, on December 10, 2014, I electronically filed the foregoing document

        with the Clerk of the Court, using the Court’s CM/ECF system, which will automatically cause

        all counsel of record to be served therewith.



                                                        /s/ Stephen Christopher Swift
                                                        Stephen Christopher Swift




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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Alexandria Division

        ____________________________________
                                            |
        CHARITY CHIDINMA                    |
        EMERONYE SWIFT,                     |
                                            |
                     Plaintiff,             |                 Civil Action No. 1:14-cv-1139
                                            |
               v.                           |                 Hon. Judge Anthony J. Trenga
                                            |                 Hon. Magistrate Judge Ivan D. Davis
        FRONTIER AIRLINES, INC.             |
        (a Colorado corporation),           |
        and JANE DOE,                       |
                                            |
                     Defendants.            |
        ____________________________________|

                                  MEMORANDUM IN SUPPORT OF
                             PLAINTIFF’S MOTION FOR LEAVE OF COURT
                                      TO AMEND COMPLAINT

               Plaintiff Charity Chidinma Emeronye Swift (“Mrs. Swift”), through her undersigned

        counsel, proposes to substitute the Amended Complaint attached hereto as Exhibit 1 for her

        original Complaint in this case. Her reasons for amending her Complaint are as follows:

               1. She did not file an Amended Complaint for more than twenty-one days after Frontier

        Arlines, Inc. (“Frontier”) filed its Answer and Motion to Dismiss, because settlement

        negotiations were ongoing, and appeared promising at the time.

               2. Her former counsel withdrew more than twenty-one days after Frontier Arlines, Inc.

        (“Frontier”) filed its Answer and Motion to Dismiss.

               3. She has discovered new facts and information that are included in the Amended

        Complaint, that have enabled her to better state her claims.


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               In Sepmoree v. Bio-Medical Applications of Virginia, Inc. Civil Action No. 2:14-cv-141

        (E.D. Va., 2014), the Court stated:

                       If a motion to amend is filed more than twenty-one days after a responsive
               pleading or motion under Rule 12(b) is served, either leave of court or the consent
               of the opposing party is required. Fed R. Civ. P. 15(a)(2). The courts are
               instructed to “freely give leave when justice so requires.” Id. [Citing Pueschel v.
               United States, 369 F.3d 345, 353 n.3 (4th Cir. 2004)] Thus, leave to amend a
               pleading should only be denied when (1) the amendment will prejudice the
               defendant; (2) the moving party has acted in bad faith; or (3) the amendment
               would be futile. Laber v. Harvey, 438 F.3d 404, 426 (4th Cir. 2006). An
               amendment would be futile if it fails to state a claim under the Federal Rules of
               Civil Procudure. See Katle v. Penn Nat.Gaming, Inc. 637 F.3d 462, 471 (4th Cir.
               2011).

               The attached Amended Complaint will in no way prejudice the defendants. Plaintiff has

        in no way acted in bad faith, but was unable to meet the 21-day deadline filing it (after Frontier’s

        Answer and Motion to Dismiss were filed) only because settlement negotiations seemed likely to

        resolve the case, and her former counsel withdrew their representation after the 21 days expired.

        Plaintiff believes that the attached Amended Complaint will not be futile, because she has

        alleged sufficient facts that meet the Twombly and Iqbal plausibility test. Finally, justice

        requires that Mrs. Swift be allowed to amend her complaint.




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               For the foregoing reasons, Plaintiff’s Motion for Leave of Court to Amend Complaint

        should be granted.

        Dated: December 10, 2014                   Respectfully submitted,

                                                   /s/ Stephen Christopher Swift
                                                   Stephen Christopher Swift
                                                   Virginia State Bar ID No. 38419
                                                   Swift & Swift, Attorneys at Law, P.L.L.C.
                                                   2121 Eisenhower Avenue, Suite 200
                                                   Alexandria, Virginia 22314-4688
                                                   Telephone: (703) 418-0000
                                                   Facsimile: (703) 535-8205
                                                   E-Mail: steve@swift.law.pro

                                                   Attorney for Plaintiff
                                                   Charity Chidinma Emeronye Swift




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                                        CERTIFICATE OF SERVICE

               I hereby certify that, on December 10, 2014, I electronically filed the foregoing document

        with the Clerk of the Court, using the Court’s CM/ECF system, which will automatically cause

        all counsel of record to be served therewith.



                                                        /s/ Stephen Christopher Swift
                                                        Stephen Christopher Swift




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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                       ALEXANDRIA DIVISION

                                                         |
        CHARITY CHIDINMA                                 |
        EMERONYE SWIFT,                                  |
                                                         |
                       Plaintiff,                        |   Civil Action No. 1:14-CV-1139
                                                         |
               v.                                        |   Hon. Judge Anthony J. Trenga
                                                         |   Hon. Magistrate Judge Ivan D. Davis
        FRONTIER AIRLINES, INC. (a Colorado              |
        corporation), and JANE DOE,                      |
                                                         |
                       Defendants.                       |
                                                         |

                        FRONTIER AIRLINES, INC.’S OPPOSITION TO
             PLAINTIFF’S MOTION FOR LEAVE OF COURT TO AMEND COMPLAINT

               Defendant Frontier Airlines, Inc. (“Frontier”), pursuant to the Federal Rules of Civil

        Procedure and Local Rule 7(f) of this Court, submits this Opposition to Plaintiff Charity

        Chidinma Emeronye Swift’s (“Plaintiff”) Motion for Leave of Court to Amend Complaint.

                                           I.     INTRODUCTION

               This case arises out of a $25.00 baggage fee Plaintiff claims she was wrongfully charged

        due to her race and/or national origin by a gate agent employed by Frontier on September 4,

        2013. On September 4, 2014, Plaintiff filed a Complaint asserting, among other things, claims

        for intentional infliction of emotional distress (“IIED”) (Count III) and defamation (Count IV)

        against Frontier. On October 22, 2014, Frontier filed a Motion to Dismiss both of these counts

        pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure. The Motion to Dismiss is

        now fully briefed by the parties and set for oral argument on January 9, 2015.




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               On December 10, 2014, Plaintiff filed a Motion for Leave of the Court to Amend

        Complaint and attached a proposed Amended Complaint. Notably, Plaintiff’s proposed Amended

        Complaint fails to correct any of the legal deficiencies in her IIED and defamation claims.

        Instead, Plaintiff seeks to add two new causes of action: (1) false imprisonment; and (2) breach

        of contract. In sum, Plaintiff now alleges that she was also falsely imprisoned by a Frontier gate

        agent because the agent allegedly threatened to deny her boarding and call airport security if she

        refused to pay the $25.00 baggage fee. She also claims Frontier breached a contract by charging

        her the fee and refusing to allow her to board the plane prior to paying the fee. These new claims

        fail for several reasons and, since the amendments would be futile, leave should be denied.

               First, Plaintiff, by her own admission in the Amended Complaint, was never detained at

        any point during the incident. She merely alleges that she was wrongfully required to pay the fee

        before being allowed to board her flight, and therefore, she was falsely imprisoned. This is not

        false imprisonment, as Plaintiff was never actually detained in the gate area or anywhere else.

               Second, Plaintiff fails to state a claim for breach of contract because the terms of the

        purported contracts attached to her proposed Amended Complaint clearly establish that Plaintiff

        was properly charged the $25.00 fee. Plaintiff purchased her tickets on August 19, 2013 from a

        third-party travel agency, and not from Frontier’s website. As such, her ticket was a “Basic”

        ticket, and Plaintiff was rightfully charged the $25.00 fee. There was simply no breach. Further,

        the tort damages sought in her contract claim are improper under Virginia law. As such,

        Plaintiff’s request to amend her complaint to add her breach of contract claim must be denied.

               Accordingly, dismissal of Plaintiff’s IIED (Count III) and defamation (Count IV) claims

        continues to be warranted since her proposed Amended Complaint does not cure the deficiencies

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        raised in Frontier’s fully-briefed Motion to Dismiss. Likewise, leave for Plaintiff to allege her

        breach of contract (Count V) and false imprisonment (Count VI) claims must be denied as futile.

                                       II.     STATEMENT OF FACTS

               On September 4, 2013, Plaintiff was traveling on Frontier Airlines from Bozeman,

        Montana (BZN) to Arlington, Virginia (DCA) with a stopover in Denver, Colorado (DEN).

        (Doc. # 32-2, ¶¶15, 18). While boarding her connecting flight, Plaintiff alleges that a Frontier

        agent told Plaintiff that she would have to pay a $25.00 fee for her carry-on baggage before she

        was allowed to board. Id., ¶20. Plaintiff claims she was the only one asked to pay the $25.00 fee

        due to her race and national origin. Id., ¶¶25-26.

               After being informed of the fee, Plaintiff debated with the agent as to why she should not

        have to pay it. Id. ¶¶20-24. At some point thereafter, the agent allegedly became impatient with

        Plaintiff and told her, “Can’t you see that I don’t care, and I don’t want to hear you say anything

        more to me again, you pay or I will call the airport security police to come and arrest you.” Id.

        ¶23. After Plaintiff failed to respond, the agent then allegedly stated, “Can someone call me [sic]

        an airport security police?” Id. ¶23. Ultimately, Plaintiff paid the $25.00 fee and boarded her

        flight without incident, though she “felt devastated by the thought that she could have been

        arrested, had someone called the police as Jane Doe requested.” Id. ¶27. By paying the fee,

        Plaintiff claims she was falsely imprisoned because the agent “restrained [Plaintiff’s] liberty and

        freedom to board her flight, which she had paid for, without just cause.” Id. ¶57.

               On August 19, 2013, Plaintiff booked her ticket through a third-party travel agency, Air

        World Travel and Train, and not on FlyFrontier.com. Id., ¶¶15, 54. According to Exhibit G to

        Plaintiff’s Amended Complaint, Frontier offered the following fare options:

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        (Doc. #32-9, p.2-3 (emphasis added)). These fare options are consistent with the May 1, 2013

        press release attached as Exhibit E to Plaintiff’s Amended Complaint, which states, in relevant

        part, as follows:

                                                      4


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               Carry-On Baggage

               Frontier’s most loyal customers have made it very clear that finding overhead bin
               space for carry-on bags has become unacceptably difficult. In response, Frontier
               will be introducing a charge for carry-on bags for customers buying Basic fares
               through third party sales. All tickets sold at FlyFrontier.com include a carry-on
               bag with the fare.

               FlyFrontier.com will become the only channel through which customers will
               continue to enjoy free carry-on bags on all tickets.

        (Doc. # 32-7, p.2 (emphasis added)). The alleged contract of carriage attached as Exhibit H also

        states, “Carry-On – A passenger may take on piece of carry-on baggage onto the aircraft. A

        charge may apply for the carry-on bag depending on the ticketed Fare Option.” (Doc. # 32-10,

        p.8). Part A(1) of Rule 220 of Exhibit H notes that “[t]here is no free baggage allowance

        included with Basic tickets. Baggage fees apply to each checked bag.” (Doc. # 32-10, p.8

        (emphasis added)). The same holds true for “Economy” tickets. Id. The baggage fees are then

        cross-referenced in Rule 225, which states the fee schedule as follows:




        (Doc. # 32-10, p.9).


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                Plaintiff alleges that Frontier breached the aforementioned “contracts”1 by charging her

        the $25.00 fee at the airport for her carry-on bag and by not letting her board the flight until she

        paid the fee. (Doc. # 32-2, Count V, ¶¶54-55). She further claims undisclosed “Consequential

        and Compensatory” damages for defamation, false imprisonment and emotional distress arising

        out of this breach of contract, noting that “[t]he cumulative effect of [these] nonmaterial breaches

        may be material.” (Doc. # 32-2, Count V, ¶54).

                On September 4, 2014, Plaintiff filed her initial complaint, alleging discrimination under

        42 U.S.C. § 1981 and Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d, as well as

        claims for IIED and defamation under Virginia law. On October 22, 2014, Frontier moved to

        dismiss Plaintiff’s IIED and defamation claims pursuant to Federal Rule of Civil Procedure

        12(b)(6), which has been fully briefed by the parties and awaits ruling by the Court. (Doc. # 12).

        Plaintiff has not amended her complaint to plead any additional allegations pertinent to

        Frontier’s Motion to Dismiss Counts III & IV of Plaintiff’s Complaint. (See Doc. # 32-1; 32-2).

        Plaintiff’s present motion appears to only seek leave to add two new causes of action under

        Virginia law2: (1) false imprisonment; and (2) breach of contract. See id. Because no new

        allegations impact the IIED and defamation claims subject to Frontier’s Motion to Dismiss


        1
          While it is unclear in Plaintiff’s proposed Amended Complaint what provisions she relies on in the attached
        “contracts” to form the basis of her claim, Frontier raises only lack of breach based upon the purported attachments
        to her Amended Complaint and improper damages at this time. See Bryant v. Wash. Mut. Bank, 524 F. Supp. 2d 753,
        757 (W.D. Va. 2007) (“The complaint is deemed to include any written instrument . . . incorporated in it by
        reference. Even where a document is not incorporated by reference, the court may nevertheless consider it where the
        complaint relies heavily upon its terms and effect, which renders the document integral to the complaint.” (quoting
        Chambers v. Time Warner, Inc., 282 F.3d 147, 152-53 (2d Cir. 2002))). In doing so, Frontier does not concede that
        any of these documents are “contracts” and explicitly reserves its right to challenge Plaintiff’s contract claim on
        other grounds not currently raised in response to Plaintiff’s present motion to amend.
        2
          As Plaintiff states in paragraph 1 of her proposed Amended Complaint that she brings her false imprisonment and
        breach of contract claims under Virginia law, Frontier assumes, without waiving, that Virginia law applies to the
        issues raised in Plaintiff’s complaint solely for the purposes of the present motion.

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        Counts III & IV of Plaintiff’s Complaint, the present response is directed only to Plaintiff’s new

        claims for false imprisonment and breach of contract.

                                         III.    LEGAL STANDARD

               A party seeking to amend a complaint after an opposing party has filed a responsive

        pleading, may do so only with the consent of the opposing party or the court’s leave. FED. R.

        CIV. P. 15(a)(2); Robert’s Farm Equip., Inc. v. William Hackett Chains, Ltd., 2011 U.S. Dist.

        LEXIS 4851, at *9-10 (E.D. Va. Jan. 4, 2011). Although leave to amend a pleading may be

        liberally granted, the Court will not grant leave where it would be prejudicial to the opposing

        party, the plaintiff has acted in bad faith, or amendment of the complaint would be futile. Equal

        Rights Ctr. v. Niles Bolton Assocs., 602 F.3d 597, 603 (4th Cir. 2010); Scott v. US Bank, NA,

        2010 U.S. Dist. LEXIS 145409, at *5 (E.D. Va. Oct. 13, 2011) (“[A] motion to amend should be

        denied when the proposed amendment is futile.” (citing Foman v. Davis, 371 U.S. 178, 182

        (1962)). As such, the Court will deny a motion for leave to amend a complaint as futile when the

        proposed amended complaint would not survive a 12(b)(6) motion to dismiss. Dozier v. Skalsky,

        2009 U.S. Dist. LEXIS 36149, at *10 (E.D. Va. Apr. 28, 2009) (citing Donaldson v. U.S. Dep’t

        of Labor, 930 F.2d 339, 349 (4th Cir. 1991)); Scott, 2010 U.S. Dist. LEXIS 145409, at *5 (“The

        Court may consider substantive issues in assessing futility.” (citing Davis v. Piper Aircraft

        Corp., 615 F.2d 606, 613 (4th Cir. 1980)).

               To survive a motion to dismiss, a complaint must assert plausible facts that, if accepted as

        true, provide a basis on which relief may be granted. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

        This standard “demands more than an unadorned, defendant-unlawfully-harmed-me accusation.”

        Id. at 678. As such, the Federal Rules do not “unlock the doors of discovery for a plaintiff armed

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        with nothing more than conclusions.” Id. at 679. Facts that suggest a “mere possibility” or those

        that are “merely consistent” with misconduct are not enough to survive a motion to dismiss. Id.

        at 678. In evaluating such motions, courts do not credit a plaintiff’s “legal conclusions,

        [recitations of] elements of a cause of action, and bare assertions devoid of further factual

        enhancement,” and must “decline to consider ‘unwarranted inferences, unreasonable

        conclusions, or arguments’” contained in the complaint. Nemet Chevrolet, Ltd. v.

        Consumeraffairs.com. Inc., 591 F.3d 250, 255 (4th Cir. 2009) (citations omitted).

                                               IV.    ARGUMENT

        A.     PLAINTIFF’S FALSE IMPRISONMENT CLAIM FAILS BECAUSE SHE
               ADMITS THAT SHE WAS NEVER DETAINED.

               In Virginia, false imprisonment is defined as “the direct restraint by one person of the

        physical liberty of another without adequate legal justification.” Whitlock v. Street, 2012 U.S.

        Dist. LEXIS 120795, at *16 (E.D. Va. Aug. 24, 2012) (quoting Jordan v. Shands, 500 S.E.2d

        215, 218 (Va. 1998)); Smith v. Button, 43 Va. Cir. 379, 383 (Va. Ct. App. 1997) (“[T]he central

        element in a false imprisonment action ‘is the illegal detention of the person, without lawful

        process or the unlawful execution of lawful process.’” (citing Montgomery Ward & Co. v.

        Wickline, 50 S.E.2d 387, 389 (Va. 1948))). As such, a plaintiff may establish “a prima facie case

        of false imprisonment when he shows that he was directly and forcibly detained.” Whitlock, 2012

        U.S. Dist. LEXIS 120795, at *16 (emphasis added) (citing Figg v. Schroeder, 312 F.3d 625, 642

        (4th Cir. 2002)). When a “defendant does not participate in the resulting illegal arrest, the

        defendant is not liable for false imprisonment.” Id. at *17 (citing Smith, 43 Va. Cir. at 383).




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               For example, Kirven v. Super Fresh Food Markets is instructive. 45 Va. Cir. 198 (Va. Ct.

        App. 1998). There, plaintiff customer alleged that the defendant store falsely imprisoned him

        when an employee of the store told him he could not stay in the store. Id. at 198. In affirming

        demurrer of plaintiff’s claim for false imprisonment, the court found that, in order to sufficiently

        state a claim for false imprisonment, there must be some “restraint of that person; that is, a

        limitation on the person’s freedom of movement.” As such, the Kirven court held:

               In the present case, the only restraint or limitation on plaintiff’s freedom of
               movement was the plaintiff's ability to remain in the store. If this was done
               because of plaintiff’s race, sex, religion, national origin, or other unlawful reason,
               plaintiff has a cause of action under one or more civil rights laws. The court is
               unwilling to recognize a cause of action for false imprisonment simply for telling
               a person to “get out.”

        Id. at 199-200.

               Similarly, here, Plaintiff claims that she was falsely imprisoned because she was not

        allowed to board her flight if she did not pay for her carry-on bag. (Doc. # 32-2, Count VI, ¶57).

        This is not false imprisonment—there was no confinement, by threat or otherwise. Plaintiff was

        never detained or barred from leaving the gate area or the airport. Though Plaintiff claims that

        the gate agent asked someone to call airport security after she continued to refuse to pay the fee,

        no one ever came to the gate to restrain Plaintiff nor did anyone prohibit Plaintiff from leaving

        the area. There was simply no restraint—“the only restraint or limitation on plaintiff’s freedom

        of movement was the plaintiff's ability to [board the aircraft].” See Kirven, 45 Va. Cir. at 199.

               Because Plaintiff was not compelled to remain in an area against her will, her false

        imprisonment claim fails and her request for leave to amend her complaint must be denied as

        futile. See id.; see also Smith v. Comair, Inc., 134 F.3d 254, 259-60 (4th Cir. 1998) (“[Plaintiff]



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        Smith’s evidence simply does not show that he was compelled either to remain or to go

        anywhere he did not wish. He conceded that no Comair representative told him that he must

        remain in any specific part of the airport or that he was not free to leave the airport. Price told

        Smith only that Comair would not permit him to board the flight out of Cincinnati. Smith was

        therefore free at all times to leave the airport or leave Cincinnati altogether by any means he

        could arrange other than a Comair flight. False imprisonment results only if ‘the restraint be a

        total one, rather than a mere obstruction of the right to go where the plaintiff pleases.’ . . .

        Smith’s evidence thus fails to support a claim for false imprisonment.” (citing W. Page Keeton et

        al., PROSSER AND KEETON ON THE LAW OF TORTS § 11, at 47 (5th ed. 1984))).

        B.     PLAINTIFF’S BREACH OF CONTRACT CLAIM IS FUTILE BECAUSE
               FRONTIER DID NOT BREACH THE CONTRACT AND THE DAMAGES
               SOUGHT ARE NOT RECOVERABLE IN BREACH OF CONTRACT.

               To recover for breach of contract, Plaintiff must present “the existence of [a] duly

        executed and enforceable agreement[]; performance, or offers to perform in accordance with the

        terms of the contract[]; that the [defendant] failed to perform under or breach the agreement; that

        the breaches are the cause of actual damages sustained by plaintiffs; and that those damages are

        recoverable under Virginia law.” Johnson v. D&D Home Loans Corp., 2008 U.S. Dist. LEXIS

        24114, at *18-19 (E.D. Va. Jan. 23, 2008) (quoting Carley Capital Grp. v. Newport News, 709 F.

        Supp. 1387, 1396 (E.D. Va. 1989)); Filak v. George, 594 S.E.2d 610, 614 (Va. 2004).

               Here, Plaintiff’s proposed Amended Complaint does not set forth any actual breach of the

        alleged contractual terms by Frontier or properly seek damages recoverable in contract.

        Therefore, Plaintiff’s request for leave to amend her complaint to state a claim for breach of

        contract must be denied.

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               1.      Frontier Did Not Breach the Alleged Terms of the Contracts Attached to
                       Plaintiff’s Proposed Amended Complaint.

               Where a plaintiff fails to cite a particular provision breached by the defendant under the

        contract or where the factual support for the alleged breach does not follow the actual terms of

        the contract relied upon for that breach, the claim is improper. See Reyes v. Wells Fargo Bank,

        N.A., 2013 U.S. Dist. LEXIS 104428, at *9-10 (E.D. Va. July 24, 2013). Further, Virginia courts

        follow the rule that “where an agreement is complete on its face, is plain and unambiguous in its

        terms, the court is not at liberty to search for its meaning beyond the instrument itself.” Spain v.

        Mecklenburg County Sch. Bd., 2001 U.S. Dist. LEXIS 11217, at *28 (E.D. Va. July 31, 2001)

        (citing Westbury Coal Mining P’ship v. J.S. & K. Coal Corp., 355 S.E.2d 571, 572 (Va. 1987)

        (reversing decision of a party who had read into an agreement exclusions which did not exist)).

        Unsupported legal conclusions arising out of a purported contract fail to state a claim and must

        be rejected. E.g., Khair v. Countrywide Home Loans, Inc., 2010 U.S. Dist. LEXIS 58922, at *15

        (E.D. Va. June 14, 2010) (“The Complaint merely states the Plaintiffs’ unsupported legal

        conclusion that [defendant] breached an undefined contractual duty and thereby caused the

        Plaintiffs some unspecified damage. Such conclusory allegations are insufficient to plausibly

        state a breach of contract claim against [defendant].”). As such, where “the facts as Plaintiff has

        alleged them belie the possibility of a breach of contract claim, this claim must be dismissed.”

        Inman v. Klockner-Pentaplast of Am., Inc., 467 F. Supp. 2d 642, 653 (W.D. Va. 2006), rev’d on

        other grounds, 347 Fed. Appx. 955 (4th Cir. 2009).

               Here, Plaintiff alleges that Frontier breached its contractual obligations of the documents

        attached to her complaint by charging her the $25.00 fee at the airport for her carry-on bag. (Doc.



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        # 32-2, Count V, ¶¶54-55). This is false. In actuality, the documents Plaintiff incorporates by

        reference as the basis for her breach of contract claim explicitly contradict her conclusion that

        Frontier breached the contract. As further detailed in the statement of facts above, the ticket

        Plaintiff purchased on August 19, 2013 for travel on September 4, 2013 was indeed a “Basic”

        ticket by virtue of being purchased through a third-party travel agency, Air World Travel and

        Train, and not through Frontier’s website. (Doc. #32-7, p.2; Doc. #32-9, p.2-3). As such,

        Plaintiff’s ticket was subject to a “$25-$100” fee for her carry-on bag, as the documents Plaintiff

        relies upon consistently affirm. Id. Her reference in Exhibit I to Frontier’s change in policy for

        “Economy” tickets that “came into effect on April 28, 2014” is completely irrelevant to the

        tickets she purchased nearly 8 months before on August 19, 2013. Despite Plaintiff’s conclusory

        allegation that Frontier breached the attached documents by charging her $25.00, in reality, there

        simply was no breach at all. The actual terms of the documents attached to her proposed

        complaint contradict her claim.

               In sum, Plaintiff has failed to properly allege a breach by Frontier of the alleged

        contractual documents in this matter. Plaintiff cannot simply attach documents that form the

        basis of her claim and conclude there was a breach, while contemporaneously ignoring the actual

        terms of those documents in order to manufacture a claim. See, e.g., Iqbal, 556 U.S. at 678

        (“Threadbare recitals of the elements of a cause of action, supported by mere conclusory

        statements, do not suffice.”); Brown v. Rectors & Visitors of the Univ. of Va., 361 Fed. Appx.

        531, 534 (4th Cir. Va. 2010) (“The district court did not err because [plaintiff’s] complaint

        contained only conclusory allegations that the Graduate Student Handbook constituted a contract




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        between himself and [defendant], and that assertion was unsupported by the terms of the

        Handbook and expressly contradicted by the Graduate Record incorporated therein.”).

               Accordingly, Plaintiff’s request to add her breach of contract claim in her proposed

        Amended Complaint must be denied. See, e.g., Cvent, Inc. v. Eventbrite, Inc., 739 F. Supp. 2d

        927, 938 (E.D. Va. 2010) (“Plaintiff has simply failed to ‘plead[] sufficient factual content to

        allow the court to draw the reasonable inference that the defendant is liable for the alleged

        misconduct’ with respect to its breach of contract claim.” (citing Iqbal, 556 at 679)); Keitz v.

        Unnamed Sponsors of Cocaine Research Study, 2013 U.S. Dist. LEXIS 144003, at *7 (W.D. Va.

        Oct. 2, 2013) (denying plaintiff leave to file proposed amended complaint for breach of contract

        claim where “the plaintiff merely offers conclusory statements that fail to state a claim under

        Federal Rule of Civil Procedure 12(b)(6)”).

               2.      Plaintiff’s Alleged Damages Are Not Recoverable In Breach of Contract

               In her proposed Amended Complaint, Plaintiff improperly attempts to recover her alleged

        tort damages under a theory of contract liability. Specifically, Plaintiff claims that as a result of

        Frontier’s breach of the contract, she “suffered substantial harm because Frontier’s agent

        defamed [her] as a result of her actions, even though they were in breach of Frontier’s policies.

        Mrs. Swift suffered serious emotional distress as highlighted above. The cumulative effect of

        nonmaterial breaches may be material.” (Doc. # 32-2, Count V, ¶54).

               First, it must be noted that Plaintiff admits in her own Amended Complaint that the

        damages she seeks arise from “nonmaterial breaches” of the alleged contract. But in Virginia, a

        breach must be “material”—i.e., “something that is so fundamental to the contract that the failure

        to perform that obligation defeats an essential purpose of the contract.” Johnson, 2008 U.S. Dist.

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        LEXIS 24114, at *19. There is simply no case law that supports Plaintiff’s proposition that

        “nonmaterial breaches” can be the equivalent to a material breach. Her theory must be rejected.

                 Second, Plaintiff improperly attempts to cloak her tort damages (i.e., defamation, false

        imprisonment, and IIED) under a breach of contract theory. But Virginia courts have long held

        that a plaintiff cannot recover for tort-based injuries in a contract action: “The law of torts is well

        equipped to offer redress for losses suffered by reason of a ‘breach of some duty imposed by law

        to protect the broad interests of social policy,’ but it is ‘not designed, however, to compensate

        parties for losses suffered as a result of breach of duties assumed only by agreement.’” Sanders

        v. UDR, Inc., 2010 U.S. Dist. LEXIS 106567, at *10 (E.D. Va. Oct. 4, 2010) (citing

        Sensenbrenner v. Rust, Orling & Neale, Architects, Inc.., 374 S.E.2d 55, 58 (Va. 1988)); accord

        Streza v. Bank of Am., 2014 U.S. Dist. LEXIS 105915 (“[A]bsent some tort, damages for

        humiliation or injury to feelings are not recoverable in an action for breach of contract.” (quoting

        Sea-Land Serv., Inc. v. O’Neal, 297 S.E.2d 647, 653 (Va. 1982)).

                 Accordingly, Plaintiff’s attempt here to recast her false imprisonment, IIED, defamation,

        and discrimination claims in breach of contract must be rejected, because such damages are not

        recoverable in contract under Virginia law. As succinctly recognized by the Virginia Supreme

        Court:

                 To allow [plaintiff] to recover damages for humiliation and embarrassment on his
                 breach of contract claim would not only let [her] recover damages based solely on
                 speculation, but it would also let [her] recover the same damages twice — once on
                 a contract theory and once on a tort [defamation] theory. We refuse to permit such
                 a recovery.

        Isle of Wight County v. Nogiec, 704 S.E.2d 83, 87 (Va. 2011) (“‘As a general rule,’ we have

        stated, ‘damages for breach of contracts are limited to the pecuniary loss sustained.’” (internal

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        citations omitted)); accord Mekbib v. United Airlines, Inc., 1988 U.S. App. LEXIS 19971, at *3-

        4 (4th Cir. Sept. 26, 1988) (“In Virginia, damages on a breach of contract claim are limited to

        pecuniary loss resulting from the breach that was reasonably contemplated by the parties at the

        time the contract was executed. Since [plaintiff passenger] would be able to recover, at most, the

        cost of his ticket were he to prevail on his breach of contract claim, the district court properly

        dismissed this claim as failing to meet the jurisdictional mount required for a diversity action.

        (citing A & E Supp Co. v. Nationwide Mut. Fire Ins. Co., 798 F. 2d 669, 671 (4th Cir. 1986); E.

        I. Dupont de Nemours & Co. v. Universal Moulded Prods. Corp., 62 S.E.2d 233 (Va. 1950))). If

        Plaintiff is to recover any damages for her torts at all (and she should not), she must plead and

        prove those claims separately, which she has failed to do. As such, Plaintiff’s request for leave to

        add her breach of contract claim to attempt to recover these damages twice must be denied.

                                             V.      CONCLUSION

               WHEREFORE, Defendant Frontier Airlines, Inc. respectfully requests that this Court

        deny Plaintiff’s Motion for Leave of Court to Amend Complaint, dismiss the proposed Counts

        III, IV, V, and VI of her Amended Complaint with prejudice, and grant any further relief the

        Court deems just and proper.

        Dated: December 23, 2014                      Respectfully submitted,



                                                      /s/    ____           ___________
                                                      Sarah E. Moffett (VA Bar No. 72208)
                                                      LECLAIRRYAN, A PROFESSIONAL CORPORATION
                                                      2318 Mill Road, Suite 1100
                                                      Alexandria, Virginia 22314
                                                      Telephone: (703) 647-5930
                                                      Facsimile: (703) 647-5980

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                                                      Email: sarah.moffett@leclairryan.com

                                                      - and –

                                                      Paula L. Wegman (pro hac vice pending)
                                                      Steven L. Boldt (admitted pro hac vice)
                                                      ADLER MURPHY & MCQUILLEN LLP
                                                      20 South Clark Street, Suite 2500
                                                      Chicago, Illinois 60603
                                                      Telephone: (312) 345-0700
                                                      Facsimile: (312) 345-9860
                                                      Email: sboldt@amm-law.com
                                                      Email: pwegman@amm-law.com

                                                      Attorneys for Frontier Airlines, Inc.



                                         CERTIFICATE OF SERVICE

                  I hereby certify that, on December 23, 2014, I served the following via electronic case

        filing:

                  Stephen Christopher Swift
                  Swift & Swift, Attorneys at Law, P.L.L.C.
                  21 Eisenhower Avenue
                  Suite 200
                  Alexandria, VA 22314
                  Attorneys for Plaintiff


                                                      /s/_________________
                                                      Sarah E. Moffett




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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                       ALEXANDRIA DIVISION
        __________________________________________
                                                   )
        CHARITY CHIDINMA                            )
        EMERONYE SWIFT,                             )
                                                   )
                         Plaintiff,                )   Civil Action No. 1:14-CV-1139
                                                   )
                          v.                       )   Hon. Judge Anthony J. Trenga
                                                   )   Hon. Magistrate Judge Ivan D. Davis
        FRONTIER AIRLINES, INC. (a Colorado        )
        Corporation), and JANE DOE,                )
                                                  )
                          Defendants              )
        _________________________________________)


                                 PLAINTIFF’S REBUTTAL
                         TO FRONTIER AIRLINES, INC.’S OPPOSITION
                 TO HER MOTION FOR LEAVE OF COURT TO AMEND COMPLAINT

        Plaintiff Mrs. Charity Swift (“Mrs. Swift”), pursuant to Federal Rules of Civil Procedure and

        Local Rule 7(F), submits this Rebuttal Brief to Defendant’s opposition to her motion for leave of

        court to amend her complaint.


                                                 INTRODUCTION

        This case is not just about a $25.00 carry-on fee Defendant charged Mrs. Swift - it is more than

        that. It is about the unlawful and discriminatory manner Mrs. Swift was singled out to pay the

        fee, as a condition for her boarding the plane, while her own husband who is a white Caucasian

        male, was not subjected to the same treatment, even though in all respects, they both were

        similarly situated in the circumstances. Also a charge Mrs. Swift was forced to pay by

        intimidation, threat of arrest, humiliation and ridicule. It is about the unlawful, hostile,



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        intimidating, threatening humiliating, ridiculing and abusive manner in which Defendant’s agent

        treated Mrs. Swift, solely in order to force her to pay the charge, i.e., part with her own property

        ($25.00) without any questions asked. It is about an out of control employee, intentionally using

        cruel and unlawful tactic – intimidation, ridicule, humiliation, fear, threat of arrest and

        defamation, to force another to part with her property without any justification and without any

        questions asked. It is about Defendant Frontier Airlines, Inc. and its unknown agent, “Jane Doe”,

        demanding and mandating Mrs. Swift pay a carry-on fee, that they well knew they had no right

        whatsoever to charge, based on their own contract of carriage, as Mrs. Swift later discovered at

        Defendant’s own website few days before preparing her Amended Complaint and motion for

        leave of Court to file it. It is also about false imprisonment of Mrs. Swift, in breach of their own

        policy and “Contract of Carriage” Rule 35 – Refusal to Transport, when Jane Doe, intentionally

        and unlawfully, without just cause, detained her and refused to allow Mrs. Swift to board the

        plane, and in doing so, restricted her ability and freedom to work past her and board the plane,

        against Plaintiff’s will and her rights, without just cause or justifiable reason. Defendant’s

        Contract of Carriage Rule 35 – Refusal to Transport (attached to the Amended Complaint),

        details situations and or conditions that must be present before Defendant could refuse to

        transport a passenger, and none of those conditions was present in the circumstances of the

        present case. Yet, Defendant’s agent emphatically told Mrs. Swift that there was no way she,

        Jane Doe, would allow Mrs. Swift to board or travel on the flight unless she paid for carry-on,

        while incredulously and obdurately, refusing to respond to Mrs. Swift’s reasonable request for

        an explanation of the charge.




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        Rebuttal of Defendant’s Introduction

        When Defendant’s state that “this case arises out of a $25.00 baggage fee…,” they are only

        tangentially accurate. Mrs. Swift is black, and not one of Jane Doe’s “people – white people”

        otherwise, why was her husband who is Caucasian not asked to pay the fee as she was asked to

        do, and why was he free to board the plane and his wife Mrs. Swift was not? Does Mrs. Swift’s

        reputation have to be impugned by Defendant’s agent calling the police to arrest Mrs. Swift, just

        because she honestly did not know why she was being charged a fee for her carry-on, and

        reasonably asked to know why she was being charged such fee or because Jane Doe did not like

        her because she was black and an African? Is Defendant’s agent justified to so impugn Mrs.

        Swift’s reputation by yelling and calling the security police to arrest Mrs. Swift and calling the

        attention of everyone at the gate and adjoining gates to turn and look at Mrs. Swift as if she has

        broken the law, or done anything unlawful or wrong, warranting a call for the police to arrest

        her: Is Defendant’s insulting and ridiculing of Mrs. Swift, justified, because of her perceived

        accent, by asking her whether she understood English … just because there was a “debate” as

        Defendants have labored to insinuate without any basis, that there was a debate (even though

        they know no such debate took place). Is it unreasonable for Mrs. Swift, who honestly did not

        know why and how she came to owe Defendant’s $25.00 carry-on fee and only wanted to know

        the reason before parting with her money, in the circumstances, given that Mrs. Swift and her

        husband had already made three flights on same ticket and trip, including one on Defendant’s

        flight and no one asked them for any carry-on fees? And is it not legitimate and reasonable in the

        circumstances, for Mrs. Swift to ask why the fee, given that two of Defendant’s own ticket

        agents checked her and her husband in, weighed their carry-ons, and issued them two boarding

        passes without asking them for any fees? Plaintiff believes these questions need some answers.


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        In their motion, Defendant makes series of inaccurate statements that seems like an attempt to

        distort facts and confuse issues:

                In their introduction, Doc.36 page 1, ¶ 2, Defendant states: “This case arises out of a
                $25.00 baggage fee Plaintiff claims she was wrongfully charged due to her race
                and/national origin by a gate agent employed by Frontier on September 4, 2013.”

        Defendant’s quoted statements above, are inaccurate. They seem contrived, and attempts to

        confuse what this case is all about and what Mrs. Swift maintains her claims are about, in all her

        filings to this court.



        For the record, Mrs. Swift and her husband never checked in any baggage. There is no “baggage

        fee” issue in this case – only a carry-on fee issue. Plaintiff maintains she was discriminated

        against, not only because she was singled out to pay for her carry-on without any reasons

        whatsoever (other whites including her husband were not asked to pay), but also the way Jane

        Doe treated her in an effort to make her pay a carry-on fee, on the basis of her race and national

        origin. For example, no one other than Mrs. Swift, was ridiculed as she was, on the basis of her

        perceived accent, when Defendant’s agent yelled at her and said; “don’t you understand English

        …” threatening to call the security police to arrest her, and in fact, carrying out that threat by

        actually calling for the security police to arrest Mrs. Swift, and for what reason?



        On page 1-2 ¶ 1of her amended complaint, (NATURE OF THE CASE), Mrs. Swift states: “As

        described in this Amended Complaint, Jane Doe, an agent of Defendant, unlawfully

        discriminated against Mrs. Swift, by refusing to allow her, the only African/African-American

        woman and black person on the flight, to board the plane unless she paid $25.00, even though


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        two different ticketing agents of the Defendant’s had already weighed Mrs. Swift and her

        husband’s carry-ons respectively, found them within the required measurement, issued them

        their boarding passes without asking either of them to pay for their carry-ons. Mrs. Swift was

        told she would not be allowed to travel or board the plane unless she paid. Her husband on the

        other hand, was not asked to pay for his carry-on. Mrs. Swift believes she was discriminated, on

        the basis of her perceived race, color, ethnicity, alienage, ancestry, and/or national origin.” Mrs.

        Swift claims she was treated differently from white passengers including her own husband who

        is Caucasian.


               In their introduction, Doc. 36 page 2 ¶¶1-2, Defendant states: (1) “In sum, Plaintiff now
               alleges that she was also falsely imprisoned by a Frontier gate agent because the agent
               allegedly threatened to deny her boarding and call airport security if she refused to
               pay the $25.00 baggage fee” (emphasis added). (2) “First, Plaintiff, by her own
               admission in the Amended Complaint, was never detained at any point during the
               incident. She merely alleges that she was wrongfully required to pay the fee before being
               allowed to board her flight, and therefore, she was falsely imprisoned. This is not false
               imprisonment, as Plaintiff was never actually detained in the gate area or anywhere else.”



        Defendant’s statements quoted above, are totally inaccurate and misleading. On the bottom of

        Doc.32-2 ¶ 2 page 2 of her Amended Complaint, among other statements, Mrs. Swift states:

        “…Defendants also breached their own policy and “Contract of Carriage” Rule 35 – Refusal to

        Transport, when Jane Doe, unlawfully, without just cause detained, and refused to allow Mrs.

        Swift to board the plane, and in fact, restricted her ability and freedom to board the plane against

        her will and her rights, without just cause or justifiable reason”, and she referred to exhibit I -

        her “ticketed fare” that was attached to her Amended Complaint, which clearly states that her

        ticket was “Economy” and not “Basic” as Defendants wrongly claim. On Doc.32-2 ¶ 3, page 3,

        Plaintiff’s Amended Complaint states: “Jane Doe was emphatic that Mrs. Swift will not board


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        the plane, or travel on Frontier Airlines unless she paid $25.00. She also backed that emphasis up

        with the threat of calling for Mrs. Swift’s arrest…” As the quotes above show, Mrs. Swift in

        deed, stated, in her Amended Complaint, that she was detained, and in fact, she was detained

        because her freedom to board the plane was restricted by Defendant’s agent as she attempted to

        board. She was unable to do so, on her own will or volition, even though boarding the plane was

        the only thing she wanted to do at the time, so that she could go home after her trip. She could

        not board the plane, because, Defendant’s agent, did not just “threaten to deny…” as Defendant

        claimed in their above quoted statement in bold. On the contrary, Defendant’s agent

        unequivocally asked Mrs. Swift to step out of the boarding line, and not to board the plane until

        she was given permission to by her, Jane Doe after she has paid the carry-on fee. Hence,

        Defendant’s quote above is totally false and inaccurate.

               Defendant state in their opposition motion, Doc.36 ¶ 2 page 2, “Second, Plaintiff fails to
               state a claim for breach of contract because the terms of the purported contracts attached
               to her proposed Amended Complaint clearly establish that Plaintiff was properly charged
               the $25.00 fee…”

        Defendant’s above quoted statement is totally inaccurate and irrelevant for several reasons:



        (1) On a very simple and basic level, their statement does not mirror the reality of the main

        contract document – the fare ticket. Mrs. Swift’s ticket clearly states “Economy” as opposed to

        “Basic”, and all through the three flights she made on the trip, including one leg, on Frontier,

        through the time she was issued a boarding pass, no one mentioned anything about Mrs. Swift’s

        ticket being a “basic” as opposed to “economy.” Even Jane Doe, did not tell Mrs. Swift that the

        reason she was asking her to pay the charge, was because she had a “basic” ticket when Mrs.

        Swift asked for such reason, until now in Defendant’s motion and after Mrs. Swift attached



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        Defendant’s fare chart as part of her newly discovered evidence, that forms the basis of the two

        new counts of false imprisonment and breach of contract in her Amended Complaint. The only

        reasonable and persuasive reason no one – not even Jane Doe herself was unable to say to Mrs.

        Swift that she was charged because she had a basic ticket, was because such statement will be

        totally false, and a misrepresentation, because Mrs. Swift’s ticket is an “economy” ticket, which

        at the time, was not subject to any carry-on fee as Defendant’s fare chart on page 4 of their Doc.

        36 clearly shows. That, also, logically explains why the agents who checked Mrs. Swift in from

        Bozeman to Denver, and the two ticket agents who also checked her and her husband in at

        Denver, for the DC final leg flight gave them their boarding pass and never asked for a carry-on

        fee, until Jane Doe showed up and undermined them by invalidating the check-in service they

        gave Mrs. Swift.



        (2) On page 4 of Defendant’s Doc.36, Defendant incorporated their fare options chart, which

        Plaintiff attached to her Amended Complaint, as proof that Defendant and its agent, wrongly

        charged her for her carry-on because her fare ticket indeed, was “economy” and not “basic” as

        Defendant claims. Defendant’s claim that the fare chart “establish that Plaintiff was properly

        charged…,” has no basis. According to same chart, one of the attributes of a “basic” fare, among

        other factors like being booked through other travel agencies, is, that basic fare ticket holders’

        have their “seats assigned at check-in.” Mrs. Swift and her husband’s seats for the whole trip was

        assigned to them when their ticket was booked, on August 19, 2013 and not at a check-in on

        September 4, 2013.




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        (3) By ignoring the fact that Mrs. Swift’s fare ticket clearly states “economy” and not “basic”

        and to argue that her ticket was “basic” because it was bought through third party agent, they

        seem to imply that the ticket Mrs. Swift travelled with, was not the controlling ticket/document

        of contract for her flight on the Defendant’s aircraft. They also seem to imply that a passenger,

        after booking a fully paid flight on Frontier, through a third party agent, should in addition, go to

        Frontier’s website to second guess the status of the ticket they have just been issued, even if the

        passenger expressly instructed the third party agent to book her an economy flight. This is

        unrealistic, and even Defendant’s will agree that it does not make any sense because it will serve

        no purpose and make third party booking agent’s services redundant. And if so, then Frontier

        might as well have a policy that states that passengers can only buy their fare tickets from

        Frontier.com if they wish to travel on Frontier’s flights.



        (4) Mrs. Swift has not heard and did not know there was a basic level of air fare, until her

        research found Defendant’s fare charts on their website, because she and her husband always

        flew economy and always instructed their travel agent to book “economy” flights for them.



        (5) Defendant’s own statement on page 5 of their Doc. 36 ¶ 3 quoting their carry-on policy,

        which Plaintiff attached to her Amended Complaint, states: “Carry-On - A passenger may take

        on piece of carry-on baggage onto the aircraft. A charge may apply for the carry-on bag

        depending on the ticketed Fare Option.” “… [t]here is no free baggage allowance included with

        basic tickets. Baggage fees apply to each checked bag,” corroborates Plaintiff’s claim that she

        was wrongly charged carry-on fee, because such fee at her travel date, did not apply to her

        because her “ticketed Fare Option” was “economy” and not “basic”, and because the charge



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        applied only to basic tickets. This, also logically corroborates Defendant’s own carry-on policy

        that instituted carry-on charges on “economy” tickets, “purchased on or after April 28, 2014, as

        exhibit F of Plaintiff’s Amended Complaint show.” Interestingly, that evidence was not attached

        to Defendants opposition motion, Doc. 36, as they did the “basic” carry-on chart. Defendant’s

        statement continues: “The same hold true for ‘Economy’ tickets. Id. The baggage fees are then

        cross-referenced in Rule 225, which states the fee schedule as follows:…”, and incorporates its

        checked in baggage chart, that is part of Plaintiff’s exhibit H to her Amended Complaint. The

        insertion of “the same hold true for economy” tickets, to statements that Defendant knows has

        no connection to, and was not intended to have any connection to their carry-on charge policy

        with regards to “basic” tickets, is deceptive, unfair, and serves no legitimate purpose. Defendant

        is well aware, that that statement relates to “checked in baggage”, and not carry-ons; that Mrs.

        Swift and her husband had no checked-in baggage, and that the issue in this case concerns only

        carry-ons and yet, they were comfortable to insert the language to confuse by claiming what their

        own policy does not intend or mean.


        Rebuttal of Defendant’s Statement of Facts

               On page 3 of their Doc. 36 ¶ 2, Defendant states: “… While boarding her connecting
               flight, Plaintiff alleges that a Frontier agent told Plaintiff that she would have to pay a
               $25.00 fee for her carry-on baggage before she was allowed to board.”


        This statement is not accurate and is at best, confusing, as Mrs. Swift cannot both at the same

        time be boarding and also not allowed to board. To avoid confusion, What Mrs. Swift alleged on

        page 12 of her Amended Complaint, Doc. 32-2 ¶ 19-20, in part states: “…When zone 2 was

        called for boarding, Plaintiff and her husband fell in line. There were fewer than four people in

        front of them. Plaintiff was in front of her husband in the line, and each was carrying their own


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        carry-on. The two young women who earlier, checked them in and gave them their boarding

        pass, were at the gate letting people on-board. However, as Plaintiff was next in line, and just as

        she stretched her hand to hand over her boarding pass to one of the two young women, another

        woman (“Jane Doe”) who was definitely older than the two young ladies that dealt with Plaintiff

        and her husband earlier, appeared and said, “give it to me”, i.e., Mrs. Swift should giver Jane

        Doe her boarding pass. It happened so fast that Jane Doe basically snatched Mrs. Swift’s

        boarding pass out of her hand.




        When Jane Doe took the boarding pass from Mrs. Swift’s hand, instead of tearing and giving

        Mrs. Swift the assigned seat coupon part of it, as they were doing with other passengers, and let

        her pass to board the plane like others before her, Jane Doe looked at Mrs. Swift and her carry-on

        and asked, “Is this your luggage?” Mrs. Swift answered “yes”. Then Jane Doe said to her, “You

        have to pay twenty-five dollars before you can board.”

                       On same page 3 of their Doc. 36 ¶ 2, Defendant continued:”… Plaintiff claims she
                       was the only one asked to pay the $25.00 fee due to her race and national origin.
                       Id. ¶¶ 25-26.”

        The above quoted statement, like many others, is contrived and attempts to distort and/or at best,

        confuse the facts and the issues, and in no way reflects Mrs. Swift’s statements in her Amended

        Complaint, as it appears on page 1-2 ¶ 1 of her Amended Complaint Doc.32-2, (NATURE OF

        THE CASE), which the Court presently has before it. Plaintiff asks the Court to pay close

        attention and to weed out irrelevances and any mischaracterizations of Plaintiff’s accounts so as

        to serve the ends of justice.




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        “As Mrs. Swift and her husband moved aside, and off from their now boarding line, Mrs. Swift

        watched everyone else boarding without being asked to pay for their luggage before

        boarding. So, she asked Jane Doe, why was she the only one with a boarding pass who is asked

        to pay $25 before boarding the plane? She turned at Mrs. Swift and angrily threatened, “do you

        want me to make you pay fifty dollars ($50) or do you want to pay twenty-five dollars ($25)?”

        Mrs. Swift explained to Jane Doe that she failed to understand why she was singling her out to

        pay for her carry-on when the rest of the passengers were allowed to board without Jane Doe or

        anyone else asking them to pay before boarding. Mrs. Swift then asked Frontier’s agent, “If I

        must pay, why are you not asking my husband also to pay because we both have carry-ons,

        booked same flight together, have exact same boarding passes? Jane Doe then became irate and

        yelled at Mrs. Swift and said, “Shut your mouth, I don’t want you to talk to me again, I have

        already told you, if you don’t pay, I will make sure you don’t board this flight.”



        Mrs. Swift accounted for what she saw with her own eyes, from the time Jane Doe, asked her to

        step aside from boarding group 2; Plaintiff’s husband is Caucasian, in all respects similarly

        situated as Plaintiff was in the circumstances, yet he was not asked to pay even despite Plaintiff’s

        asking Jane Doe why her husband was not charged; Plaintiff was the only black person on the

        entire flight, and so far, Defendant have not disputed these facts: Finally, Plaintiff’s “ticketed

        fare option” stated that it was “economy” and not “basic” and Plaintiff was unlawfully

        discriminated against because of her race and national origin.


                On same page 3 of their Doc. 36 ¶ 3, Defendant states: After being informed of the fee,
               Plaintiff debated with the agent as to why she should not have to pay it. Id. ¶¶20-24. At
               some point thereafter, the agent allegedly became impatient with Plaintiff and told her,
               “Can’t you see that I don’t care, and I don’t want to hear you say anything more to me
               again, you pay or I will call the airport security police to come and arrest you.” Id. ¶2.

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               After Plaintiff failed to respond, the agent then allegedly state, “Can someone call me
               [sic] an airport security police?”

        Defendant’s quoted statement above is a continuation of attempts to distort and confuse facts.

        The above statement distorts and confuses, because, although Defendant uses the word

        allegedly, in “allegedly became impatient with Plaintiff,” it is not clear who is doing the alleging

        – Plaintiff or Defendant’s agent?” Defendant cannot legitimately paraphrase statements they

        attribute to Plaintiff as facts of the case, while quoting Plaintiff’s documents. They should quote

        such statements, verbatim for the sake of clarity and to avoid confusion. Defendant also states,

        “Plaintiff debated with the agent” and cites Id. ¶¶25-25. Again, there is no clarity as to whether

        Defendant is claiming that Plaintiff made the statement in her Complaints or whether it is their

        own statement/account of what happened, because Plaintiff never debated with their agent. All

        Mrs. Swift did, was ask legitimate and reasonable questions, which Jane Doe never answered

        because she was full of hatred and contempt for the African, black lady, Mrs. Swift, who was not

        doing as she Jane Doe commanded her to do, and so could not care less, as Defendants stated

        above. Also, Defendant’s statement, “…after Plaintiff failed to respond…” does not make any

        sense and is confusing. On one hand, Defendant states: “Plaintiff debated with agent” and in the

        same breadth, “Plaintiff failed to respond” and “allegedly” that lack of response made their agent

        impatient with Mrs. Swift, or very mad with her, that she had to call the security office to arrest

        her without any justification. However, Defendant’s statement above also corroborates Mrs.

        Swift’s claim that Defendant’s agent, treated her with unbridled arrogance, hostility and

        impunity because as a ticket agent, she obviously had the power to decide who boards or not.

        She knew she had considerable power over Mrs. Swift in that regard, and she had no qualms in

        using it anyway she chose, and did not care who she hurt, because was unaccountable to no one.

        Otherwise, she could have simply explained to Mrs. Swift, who merely asked to know why she

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        was suddenly being charged carry-on fee after she had already made three flights, including one

        on Frontier, without being asked to pay anything for the same carry-on.

               Further down same page 3 of their Doc. 36 ¶ 3 of their documents, Defendants state:
               “…By paying the fee, Plaintiff claims she was falsely imprisoned because the agent
               “restrained Plaintiff’s liberty and freedom to board her flight, which she had paid for,
               without just cause.”

        Defendant knows fully well that the basis of Plaintiff’s false imprisonment claim is not just that

        she paid a fee, or as Defendant’s put it, “by paying the fee.” Yet, they go to lengths to say so. On

        the contrary, Mrs. Swift’s Count VI, false imprisonment, Doc. 32-2, page 29-30 ¶¶ 56-57

        sufficiently explain her claim with ample facts. Mrs. Swift consistently has claimed, and it is

        uncontroverted, that Jane Doe prevented her from boarding her flight when it was her turn to

        board, and followed it with a threat of, and call for Mrs. Swift’s arrest; there was no way Mrs.

        Swift or anyone in her shoes would have attempted to walk into the plane without being arrested

        by the security – Defendant’s agent would have ensured such arrest. Jane Doe did not have legal

        justification to deny Mrs. Swift her right to board the flight, because (a) Defendant had no right

        at the time to charge her the fee, and (b), their “Contract of Carriage” Rule 35 – Refusal to

        Transport, did not permit Defendant and their agent to prevent Mrs. Swift from boarding the

        Flight, because none of the rules under that contract were broken by Mrs. Swift.


                                               STATEMENT OF FACTS

        Plaintiff’s Amended Complaint, with attached exhibits, are already before the Court. Plaintiff has

        used a good portion of her Amended Complaint to rebut some inaccurate and or confusing

        statements of the Defendant in its motion. Hence, Plaintiff did not find it helpful to deluge the

        Court with same facts again here.




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                                              LEGAL STANDARD

        Motion for Leave of Court to file an Amended Complaint

        If a motion to amend is filed more than twenty-one days after a responsive pleading or motion

        under Rule 12(b) is served, either leave of court or the consent of the opposing party is required.

        Fed. R. Civ. P. 15(a)(2). The courts are instructed to "freely give leave when justice so requires."

        Id. Thus, leave to amend a pleading should only be denied when (1) the amendment will

        prejudice the defendant; (2) the moving party has acted in bad faith; or (3) the amendment would

        be futile. Laber v. Harvey, 438 F.3d 404, 426 (4th Cir. 2006). An amendment would be futile if it

        fails to state a claim under the Federal Rules of Civil Procedure. See Katyle v. PermNat. Gaming,

        Inc., 637 F.3d 462, 471 (4th Cir. 2011).


        Motion to Dismiss

        A Rule 12(b)(6) motion to dismiss tests the sufficiency of a complaint; "it does not resolve

        contests surrounding the facts, the merits of a claim, or the applicability of defenses."

        Republican Party of North Carolina v. Martin, 980 F.2d 943, 952 (4th Cir. 1992). "To survive a

        motion to dismiss, a complaint must contain sufficient factual matter, accepted as true, to 'state a

        claim to relief that is plausible on its face.'" Ashcroft v. Iqbal. 556 U.S. 662, 678 (2009) (quoting

        Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). In deciding the motion, a court may

        consider the facts alleged on the face of the complaint, as well as "'matters of public record,

        orders, items appearing in the record of the case, and exhibits attached to the complaint.'" Moore

        v. Flagstar Bank. 6 F. Supp. 2d 496, 500 (E.D. Va. 1997) (quoting 5A Charles A. Wright &

        Arthur R. Miller, Federal Practice & Procedure § Case 2:14-cv-00141-HCM-LRL, Document 17,

        filed 09/08/14, page 4 of 15 Page ID# 165 1357 (1990)).



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        In considering a motion to dismiss, [the Court] accept[s] as true all well-pleaded allegations and

        view[s] the complaint in the light most favorable to the plaintiff." Venkatraman v. REI Svs. Inc.

        417 F.3d 418, 420 (4th Cir. 2005) (citing Mvlan Labs. Inc. v. Matkari. 7 F.3d 1130, 1134 (4th

        Cir.1993)).

                                                  ARGUMENT

        I. BREACH OF CONTRACT: PLAINTIFF’S BREACH OF CONTRACT CLAIM IS
        PROPER BECAUSE IT MEETS THE TWOMBLY AND IQBAL PLAUSIBIITY TEST
        AND SO SHOULD NOT BE DISSMISSED.


        Virginia Code § 59.1-507.1. Breach of contract; material breach states:

        (a) Whether a party is in breach of contract is determined by the agreement or, in the absence of
        agreement, this chapter. A breach occurs if a party without legal excuse fails to perform an
        obligation in a timely manner, repudiates a contract, or exceeds a contractual use term, or
        otherwise is not in compliance with an obligation placed on it by this chapter or the agreement.
        A breach, whether or not material, entitles the aggrieved party to its remedies. Whether a breach
        of a contractual use term is an infringement or a misappropriation is determined by applicable
        informational property rights law.
        (b) A breach of contract is material if:
        (1) The contract so provides;
        (2) The breach is a substantial failure to perform a term that is an essential element of the
        agreement; or
        (3) The circumstances, including the language of the agreement, the reasonable expectations of
        the parties, the standards and practices of the business, trade, or industry, and the character of
        the breach, indicate that:
        (A) The breach caused or is likely to cause substantial harm to the aggrieved party; or
        (B) The breach substantially deprived or is likely substantially to deprive the aggrieved party of
        a significant benefit it reasonably expected under the contract.
        (c) The cumulative effect of nonmaterial breaches may be material.
        (2000, cc. 101, 996.)

        In Virginia, a plaintiff can prevail on a breach of contract claim by providing proof of three

        elements: “[A] legally enforceable obligation of a defendant to a plaintiff, a defendant’s violation

        or breach of that obligation, and injury or damage to the plaintiff caused by the breach of

        obligation.” Ulloa v. QSP, Inc., 624 S.E.2d 43, 48 (Va. 2006).




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        Contrary to Defendant’s views, Plaintiff has sufficiently made out an enforceable breach of

        contract (agreement) claim against them, because at the time of Plaintiff’s travel, Mrs. Swift

        bought and paid fully for her trip (consideration), and was issued a ticket and promise from

        Defendant to fly Plaintiff to her destination in accordance with the terms of ticket. Mrs. Swift

        kept her part of the contract, but Defendant did not. At some point on the trip, at Denver Airport,

        Defendant, through its agent, acted contrary to the terms of the contract and is in breach by not

        honoring the terms of Mrs. Swift’s “ticketed fare option.” In breach, Defendant, wrongly and

        unlawful changed the terms of Mrs. Swift’s economic ticket and charged her for her carry–on

        when they had no right to do so. Secondly, Defendant, through its agent, also breached their

        Contract of Carriage Rule 35 – Refusal to Transport, which is a contract that governs

        Defendant’s relationship with its passenger, including Mrs. Swift when there is an issue of

        refusal to board its flights.“ Rule 35, lists several factors and circumstances when it will be

        lawful to refuse or prevent a passenger to board their booked flight, none of those factors applied

        in the present case, yet, Jane Done in violation of Rule 35, prevented Mrs. Swift from boarding

        and made her boarding subject to her paying a fee, which Defendant in the first place had no

        right to, even in the face of their own policies that say the opposite.



        Defendant argues that Plaintiff’s contract damages are not recoverable. But they are wrong. In

        Virginia, a party's conduct gives rise to both a contract and tort claim only in limited

        circumstances. The Virginia Supreme Court had explained that to "recover in tort, the duty

        tortiously or negligently breached must be a common law duty, not one existing between the

        parties solely by virtue of the contract." Augusta Mut. Ins. Co. v. Mason, 645 S.E.2d 290, 293

        (Va. 2007). Plaintiff’ believes that her case falls within such limited cases, because her contract



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        breach is intertwined with her false imprisonment, defamation, and intentional infliction of

        emotional distress claims. The damages suffered, are also connected.



        II. FALSE IMPRISONMENT: PLAINTIFF’S FALSE IMPRISONMENT CLAIM IS
        PROPER BECAUSE IT MEETS THE TWOMBLY AND IQBAL PLAUSIBIITY TEST
        AND SHOULD NOT BE DISMISSED

        "No right is held more sacred, or is more carefully guarded, by the common law, than the right of

        every individual to the possession and control of his own person, free from all restraint or

        interference of others, unless by clear and unquestionable authority of law." Terry v. Ohio, 392

        U.S. 1 (1968) (quoting Union Pac. R. Co. v. Botsford, 141’ Under Virginia law, "false

        imprisonment" is restraint of one’s liberty without sufficient legal excuse. Montgomery Ward &

        Company v. Wickline, 188 Va. 485, 50 S.E. 2d 387 (Va.App. 1948). Ark v. Shifflett U.S. 250,

        251 (1891)). It is from this sacred right that this case finds its genesis.



        "[T]he necessary elements of a case for false imprisonment are a deprivation of the liberty of

        another without his consent and without legal justification." Montgomery Ward v. Wilson, 664

        A.2d 916, 926 (Md. 1995) (quoting Great Atl. & Pac. Tea Co. v. Paul, 261 A.2d 731, 738 (Md.

        1970)) (citations omitted). In Robert F. Spiers v. Gene E. Sydnor No. 00-1712 (CA-97-841

        (2001), The Fourth Circuit noted that the tort of false imprisonment is defined in Virginia as

        "restraint of one’s liberty without any sufficient legal excuse therefor by word or acts which he

        fears to disregard, and neither malice, ill will, nor the slightest wrongful intentions is necessary

        to constitute the offense." Montgomery Ward & Co. v. Freeman, 199 F.2d 720, 723 (4th Cir.

        1952) (internal quotation marks omitted). "False imprisonment may result not only from the

        arrest of a person without any valid warrant, but also from the unlawful detention of a prisoner



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        who has been lawfully arrested." Sands & Co. v. Norvell, 101 S.E. 569, 574 (Va. 1919); see

        Mullins v. Sanders, 54 S.E.2d 116, 120 (Va. 1949).



        If person is under reasonable apprehension that force will be used unless he willingly submits

        and he does submit to extent he is denied freedom of action, this constitutes false imprisonment.

        Zayre, Inc. v. Gowdy, 207 Va. 47, 147 S.E.2d 710. 1966. Court of Appeals of Maryland in Okwa,

        et ux. v. Michael G. Harper, et al. No. 129, July 28, 2000, Court of Appeals of Maryland noted,

        although the intentional torts of false arrest and false imprisonment are separate causes of action,

        they share the same elements. See generally Scott v. Jenkins, 345 Md. 21, 29, 690 A.2d 1000,

        1003 (1997); Montgomery Ward, 339 Md. at 721, 664 A.2d at 926. We shall discuss the torts

        concurrently. For a successful cause of action based on false arrest or false imprisonment, the

        plaintiff must establish that “the defendant deprived him or her of his or her liberty without

        consent and without legal justification.” See Scott, 345 Md. at 29, 690 A.2d at 1003;

        Montgomery Ward, 339 Md. at 721, 664 A.2d at 926; Ashton v. Brown, 339 Md. 70, 119, 660

        A.2d 447, 471 (1995); Great Atlantic & Pacific Tea Co. v. Paul, 256 Md. 643, 654, 261 A.2d

        731, 738 (1970).   The core issue under Appellants “False Arrest/Imprisonment” cause of action

        is whether Appellees had legal authority to facilitate the arrest of Mr. Okwa at the airport.



        In Betty Slagle Minton, et al., v. Nathan Alan Kennedy, et al., Case No. 2:13cv00036, the 14th

        day of November, 2013, the United States District Court Western District Of Virginia in

        Bigstone Gap Division noted that the terms false arrest and false imprisonment are used

        interchangeably in Virginia. The claims of false imprisonment and false arrest are

        distinguishable in terminology only, the only difference being the manner in which they arise: a



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        person may be falsely imprisoned by another without being arrested, but a person falsely arrested

        is also concurrently falsely imprisoned. See Smith v. Button, 43 Va. Cir. 379 (Va. Cir. Ct. Sept.

        24, 1997). Under Virginia law, false imprisonment is “the direct restraint by one person of the

        physical liberty of another without adequate legal justification.” Figg v. Schroeder, 312 F.3d

        625, 637 (4th Cir. 2002) (quoting Jordan v. Shands, 500 S.E.2d 215, 218 (Va. 1998)); see also

        Lewis v. Kei, 708 S.E.2d 884, 890 (Va. 2011) (citing Montgomery Ward & Co. v. Wickline, 50

        S.E.2d 387, 388 (Va. 1984)). In the context of an arrest, if such arrest is lawful, then a plaintiff

        cannot prevail on a false imprisonment claim. See Lewis, 708 S.E.2d at 890 (citing DeChene v.

        Smallwood, 311 S.E.2d 749, 752 (Va. 1984)). In other words, in stating a claim for false

        imprisonment, there must be some allegation that the process that led to the arrest was unlawful.

        See Cole v. Eckerd Corp., 54 Va. Cir. 269 (Va. Cir. Ct. Dec. 20, 2000) (citing Coughlan v. Jim

        McKay Chevrolet, Inc., 18 Va. Cir. 265 (Va. Cir. Ct. Nov. 13, 1989) (citing Motley v. Va.

        Hardware & Mfg. Co., 287 F. Supp. 700 (W.D. Va. 1968)).



        The requisite restraint may be accomplished by “words or acts, which [the individual] fears to

        disregard, and neither malice, ill will, nor the slightest wrongful intention is necessary to

        constitute the offense.” Cole, 54 Va. Cir. 269 (quoting Wickline, 50 S.E.2d at 387). It is not

        essential that a citizen be confined in jail or placed in the custody of an officer to state a claim for

        false imprisonment. See S.H. Kress & Co. v. Musgrove, 149 S.E. 453, 455 (Va. 1929); Zayre of

        Va., Inc. v. Gowdy, 147 S.E.2d 710, 713 (Va. 1966). If a person is under a “reasonable

        apprehension that force will be employed unless he willingly submits, and he does submit to the

        extent that he is denied freedom of action, this, in legal contemplation, constitutes false

        imprisonment.” Musgrove, 149 S.E. at 455; Gowdy, 147 S.E.2d at 713. However, as stated



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        herein, a plaintiff need not be in the formal custody of an officer to state a claim for false

        imprisonment. See Musgrove, 149 S.E. at 455; Gowdy, 147 S.E.2d at 713.


                                                  CONCLUSION


        WHEREFORE, Plaintiff Mrs. Swift, respectfully requests that the Court grant Plaintiff’s Motion

        for Leave of Court to Amend her Complaint, and also to deny Defendant’s Motion to Dismiss

        Counts III, V, and VI.



        Dated: December 29, 2014                               Respectfully submitted,

                                                               /s/ Stephen Christopher Swift
                                                               Stephen Christopher Swift
                                                               Virginia State Bar ID No. 38419
                                                               Swift & Swift, Attorneys at Law, P.L.L.C.
                                                               2121 Eisenhower Avenue, Suite 200
                                                               Alexandria, Virginia 22314-4688
                                                               Telephone: (703) 418-0000
                                                               Facsimile: (703) 535-8205
                                                               E-Mail: steve@swift.law.pro
                                                               Attorney for Plaintiff
                                                               Charity Chidinma Emeronye Swift


                                          CERTIFICATE OF SERVICE


                  I certify that the foregoing document was filed on December 29, 2014 with the Clerk of

        the Court through the Court’s ECM/CF system, which will electronically serve all counsel of

        record.

                                                               /s/ Stephen Christopher Swift
                                                               Stephen Christopher Swift




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                                 IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF VIRGINIA
                                              Alexandria Division
                                                                                        f JAN-9                 M
       CHARITYCHIDINMA
       EMERONYE SWIFT,                                                                  CLERK, U.S. DISTRICTCOUR1


                               Plaintiff.

       v.                                                Civil Action No. 1:14-cv-01139 (AJT/IDD)

       FRONTIER AIRLINES, INC., el «/.,

                               Defendants.



                                                    ORDER


               FOR REASONS stated from the bench and in accord with specific rulings and

       instructions thereto, it is hereby

               ORDERED that Plaintiffs Motion for Leave of Court to Amend Complaint [Dkt. No.

       311 is GRANTED in part and DENIED in part. The Motion is granted as to adding Count V

       (Breach of Contract of Carriage) to the Complaint, and denied as to adding Count VI (False

       Imprisonment). Plaintiff shall promptly file an Amended Complaint with the Clerk of the Court,

       which shall be deemed filed as of the date of this Order.

               The Clerk is directed to forward copies of this Order to all counsel of record.

               ENTERED this 91" day ofJanuary 2015.


       Alexandria, Virginia                            JLCAGl 7s/_
                                                       Ivan D. Davis
                                                       United States Magistrate Judge




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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                     ALEXANDRIA DIVISION
        __________________________________________
                                                  )
        CHARITY CHIDINMA                         )
        EMERONYE SWIFT,                          )
                                                  )
                        Plaintiff,                )  Civil Action No. 1:14-CV-1139
                                                  )
                         v.                       )  Hon. Judge Anthony J. Trenga
                                                  )  Hon. Magistrate Judge Ivan D. Davis
        FRONTIER AIRLINES, INC. (a Colorado       )
        Corporation), and JANE DOE,               )
                                                  )
                        Defendants                )
        __________________________________________)


                                           AMENDED COMPLAINT


        Charity Chidinma Emeronye Swift (hereinafter “Plaintiff”), by her undersigned attorney Stephen

        Christopher Swift, and on her behalf, herein alleges the following:



                                           NATURE OF THE CASE


        1. Plaintiff, a citizen of the United States of America born in the Federal Republic of Nigeria,

        and a resident of Fairfax County in the Commonwealth of Virginia, brings this action seeking

        declaratory, injunctive, and monetary relief against Frontier Airlines, Inc., and Jane Doe,

        (“Defendants”), for unlawful discrimination under federal laws, and Breach of Contract under

        Virginia laws. As described in this Amended Complaint, Jane Doe, an agent of Defendant,

        unlawfully discriminated against Mrs. Swift, by refusing to allow her, the only African/African-

        American woman and black person on the flight, to board the plane unless she paid $25.00, even


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        though two different ticketing agents of the Defendant’s had already weighed Mrs. Swift and her

        husband’s carry-ons respectively, found them within the required measurement, and issued them

        their boarding passes without asking them either of them to pay for their carry-ons. Mrs. Swift

        was told she would not be allowed to travel or board the plane unless she paid. Her husband on

        the other hand, was not asked to pay for his carry-on. Mrs. Swift believes she was discriminated

        against, on the basis of her perceived race, color, ethnicity, alienage, ancestry, and/or national

        origin.




        2. As it turned out, and as Mrs. Swift later discovered after filing her initial Complaint,

        Defendants breached their own “Contract of Carriage,” when they charged Mrs. Swift for her

        carry-on, because, according to their own policy, only passengers who purchased a “Basic” ticket

        through third parties, were required to pay for their carry-on – economy ticket holders were

        allowed to board free with their carry-ons. Although Mrs. Swift and her husband purchased their

        ticket from a third party, their ticket, was “Economy” and not “Basic.” Also, according to

        Defendant’s own policy, as posted on their own website, carry-on fees for “Economy” ticket

        holders came into effect on April 28, 2014 and Mrs. Swift and her husband bought their ticket

        and travelled in August/September, 2013. Hence, Mrs. Swift was not required to pay for her

        carry-on and Defendants had no right or justification to charge her any fees for her carry-on, in

        the first place. See Attached Exhibits A-H. Defendants also breached their own policy and

        “Contract of Carriage” Rule 35 – Refusal to Transport, when Jane Doe, unlawfully, without just

        cause detained, and refused to allow Mrs. Swift to board the plane, and in fact, restricted her

        ability and freedom to board the plane against her will and her rights, without just cause or

        justifiable reason. See Attached Exhibit I.

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        3. Jane Doe was emphatic that Mrs. Swift will not board the plane, or travel on Frontier Airlines

        unless she paid $25.00. She also backed that emphasis up with the threat of calling for Mrs.

        Swift’s arrest, and in fact, did carry out that threat by calling for the airport security police to

        come and arrest Mrs. Swift, even though she knew Mrs. Swift had done nothing wrong, and that

        such actions were unlawful because they were not warranted by any standard, in the

        circumstances. When Jane Doe made good on her threat by calling for the security to come and

        arrest Mrs. Swift, Mrs. Swift, out of intimidation by Jane Doe, and fear that she will be arrested,

        handcuffed by the airport security, and locked up, paid the $25.00 demanded by Jane Doe, even

        though she did not know why she was paying it, because Jane Doe refused to answer her

        questions, or explain to her why she was being charged such fees, especially when her own

        husband who was similarly situated, was not asked to pay any fees, even at the prompt of Mrs.

        Swift asking Jane Doe, why her husband was not also asked to pay.




        4. Defendant’s agent Jane Doe, allowed Mrs. Swift’s husband, who is Caucasian male, and

        similarly situated or in the same boat, because they had same ticket (they bought their ticket

        together, were checked in together, and issued boarding passes and seats together, to board the

        plane). When Plaintiff asked why her husband was not charged as she was, she was given no

        answers. Defendants treated Plaintiff differently from her husband who is a white Caucasian, and

        all other white passengers who were allowed to board the plane without more, who Mrs. Swift

        watched board as she was asked by Jane Doe, to step aside from the line. When Mrs. Swift

        asked why she was asked to pay for carry-on after she had already been checked in, her carry-on

        measured and approved, and issued a boarding pass, Jane Doe never gave Mrs. Swift any reason

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        or explanation. Instead, Jane Doe used insulting words, bullied, intimidated, threatened to call

        the airport security police to arrest Mrs. Swift, and indeed, did carry out that threat by asking

        someone to call the airport security police to arrest Mrs. Swift. Defendants’ actions were hostile,

        willful, intentional, reckless, and in violation of 42 U.S.C. § 1981 as amended by the Civil Rights

        Act of 1991; Title VI of the Civil Rights Act of 1964, 42 U.S.C. §2000d. By Jane Doe’s actions,

        Mrs. Swift felt humiliated, vilified, traumatized, and emotionally stressed and she suffered

        lingering nightmares, sleeplessness and fatigue that affected the level of energy she used to have

        and needed to do her work. The experience was a very painful one for her.




        5. By calling the security police to come and arrest Mrs. Swift, Defendant’s agent defamed Mrs.

        Swift as she impugned on Mrs. Swift’s reputation by innuendo, insinuation, or implication, that

        Mrs. Swift has either committed a crime, or was in the process of committing a crime, was a

        security threat to other passengers or Frontier’s staff, or was a security risk given that Jane Doe

        told Mrs. Swift in the presence of other passengers, that she was not going to let Mrs. Swift

        board the plane, and given the genuine reasons for heightened security these days, at America’s

        airports and or that Mrs. Swift has disturbed or was disturbing the peace, or has acted in any

        manner, necessitating a call for the security police or warranting her arrest in the circumstances.

        Jane Doe also knew that what she was doing was not warranted and was unlawful, yet she acted

        as she did, without any care or regard as to how it would affect Mrs. Swift or her rights.

        Defendants breached their own Contract of Carriage when they failed to follow their own

        policies regarding carry-ons and also, when they failed to follow their own rules regarding

        refusal to transport a passenger.




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        6. In addition to seeking compensatory and punitive damages, plaintiff seeks declaratory and

        injunctive relief requiring defendant to desist from and remedy such discriminatory action.




                                         JURISDICTION AND VENUE

        7. The court has jurisdiction over Plaintiff’s federal claims pursuant to 28 U.S.C. §§ 1331,

        1343(a)(4) and 1367. Plaintiff’s action for damages, punitive, declaratory, equitable and other

        monetary relief is authorized by 28 U.S.C. §§1343(a)(4), 2201, 2202 and 42 U.S.C. Section

        1981a(b)(1). Venue is proper in the U.S. District Court in the state of Virginia under 28 U.S.C. §

        1391 because the events giving rise to these claims arose from defendant doing business in

        Virginia (Reagan Washington National International Airport), and Plaintiff resides in Virginia.




                                                INTRODUCTION

        8. Plaintiff brings this civil rights lawsuit to ensure that the mandate that everyone in this

        country is treated equally, as embodied and guaranteed in federal and state anti-discrimination

        laws, does not become meaningless when the rights of persons perceived to be African, African-

        American, Black or non-Caucasian Americans are affected. The aftermath of the horrific events

        of September 11, 2001, has seen a rise in incidents of discrimination by airlines against non-

        Caucasian citizens of the United States. Airlines like Frontier and their agents have invariably

        pretended and hidden behind security and safety arguments even in circumstances where their

        actions clearly have nothing to do with anything close to, or relating to the security or the safety

        of anyone. Some airlines and their agents have used the genuine fear and need for security and

        safety of travelers to foster and carry out their personal bigotry and racist intentions. They have

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        done so, and continue to do so, despite President Bush’s admonition during his address to

        Congress following the attacks that “no one should be singled out for unfair treatment or unkind

        words because of their background or religious faith.” They have also ignored Attorney General

        Ashcroft’s plea that “we must not descend to the level of those who perpetrated Tuesday’s

        violence by targeting individuals based on their race, their religion, or their national origin.”




        9. Several federal laws expressly prohibit airlines from discriminating against an individual

        because of that person’s race, color, national origin, religion, sex, or ancestry. Specifically, 49

        U.S.C. § 40127(a) provides that an “air carrier or foreign air carrier may not subject a person in

        air transportation to discrimination on the basis of race, color, national origin, religion, sex, or

        ancestry,” 49 U.S.C. § 41702 requires that U.S. carriers provide safe and adequate

        transportation, and 49 U.S.C. § 41310 prohibits air carriers and foreign air carriers from

        unreasonably discriminating against any person in foreign air transportation. Finally, 49 U.S.C.

        § 41712 prohibits unfair and deceptive practices by air carriers. As the Department of

        Transportation noted in its Consent Order against United Air Lines, Inc., Docket OST-2011-

        0003, November 1, 2011,”each of these provisions has been interpreted to prohibit air carriers

        from discriminating on the basis of race, color, national origin, religion, sex, or ancestry. See

        American Airlines, Inc., OST-2003-15046-18 (August 21, 2003) and United Air Lines, Inc.,

        Order 2003-11-13 (November 19, 2003). As exemplified by its numerous Consent Orders against

        several airlines, the Department of Transportation, pursuant to aforementioned federal laws have

        made clear to airlines that discrimination against persons solely on the basis of their race, color,

        national origin, religion, sex, or ancestry, is prohibited. Nevertheless, airlines like defendant,

        egregiously and recklessly continue to discriminate against persons on the basis of their race,

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        color, national origin, religion, sex, or ancestry, in violation of federal and state civil rights,

        without regard to the individual’s rights, as they did to Plaintiff.




        10. This suit is brought in response to one such egregious and reckless incident. In an overt and

        blatant act of racial discrimination, Plaintiff Charity Chidinma Emeronye Swift, a woman, an

        American citizen of African descent, was denied her right to board the plane at the gate, after

        defendant’s agents had already issued her and her Caucasian husband (both attorneys), their

        boarding passes and cleared them for boarding, until she paid twenty-five dollars ($25.00) for her

        carry-on luggage, even though no one else including her husband who checked in while she was

        detained, was asked to pay for their carry-ons as Mrs. Swift was asked. Two of Defendant’s

        ticketing personnel had already measured Mrs. Swift’s carry-on, found it met Frontier’s required

        measurement and gave her and her husband their boarding passes without asking them to pay for

        their carry-ons.




        11. When Mrs. Swift arrived at the boarding gate and when it was her turn to board, she stood in

        line. It was at this time, that Frontier’s agent who suddenly appeared at the gate (name unknown

        and designated “Jane Doe” in the caption of this case) threatened, degraded, intimidated vilified

        and humiliated Mrs. Swift, telling her she was going to call the airport security office to arrest

        her and she in fact, did – she yelled out over the heads of everyone at the gate and surrounding

        gates, “can someone call the airport security police for me.” Frontier’s agent Jane Doe’s actions

        had no basis and were unwarranted, as Frontier’s Customer Relations person Mrs. Swift

        complained to few days later, agreed with Mrs. Swift. Plaintiff brings this suit to make sure that


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        Frontier and its agent, is made accountable for their unlawful actions, and to ensure that no one

        in the future is subjected to the same kind of unlawful, humiliating and degrading treatment by

        Mrs. Swift received in the hands of Frontier and its agent.




                                                    PARTIES

        Plaintiff

        12. Plaintiff Charity Chidinma Emeronye Swift, is a black woman, a citizen of the United States

        of America, and a citizen and resident of the Commonwealth of Virginia. She is a native of the

        Federal Republic of Nigeria in West Africa. Charity Chidinma Emeronye Swift has an L.L.B.

        from the University of London and a L.L.M. from DePaul University, and has been admitted to

        the bar in New York. She is an attorney and a member of the law firm, Swift & Swift, Attorneys

        at Law, P.L.L.C. where she works with her husband Stephen Christopher Swift (a Caucasian),

        also a member and attorney of the firm.




        Defendants

        13. Defendant Frontier Airlines, Inc. (“Frontier Airlines”) is an air carrier engaged in the

        business of transporting passengers. It is incorporated in Colorado. Its corporate headquarters is

        located at: 7001 Tower Road, Denver, Colorado 80249. Defendant Jane Doe is an employee of

        Frontier Airlines whose name is unknown.




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        14. In February 2003, Frontier Airlines, Inc. received about seventy million dollars

        ($70,000,000.00), in federal financial assistance from the U.S. Department of Transportation,

        pursuant to sections 101 and 103 of the Air Transportation Safety and System Stabilization Act,

        P.L. 107-42.




                                  FACTS GIVING RISE TO THIS ACTION

        15. In August 2013, a father and son, both clients of Plaintiff’s husband, invited Plaintiff and her

        husband to the wedding of the son/client. Plaintiff and her husband accepted the invitation.

        Despite their workload, Plaintiff and her husband managed to eke out time and planned to use

        that opportunity to visit Yellow Stone National Park, which they had never seen before. On

        August 19, 2013, Plaintiff and her husband booked two-way return flights, through their travel

        agent, Air World Travel, from Ronald Reagan Washington National Airport, in Arlington,

        Virginia, (“Reagan Airport”) to Bozeman Airport, in Bozeman, Montana (Bozeman), and back to

        Reagan Airport. The flight from Reagan Airport to Bozeman Airport was on United Airlines.

        The flight from Bozeman Airport to Reagan Airport, was on Frontier Airlines, Inc. There was a

        stopover at Denver Airport with both flights.




        16. Plaintiff and her husband had a total of two pieces of luggage - one carry-on luggage each.

        They were told by their booking agent that carry-ons were free. This was confirmed when they

        arrived at the appointed date, at Reagan Airport, and United Airlines did not charge them for

        their two carry-on pieces of luggage. They had a no-hassle flight to and safely arrived at Denver

        Airport. They departed Denver Airport, at 9:55 pm, and again, there was no charge for their two


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        carry-on pieces of luggage, and they checked in with their carry-ons like the rest of the travelers

        on their flight. They had a no-hassle trip from Denver Airport to Bozeman on United Airlines.

        They attended the wedding, which was beautiful and had a wonderful time. They also spent a

        couple of days sightseeing nature’s wonders, including the Old Faithful Geyser, one of the most

        spectacular and glorious gifts nature has given America, that never failed to entertain by keeping

        exact time! Their trip was magnificent, and seeing Yellow Stone made it a once in a lifetime trip,

        and one that especially left Plaintiff with a glorious sense of awe, appreciation and unbridled joy,

        until Frontier Airlines’ agent Jane Doe, at the Denver airport boarding gate, snuffed all that from

        Plaintiff, by her unlawful discriminatory treatment of her, and left her an emotional wreck.




        17. On September 4, 2013, Plaintiff and her husband, joyfully and gratefully bid farewell to their

        hosts, Yellow Stone National Park, and the state of Montana. Plaintiff and her husband arrived at

        Bozeman Airport and went to the Frontier’s counter to check in and obtain their boarding passes

        to Denver Airport. Defendant’s ticketing agents at the Bozeman Airport checked them in, with

        their two pieces of carry-on luggage and handed them their boarding passes without more. They

        were not asked to pay anything for their carry-ons, and so they paid no charges, just like others,

        who were not asked to pay anything when they checked in as they did, with only carry-on

        luggage. At the boarding gate, Plaintiff and her husband presented their boarding passes as was

        required and as everyone did, and were allowed to board the plane, again, with their carry-on

        which was stowed in the overhead cabin of their assigned seats. Mrs. Swift and her husband’s

        flight on Frontier Airlines, from Bozeman to Denver Airport, was a no-hassle flight. They

        arrived safely without any incident and again, they went to the Defendant’s counter for their final

        check in for the trip to Reagan Airport.

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        18. When Mrs. Swift and her husband arrived at Frontier Airline’s Denver counter to check in

        and get a boarding pass for the flight to Reagan Airport, the younger (Plaintiff presumes) of two

        of Frontier Airline’s ticketing personnel, asked both Plaintiff and her husband whether they had

        any luggage to check in. Plaintiff and her husband answered, “No!” All they had was their carry-

        on luggage. The young lady then asked to see their carry-ons. Plaintiff and her husband showed

        the lady their two pieces of carry-on luggage. She asked Plaintiff and her husband to place, their

        luggage one at a time, into a metal measuring box to ensure that they had the right size of carry-

        on. Plaintiff and her husband complied, and each carry-on luggage was certified as within the

        carry-on luggage size for the purpose of fitting into the overhead cabin. After measuring each

        luggage, she gave Mrs. Swift and her husband “thumbs up” and said, here you go, and handed

        them their boarding passes (without asking them to pay for their carry-ons because there was no

        reason to do so whatsoever, so they paid nothing, as they had done so far, to that point, on both

        their trip over to and back from Montana). The young lady further advised them on the

        appropriate gate to board their plane for Reagan Airport. They thanked her and proceeded to the

        gate for boarding.




        19. Mrs. Swift and her husband arrived at the boarding gate and waited for a while before

        boarding began, and until their “zone” – zone 2 – was announced for boarding. The flight was a

        completely full flight and their boarding gate was A38. Gate A38 and the surrounding gates were

        full of travelers waiting in their respective boarding gates. When zone 2 was called for boarding,

        Plaintiff and her husband fell in line. There were fewer than four people in front of them.

        Plaintiff was in front of her husband in the line, and each was carrying their own carry-on. The

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        two young women who earlier, checked them in and gave them their boarding passes, were at the

        gate letting people on-board. However, as Plaintiff was next in line, and just as she stretched her

        hand to hand over her boarding pass to one of the two young women, another woman (“Jane

        Doe”) who was definitely older than the two young ladies that dealt with Plaintiff and her

        husband earlier, appeared and said, “give it to me”, i.e. Mrs. Swift should giver Jane Doe her

        boarding pass. It happened so fast that Jane Doe basically snatched Mrs. Swift’s boarding pass

        out of her hand.




        20. When Jane Doe took the boarding pass from Mrs. Swift’s hand, instead of tearing and giving

        Mrs. Swift the assigned seat coupon part of it, as they were doing with other passengers, and let

        her pass to board the plane like others before her, Jane Doe, looked at Mrs. Swift and her carry-

        on and asked, “Is this your luggage?” Mrs. Swift answered “yes”. Then Jane Doe said to her,

        “You have to pay twenty-five dollars before you can board.” Mrs. Swift responded and asked her

        why she had to pay? Instead of explaining to Mrs. Swift what the fees was for, Jane Doe loudly,

        rudely and dismissively replied, “I have just told you, you have to pay for your carry-on luggage

        before I will allow you to board.” Perplexed and thinking that Jane Doe thought her carry-on will

        not fit into the overhead cabin, and that that, was the reason Jane Doe was asking Mrs. Swift to

        pay for it, because she was going to tag it and check it into the plane cargo hold as most airlines

        do free of charge, and as Mrs. Swift is familiar with, so that she would not have to take it in with

        her, Mrs. Swift explained to Jane Doe that it will fit into the cabin, because the young lady

        behind her had already measured it and found that it was the right size. Jane Doe then raised her

        voice in anger and said to Mrs. Swift, “don’t you understand English and that I said you must

        pay for your luggage before I can let you board this plane otherwise you are going nowhere.” At

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        that point, everyone’s attention was alerted and they were all now looking at Mrs. Swift as Jane

        Doe was yelling at her and bullying her in front of her husband and all the other passengers

        there, and around the adjoining gates, as if Mrs. Swift had done something wrong when in fact

        she did no such thing. As surprised, confused and furious as her husband was, he kept his self-

        control and said nothing as his wife’s ordeal continued. Even Plaintiff’s husband’s high exercise

        of control and decorum in the face of Jane Doe’s horrible treatment of his wife, did not faze

        Frontier’s Jane Doe after she knew that Stephen Swift, the man standing behind Mrs. Swift, was

        her husband.




        21. Mrs. Swift then asked Jane Doe, if that was the case, that she must pay for her carry-on, why

        was she and her husband not asked to pay on the whole trip by both United Airlines and Frontier

        Airlines, until that last leg of their journey, and why were they not told or asked for payment by

        this young lady (Plaintiff pointed at her), who checked them in earlier, gave them the thumbs up

        after measuring their carry-ons, gave them their boarding passes and told them to go board the

        plane? Jane Doe angrily waived Mrs. Swift off with her left hand and said, “Take your luggage

        and get out of this line, move over that way” (pointing to her left). All this time, Mrs. Swift’s

        husband was standing right behind her with his own carry-on luggage, quietly watching what

        was going on without saying a word. Jane Doe, who continued tormenting Mrs. Swift, said

        nothing to her husband, and did not ask to see his boarding pass, or ask him to pay for his carry-

        on luggage.




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        22. As Mrs. Swift and her husband moved aside, and off from their now boarding line, Mrs.

        Swift watched everyone else boarding without being asked to pay for their luggage before

        boarding. So, she asked Jane Doe, why was she the only one with a boarding pass who is asked

        to pay $25 before boarding the plane? She turned at Mrs. Swift and angrily threatened, “do you

        want me to make you pay fifty dollars ($50) or do you want to pay twenty-five dollars ($25)?”

        Mrs. Swift explained to Jane Doe that she failed to understand why she was singling her out to

        pay for her carry-on when the rest of the passengers were allowed to board without Jane Doe or

        anyone else asking them to pay before boarding. Mrs. Swift then asked Frontier’s agent, “If I

        must pay, why are you not asking my husband also to pay because we both have carry-ons,

        booked same flight together, have exact same boarding passes?” Jane Doe then became irate and

        yelled at Mrs. Swift and said, “Shut your mouth, I don’t want you to talk to me again, I have

        already told you, if you don’t pay, I will make sure you don’t board this flight.” Mrs. Swift

        further explained to her that the matter was not paying $25, but the fact that she was singling her

        out to pay, as a condition of her boarding a flight she had already fully paid for, and after she had

        already been issued a boarding pass (usually, a boarding pass will not be issued to any passenger

        if that passenger is required to pay for their carry-on or luggage, before boarding, until after

        payment has been made) like the rest of the passengers, did not make sense to her, coupled with

        the fact, that all through the three flights that she and her husband had already made during the

        trip, two on United Airlines and one on Frontier Airlines (from Bozeman to Denver), no one

        asked them to pay, even at Frontier’s check in counter, on that stopover, until Jane Doe showed

        up at the boarding gate and suddenly singled out Mrs. Swift to pay for her carry-on – same carry-

        on she had on all the flights, as a condition for her boarding her prepaid flight and final leg of her

        journey.



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        23. At this point, Jane Doe got terribly angry at Mrs. Swift, and was so irate that, with the

        loudest voice that she could muster, turned to Mrs. Swift and shouted: “Can’t you see that I don’t

        care, and I don’t want to hear you say anything more to me again, you pay or I will call the

        airport security police to come and arrest you.” At this time, the anger, embarrassment and

        humiliation Mrs. Swift was feeling because of the way she was singled out and treated so

        unfairly, and without any justifiable reason, turned to fear. Mrs. Swift feared that Jane Doe, was

        so obviously full of hatred for her (even though she had never seen or met her before, and hardly

        knew her), could actually call the police to arrest her, even though she had not disturbed the

        peace, broken any law, and certainly was not a security or safety risk to the airplane, anyone

        boarding it, or anyone around the gate or anywhere for that matter and has not done anything

        against anyone including Jane Doe, that warranted her calling for Mrs. Swift’s arrest. Suddenly

        Mrs. Swift’s heart started pounding and racing, and she started shaking allover. Mrs. Swift tried

        to recover and get hold of herself. But before she could, as if Jane Doe, who was bullying and

        tormenting her sensed that her horrible, abusive and intimidating actions towards Mrs. Swift has

        affected her emotionally, and that she was hurting, yelled out on top of her voice, “Can someone

        call me an airport security police?” This was knowingly intentional and hostile but it was clear

        that Jane Doe relished her treatment of Mrs. Swift and the effect it was having on her, even

        though she knew or must have known that it was not warranted or justified by any account. As

        Mrs. Swift looked at, and turned from her husband, her eyes caught the young lady who issued

        them their boarding passes. She was flushed and looked terrified herself as Mrs. Swift was. As

        their eyes met, as if she wanted to tell Mrs. Swift something, she invitingly and almost in a

        whisper, asked Plaintiff: “do you want to pay now?” Mrs. Swift replied “yes”, and gave the


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        young lady her credit card. As she took payment she whispered her apologies to Mrs. Swift,

        telling her that she was a new employee and that she was sorry that she could not do anything.




        24. All Jane Doe’s actions towards Mrs. Swift happened in front of everyone in line at the gate,

        and the surrounding gates. Jane Doe singled her out because she was a black woman of a

        different national origin, in a place Jane Doe felt she had no business being - where everyone

        else was white and she ridiculed Mrs. Swift because of Jane Doe’s perceived accent of Mrs.

        Swift that she did not like. When Jane Doe realized that the white man behind Mrs. Swift was

        her husband, it infuriated her even more, as it was visibly apparent on her face and the way she

        looked down on both Mrs. Swift and her husband. She rudely and angrily bullied, intimidated,

        threatened and defamed Mrs. Swift by innuendo when she yelled out for someone to call the

        airport security police to arrest her, even though she knew Plaintiff had done nothing illegal and

        was not a flight risk by any imagination or standard and that Mrs. Swift had not behaved in

        anyway unlawful, she did not behave in anyway disorderly, or disturbed the public peace

        warranting her arrest by the airport police. By calling for the police, Jane Doe insinuated that

        Mrs. Swift was a flight risk, had committed a crime, or was disturbing the peace or had behaved

        in a disorderly manner warranting police presence and action. Frontier’s agent knew her

        insinuations were false, yet she recklessly made the statement without regard to Mrs. Swift’s

        rights and the effect it will have on her. In this country, people do not call the police to come and

        arrest someone in front of the public if they have done nothing wrong. No one in this country has

        the right to call the police to arrest someone because they are angry someone asked them

        questions, or even debated with them on a subject. Were that to be the case, then the notion of

        freedom of speech in America, would mean nothing.

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        25. Jane Doe was hostile to Mrs. Swift. She unlawfully and intentionally, with malice, set out to

        discriminate, intimidate, humiliate, ridicule, and inflict emotional distress on Mrs. Swift, and in

        fact, did so, because she was a black woman and an African and of a different national origin as

        the rest of the passengers, including her own husband who is a Caucasian. Jane Doe hated Mrs.

        Swift because of who she was, her color, and her national origin, and treated her unfairly with

        unprovoked hatred and malice. Jane Doe’s treatment of Mrs. Swift was so abhorrent to Mrs.

        Swift. She felt threatened, intimidated, humiliated, degraded and vilified. Jane Doe unlawfully

        and intentionally discriminated against Mrs. Swift and this made her very sick in her stomach,

        because she could not understand why and where such hate came from this woman she had never

        met in her life, because she did nothing to her or anyone to warrant such treatment, except for her

        being a Black African woman and of a different national origin from her and the rest of the

        people on that flight, including her own husband, and because Jane Doe could not stand Mrs.

        Swift’s perceived accent.




        26. After Plaintiff paid, she and her husband were allowed to board the plane after everyone else

        had. Although Mrs. Swift’s husband was allowed to board by Jane Doe, for reasons that she did

        not explain, Mr. Swift did not board the plane, he stood with his wife and they boarded the plane

        together after everyone had been allowed to board the plane. From the time her ordeal began, she

        watched while all other passengers, including her own husband, were allowed to board, without

        being asked to pay and did not pay for their carry-ons. She was the only one who was asked to

        pay. Jane Doe was incensed when Plaintiff told her that Stephen was her husband and

        questioned why he too was not asked to pay as a condition for boarding the plane. Not only was

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        Mrs. Swift the only person who was asked to pay while she was standing there and watching, she

        was the only Black, African and/or African American passenger onboard that airplane. The rest

        of the passengers on that airplane were all white Caucasian men and women, including her

        husband.




        27. By the time Plaintiff and her husband boarded the plane, she was very distraught and as she

        sat in her seat, she cried her heart out. She felt devastated by the thought that she could have

        been arrested, had someone called the police as Jane Doe requested, taken away in front of

        everybody at the gate, and adjoining gates, perhaps in handcuffs as a criminal, even though she

        did nothing wrong, but just because she was a black and an African woman. She thought of the

        detrimental effect such news of her being arrested and/or detained by police at the airport would

        have on her reputation and her legal career, and how it would have caused her husband

        unnecessary and unwarranted anguish. These thoughts became the beginning of a lingering

        nightmare and sleeplessness that she suffered for a long time after, as a result of the incident.




        28. As Plaintiff walked through the isle to her assigned seat and just as she was about to sit

        down, a Frontier Airlines flight attendant in her uniform who was seated behind her seat, but was

        not part of the crew for the flight, who saw her crying, asked if she was O.K. She answered,

        “No!” That flight attendant asked Mrs. Swift what the matter was, and Mrs. Swift explained her

        ordeal to her. The flight attendant told her that what Jane Doe did was awful and that she did not

        understand why Jane Doe asked Mrs. Swift to pay for her carry-on. She apologized to Mrs.

        Swift, but told her that she cannot do more for her because she was not on duty.


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        29. On returning home, the next day or so, Mrs. Swift called the Frontier Airlines Customer

        Complaint line and complained about her ordeal at the hand of one of their employees. The lady

        she spoke to, took her e-mail address and promised to report and/or investigate the matter and get

        back with her. She in fact, did write Mrs. Swift after a week or so, but all she did was apologize,

        and no explanation was given to Mrs. Swift as to why their employee singled out a black woman

        and made her boarding a flight that she fully prepaid for, conditional on her paying a $25 carry-

        on luggage fee, when no one else who was white Caucasian, including her own husband, was

        charged such fee as a condition for boarding. Now as it turned out and as Mrs. Swift later

        discovered after she filed her Complaint, she should not have been asked to pay any fees for her

        carry-on and because Frontier’s carry-on policies as regards passengers who bought their ticket

        from third party travel agent, at the time Mrs. Swift and her husband purchased and used their

        ticket, did not apply to passengers whose ticket was “Economy” but to those with a “Basic”

        ticket, and Mrs. Swift and her husband’s ticket was “Economy” ticket as the attached Exhibit A

        shows.




        30. By the time Plaintiff and her husband arrived home from their trip, her ordeal in the hands of

        Defendant’s employee Jane Doe, cast a depressing cloud over Plaintiff’s memorable happy

        experiences of the wedding they attended that took them to Montana in the first place, and the

        once in a lifetime experience she and her husband shared of the Yellow Stone National Park

        wonders, including watching Old Faithful deliver its magic at the appointed time. Plaintiff spent

        the rest of the year having nightmares about what happened and what could have happened to her

        had the airport police arrested her. This recurring nightmare, coupled with sleepless nights as the

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        whole episode kept playing repeatedly in her head, and keeping her awake, not only made her

        feel humiliated and vilified, it also sapped her of energy that she needed to carry out her job as a

        lawyer.




        31. Plaintiff and her husband have been badly affected by this incident. The experience left

        Plaintiff’s husband with a deep sense of disgust, anger and frustration, as he watched helplessly

        because he did not want to escalate matters, while Defendant’s employee Jane Doe discriminated

        against his wife because she was a black African woman, married to a white man, and of a

        different national origin. To wit, the thought of the whole ordeal that in 2013 in America, a

        person could harbor such intense hate in their minds against another, solely on the basis of their

        skin color, background and national origin was shocking and terrifying to Mrs. Swift.




                                          REQUISITES FOR RELIEF

        32. By reason of Plaintiff’s factual allegations as set forth above, there is actual controversy

        between Plaintiff and Defendants. A declaration from this court that Defendant Frontier Airlines,

        Inc., and its agent Jane Doe’s actions, violated Plaintiff’s rights is therefore necessary and

        appropriate.




        33. Defendants’ continued discriminatory conduct will result in irreparable harm to plaintiff,

        including but not limited to violations of her legal rights. Plaintiff has no adequate or complete

        remedy at law to address the most invidious wrong described herein. Plaintiff therefore seeks



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        injunctive relief restraining Defendants from engaging in the unlawful acts and practices

        described above.




                                             CLAIMS FOR RELIEF

                 COUNT I: 42 U.S.C. § 1981 DISCRIMINATION IN THE MAKING AND
                                 ENFORCEMENT OF CONTRACTS


        34. Plaintiff re-alleges paragraphs 1 through 33 and incorporates them by reference as though

        fully stated herein as part of Count I of this Complaint.




        35. Section 1977 of the Revised Statutes, 42 U.S.C. Section 1981 as amended guarantees all

        persons the same right to make and enforce contracts as non-African-Americans. The term

        “make and enforce” contracts includes the making, performance, modification, and termination

        of contracts, and the enjoyment of all benefits, privileges, terms, and conditions of contractual

        relationship.




        36. The gate agents for Frontier Airlines Flight #720 on September 4, 2013, were at all relevant

        times, agents and/or employees of Defendant Frontier Airlines, Inc.




        37. Defendant is liable for the unlawful acts of its agents and employees directly and/or under

        the doctrine of respondeat superior.




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        38. Defendants engaged in intentional discrimination based on Mrs. Swift’s perceived race,

        color, ethnicity, and/or origin, in singling her out and making her paying for her carry-on a

        condition of her boarding the airplane even though others who were all white, were not asked to

        pay including Plaintiff’s own husband, and even though Plaintiff had been issued a boarding pass

        and told she was OK for boarding just like the rest of the passengers on same flight #720 on

        September 4, 2013. In so doing, Defendants discriminated against Plaintiff in the making and

        enforcement of her contract with Frontier Airlines, her prepaid ticket to travel on Frontier Airline

        Flight #720 on September 4, 2013. Consequently, Defendants’ unlawful actions have caused

        Plaintiff to suffer deprivation of her right to make and enforce contracts as enjoyed by white

        citizens under 42 U.S.C. § 1981.




        39. Defendants’ actions were intentional, malicious, willful, wanton, and showed a callous,

        reckless disregard for Plaintiff’s civil rights, and have directly and proximately caused Plaintiff

        financial injury and humiliation, degradation, mental anguish, pain, and suffering.




            COUNT II: TITLE VI OF THE CIVIL RIGHTS ACT OF 1964 (42 U.S.C. § 2000D)
                Discrimination by Recipient of Federal Financial Assistance/Funding



        40. Plaintiff re-alleges paragraphs 1 through 39 and incorporates them by reference as though

        fully stated herein as part of Count II of this Complaint.




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        41. Defendant Frontier Airlines is a recipient of federal financial assistance, and so, is covered

        by Title VI of the Civil Rights Act of 1964 (42 U.S.C. § 2000D). Title VI and its implementing

        regulations prohibit recipients of federal assistance and monies from discriminating on the basis

        of, among other things, race, color, or national origin. Plaintiff is a black African and Defendants

        discriminated against her because of her race, color and national origin. Defendants’ actions in

        treating Plaintiff, who is black, so brazenly different from other passengers on flight #720, who

        were all white, including her own husband, on the basis of Plaintiff’s perceived race, color,

        and/or national origin, constitute discrimination against Plaintiff in violation of Title VI and its

        implementing regulations.




        42. Defendants’ actions were intentional, malicious, willful, wanton, and showed a callous,

        reckless disregard for Plaintiff’s civil rights, and have directly and proximately caused Plaintiff

        financial injury and humiliation, degradation, mental anguish, pain, and suffering.




                                    COUNT III: BREACH OF CONTRACT

        43. Plaintiff re-alleges paragraphs 1 through 42 and incorporates them by reference as though

        fully stated herein as part of Count II of this Complaint.




        44. Mrs. Swift had a contract with Frontier Airlines when she purchased her ticket and paid for

        it in full, and complied with all the terms of her ticket, that she and her husband bought through a

        third party travel agent, in August and at all times during their flights in August/September, with

        same ticket. On the other hand, Frontier materially breached its contract of carriage as it applied

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        to passengers like Mrs. Swift, who purchased an “Economy” ticket as opposed to “Basic” Ticket.

        The breach (charging a passenger when they are not supposed to, that as a result caused

        Frontier’s agent to unlawfully detain and prevent Mrs. Swift from boarding the plane), is a

        substantial failure to perform a term that is an essential element of Mrs. Swift’s contract with

        Frontier, to transport Mrs. Swift from Bozeman airport to Reagan National airport, without

        violating Mrs. Swift’s legal rights in the process. Frontier’s breach caused Mrs. Swift substantial

        harm. Mrs. Swift was falsely imprisoned by Jane Doe – unjustified loss of freedom and liberty to

        board the plane after having prepaid for her flight, and Defendant breached its own contract Rule

        35 – Refusal to Transport, when its agent refused Mrs. Swift transportation unless she paid

        $25.00, which Frontier had no right to charge Mrs. Swift for. Mrs. Swift reasonably expected she

        would be allowed to fly as a fully paid valid ticket holder when she purchased her ticket. Mrs.

        Swift suffered substantial harm because Frontier’s agent defamed as a result of her actions, even

        though they were in breach of Frontier’s policies. Mrs. Swift suffered serious emotional distress

        as highlighted above. The cumulative effect of nonmaterial breaches may be material. As a result

        of its breach of its contract of carriage with Mrs. Swift, Frontier is liable to Mrs. Swift, for

        Consequential and Compensatory damages.




        45. Mrs. Swift later discovered after filing her initial Complaint, that Defendants breached their

        own “Contract of Carriage,” when they charged Mrs. Swift for her carry-on, because, according

        to their own policy, only passengers who purchased a “Basic” ticket through third parties, were

        required to pay for their carry-on – economy ticket holders were allowed to board free with their

        carry-ons. Although Mrs. Swift and her husband purchased their ticket from a third party, their

        ticket, was “Economy” and not “Basic.” Also, according to Defendant’s own policy, as posted on

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        their own website, carry-on fees for “Economy” ticket holders came into effect on April 28, 2014

        and Mrs. Swift and her husband bought their ticket and travelled in August/September, 2013.

        Hence, Mrs. Swift was not required to pay for her carry-on and Defendants had no right or

        justification to charge her any fees for her carry-on, in the first place. See Attached Exhibits A-

        H. Defendants also, breached their own policy and “Contract of Carriage” Rule 35 – Refusal to

        Transport, when Jane Doe, unlawfully, without just cause detained, and refused to allow Mrs.

        Swift to board the plane, and in fact, restricted her ability and freedom to board the plane against

        her will and her rights, without just cause or justifiable reason. See Attached Exhibit I.




                                             PRAYER FOR RELIEF


        WHEREFORE, Plaintiff requests that this Court:

        (a) Declare that the actions of Defendant described above constituted discrimination on the basis

        of race, color, ethnicity, alienage, ancestry, and/or national origin in violation of 42 U.S.C. §

        1981, 42 U.S.C. § 2000D;

        (b) Enter a permanent injunction directing Defendant and its management, officers, agents, and

        employees to take all affirmative steps necessary to remedy the effects of the illegal,

        discriminatory conduct described herein and to prevent similar occurrences in the future;

        (c) Award Plaintiff compensatory damages in an amount to be determined at trial for Plaintiff’s

        loss and injury including, but not limited to, economic loss, shock, humiliation, embarrassment,

        emotional distress, and a deprivation of Plaintiff’s right to make and enforce contracts, to travel




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        as a passenger in air transportation and enjoy such rights as white people regardless of her race,

        color, ethnicity, alienage, ancestry, or national origin;

        (d) Award Plaintiff exemplary and punitive damages in an amount to be determined at trial that

        would punish Defendant for its willful, wanton, and reckless conduct and that would effectively

        deter Defendant from engaging in similar conduct in the future;

        (e) Order Defendant to cease and desist from all future discrimination or retaliation against

        Plaintiff;

        (f) Award Plaintiff prejudgment interest;

        (g) Award reasonable costs incurred in this action; and

        (h) Award such other relief as the Court deems appropriate and just.




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        TRIAL BY JURY IS DEMANDED ON ALL ISSUES TRIABLE BY JURY
        Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury of all issues that can be tried
        by jury.


        Respectfully submitted this 14th day of January, 2015.




                                       /s/ Stephen Christopher Swift
                                       Stephen Christopher Swift
                                       Virginia State Bar ID No. 38419
                                      Swift & Swift, Attorneys at Law, P.L.L.C.
                                      21 Eisenhower Avenue, Suite 200
                                      Alexandria, Virginia 22314-4688
                                      Telephone: (703) 418 – 0000
                                      Facsimile: (703) 535 – 8205
                                      E-mail: steve@swift.law.pro

                                       Attorney for Plaintiff
                                       Charity Chidinma Emeronye Swift




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                                        CERTIFICATE OF SERVICE


               I hereby certify that on January 14, 2015, I electronically filed the foregoing and attached

        Documents with the Clerk of Court, using the Court’s CM/ECF system, which will automatically

        cause all counsel of record to be served therewith.



                                                                     /s/ Stephen Christopher Swift
                                                                     Stephen Christopher Swift




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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                       ALEXANDRIA DIVISION

                                                          |
        CHARITY CHIDINMA                                  |
        EMERONYE SWIFT,                                   |
                                                          |
                       Plaintiff,                         |   Civil Action No. 1:14-CV-1139
                                                          |
               v.                                         |   Hon. Judge Anthony J. Trenga
                                                          |   Hon. Magistrate Judge Ivan D. Davis
        FRONTIER AIRLINES, INC. (a Colorado               |
        corporation), and JANE DOE,                       |
                                                          |
                       Defendants.                        |
                                                          |

                       FRONTIER AIRLINES, INC.’S MOTION TO ENFORCE
                     THE SETTLEMENT AGREEMENT AND FOR OTHER RELIEF

               Defendant Frontier Airlines, Inc. (“Frontier”), by counsel and pursuant to Federal Rule of

        Civil Procedure 41(b) and Local Rule 7(e), moves this Court to enforce the Settlement

        Agreement reached between the parties, dismiss the case in its entirety and with prejudice, and

        award to Frontier all costs and fees incurred in bringing this motion.

               Plaintiff and Frontier reached a complete settlement agreement regarding this litigation.

        The terms and conditions of that agreement are not disputed and can be determined by this

        Court. For the reasons more fully set forth in the accompanying memorandum of law, Frontier’s

        Motion to Enforce the Settlement is warranted.

        Dated: January 26, 2015                       Respectfully submitted,



                                                      /s/    ____          ___________
                                                      Sarah E. Moffett (VA Bar No. 72208)
                                                      LECLAIRRYAN, A PROFESSIONAL CORPORATION



                                                                                                   121
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                                                    2318 Mill Road, Suite 1100
                                                    Alexandria, Virginia 22314
                                                    Telephone: (703) 647-5930
                                                    Facsimile: (703) 647-5980
                                                    Email: sarah.moffett@leclairryan.com

                                                    - and –

                                                    Paula L. Wegman (admitted pro hac vice)
                                                    Steven L. Boldt (admitted pro hac vice)
                                                    ADLER MURPHY & MCQUILLEN LLP
                                                    20 South Clark Street, Suite 2500
                                                    Chicago, Illinois 60603
                                                    Telephone: (312) 345-0700
                                                    Facsimile: (312) 345-9860
                                                    Email: sboldt@amm-law.com
                                                    Email: pwegman@amm-law.com

                                                    Attorneys for Frontier Airlines, Inc.




                                         CERTIFICATE OF SERVICE

               I hereby certify that, on January 26, 2015, I served the following via U.S. Mail, postage

        prepaid, and via electronic case filing:

               Stephen Swift, Esq.
               Swift & Swift, Attorneys at Law, P.L.L.C.
               21 Eisenhower Avenue
               Suite 200
               Alexandria, VA 22314


                                                    /s/_________________
                                                    Sarah E. Moffett




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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                       ALEXANDRIA DIVISION

                                                        |
        CHARITY CHIDINMA                                |
        EMERONYE SWIFT,                                 |
                                                        |
                      Plaintiff,                        |   Civil Action No. 1:14-CV-1139
                                                        |
               v.                                       |   Hon. Judge Anthony J. Trenga
                                                        |   Hon. Magistrate Judge Ivan D. Davis
        FRONTIER AIRLINES, INC. (a Colorado             |
        corporation), and JANE DOE,                     |
                                                        |
                      Defendants.                       |
                                                        |

           FRONTIER AIRLINES, INC.’S MEMORANDUM OF LAW IN SUPPORT OF ITS
           MOTION TO ENFORCE THE SETTLEMENT AGREEMENT AND FOR OTHER
                                       RELIEF

               Defendant Frontier Airlines, Inc. (“Frontier”), pursuant to Federal Rule of Civil

        Procedure 41(b) and Local Rule 7(e), submits this memorandum of law in support of its Motion

        to Enforce the Settlement Agreement and for Other Relief.

                                          I.      INTRODUCTION

               This case arises out of a $25.00 baggage fee Plaintiff Charity Chidinma Emeronye Swift

        (“Plaintiff”) claims she was wrongfully charged due to her race and/or national origin by a gate

        agent employed by Frontier.     On September 4, 2014, Plaintiff filed the present complaint,

        alleging discrimination under 42 U.S.C. § 1981 and Title VI of the Civil Rights Act of 1964, 42

        U.S.C. § 2000d, as well as claims for defamation and intentional inflection of emotional distress

        (“IIED”) under Virginia law. (Dkt. 1.) Upon Frontier’s Motion to Dismiss (Dkt. 10), this Court

        dismissed Plaintiff’s claims for Defamation and IIED on December 31, 2014.            (Dkt. 38.)




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        Thereafter, Plaintiff’s complaint was amended to add a count for breach of contract. (Dkt. 43,

        45.)

                On January 9, 2015, the parties reached a mutual agreement to settle all of Plaintiff’s

        claims against Frontier in exchange for a certain monetary settlement amount1 and

        confidentiality.      Plaintiff now seeks to improperly disavow the Settlement Agreement.

        Accordingly, Frontier requests that this Court enforce the Settlement Agreement, dismiss

        Plaintiff’s Complaint with prejudice, and award Frontier its costs and fees incurred in filing the

        instant Motion.

                                            II.      STATEMENT OF FACTS

        THE PARTIES’ SETTLEMENT AGREEMENT

                On January 9, 2015, the parties appeared before Magistrate Judge Ivan D. Davis for

        hearing on Plaintiff’s Motion for Leave to Amend the Complaint. (Dkt. 42.) After the hearing,

        counsel for the parties, as well as Plaintiff herself, agreed to sit down and discuss the case and

        the potential for resolution. (Ex. A, Wegman Decl., ¶3.) Plaintiff, Charity Swift, her

        counsel/husband Stephen Swift and counsel for Frontier, Paula Wegman and Sarah Moffett,

        walked together to the LeClairRyan law firm, located across the street from the courthouse,

        where a private conference room was available. Id. at ¶4. All the lawyers, as well as Plaintiff

        (who is also a lawyer) sat together in that conference room to discuss the case. Id. at ¶5. After

        some preliminary discussions, attorney Moffett excused herself from the meeting to attend to

        another matter. Id. at ¶6. Plaintiff’s counsel, Plaintiff and Frontier attorney Wegman continued


        1
          The monetary settlement amount agreed upon was subject to confidentiality, and, as such, is redacted from this and
        the supporting materials, all of which are filed electronically and now publicly available.

                                                                 2


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        their discussions regarding the case, including their respective positions and the potential for

        resolution for approximately two hours. Id. at ¶7.

                   Near the end of those two hours, Plaintiff and her counsel provided a settlement demand.

        Specifically, they advised Attorney Wegman that Plaintiff would dismiss her claims against

        Frontier in their entirety in exchange for a certain monetary figure. Id. at ¶8. Attorney Wegman

        asked Plaintiff and her counsel whether they would be willing to wait while she contacted her

        client with respect to their demand and they agreed. Id. at ¶9. Attorney Wegman temporarily

        excused herself from the meeting to make the necessary phone calls. Id. at ¶9. Approximately

        10 minutes later, Attorney Wegman returned to the conference room and advised Plaintiff and

        her counsel that Frontier would agree to pay the monetary amount demanded in exchange for a

        complete dismissal of Plaintiff’s claims against Frontier and confidentiality as to the agreement.

        Id. at ¶10. Plaintiff and her counsel agreed. Id. at ¶10. Attorney Wegman shook hands with

        Plaintiff and her counsel in consummation of the Agreement, thanked them for their time and

        cooperation and advised that a written Settlement Agreement would be provided early the next

        week. Id. at ¶11.

                   Within an hour of reaching the Settlement Agreement, Attorney Wegman sent Plaintiff’s

        counsel an e-mail confirming the Settlement Agreement which stated as follows:

                   Dear Mr. Swift, please let this confirm that plaintiff, Ms. Charity Swift, has
                   agreed to release and dismiss all her claims against Frontier, as more fully set
                   forth in her complaint, in exchange for $2. The settlement terms include
                   confidentiality. We will forward a Release and Settlement agreement to you early
                   next week.



        2
            The monetary settlement figure has been redacted.

                                                                3


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               My thanks to both you and Charity for your time today. It was a pleasure meeting
               you both in person. Have a good weekend.

               Paula Wegman

        (Id. at ¶12, Ex. A - Wegman email dated January 9.)

               Plaintiff did not dispute, question or object to that confirmation of the Settlement

        Agreement and its terms. Id. at ¶12. On Monday, January 12, Frontier’s counsel sent a written

        Full Release and Settlement Agreement, reflecting the terms mutually agreed upon, to Plaintiff’s

        counsel via e-mail. (Id. at ¶13, Wegman email dated January 12.)

               The next day, Plaintiff’s counsel responded to the e-mail from Frontier’s counsel

        forwarding the Full Release and Settlement Agreement. (Id. at ¶14.) Plaintiff’s counsel did not

        dispute, contest or object to any of the terms contained in the Full Release and Settlement

        Agreement. Id. The only modification requested by Plaintiff’s counsel was the addition of a

        signature line for Frontier. Id. Specifically, Plaintiff’s counsel requested as follows:

               Could you please add a line for a Frontier Airlines, Inc. officer/agent who has a
               binding authority to sign? We were hoping that your client will sign their part
               and send it to us for Charity to sign. As soon as we receive this, we will do our
               part and return it to you.

        (Id., Exhibit C – Swift email dated January 13.)

               Frontier was amenable to this addition, added a signature line as requested and obtained

        the necessary signature. (Wegman Decl., ¶15.) The next day, January 14, Plaintiff’s counsel

        sent another email, claiming that he “now had the time to fully and properly evaluate” the case

        and that he has “advised his client that she should not go ahead with the agreement at this time,

        because the settlement is not fair and not in her best interest, and she has accepted my advice.”

        (Wegman Decl., ¶16, Exhibit D – Swift email dated January 14.)

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                 Counsel for Frontier subsequently forwarded the Full Release and Settlement Agreement,

        which had been signed by an authorized Frontier agent, and asked that Plaintiff and her counsel

        comply with the Agreement, and counsel’s explicit promise, namely, to obtain Plaintiff’s

        signature and return it to Frontier’s counsel upon receipt of same. (Wegman Decl., ¶17, Exhibit

        E – Wegman email dated January 16.) Undersigned counsel further advised that if Plaintiff

        refused to comply with the Settlement Agreement, Frontier would be forced to file a Motion to

        Enforce the Settlement and seeks its attorneys’ fees and costs for doing so. (Id.) Plaintiff’s

        counsel did not respond to this correspondence.3

                 To date, Plaintiff has refused to sign the Agreement. Counsel for Frontier has spoken

        with Plaintiff’s counsel on the telephone twice subsequent to the January 16 email. During those

        teleconferences, Frontier’s counsel specifically asked Plaintiff’s counsel the basis for the attempt

        to renege, and attempted to resolve this matter in accordance with Local Rule 7(e).                   Plaintiff’s

        counsel stated that the Settlement Agreement is not effective because Plaintiff did not sign it and

        indicated that, instead, they are willing to entertain “another settlement offer” from Frontier for a

        monetary amount higher to which they previously agreed. (Exhibit E, Wegman Decl., ¶18.)

                                                     III.     ARGUMENT

        ENFORCEMENT OF THE SETTLEMENT AGREEMENT AGAINST PLAINTIFF IS
        REQUIRED BECAUSE A BINDING AND ENFORCEABLE AGREEMENT WAS
        REACHED BETWEEN THE PARTIES.

                 District courts have, pursuant to federal law, the inherent authority, to enforce settlement

        agreements. Millner v. Nortolk & w. Ry. Co., 643 F.2d 1005, 1009 (4th Cir. 1981). “If an

        3
         Instead, on January 20, 2015, Plaintiff filed untimely objections, which she concedes were due on January 5, 2015
        (Dkt. 47, Memo, p. 2.), and responses to Frontier’s first set of discovery requests. This matter is being separately
        addressed with the Court. (Dkt. 46 – 47.)

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        agreement for complete settlement of the underlying litigation, or part of it, has been reached and

        its terms and conditions can be determined, the court may enforce the agreement summarily as

        long as the excuse for non-performance of the agreement is ‘comparatively insubstantial.’”

        Hensley v. Alcon Laboratories, Inc. 277 F.3d 535 (4th Cir. 2002), citing Millner, 643 F.2d at

        1009. “Having second thoughts about the results of a valid settlement agreement does not justify

        setting aside an otherwise valid agreement, and the fact that the agreement is not in writing does

        not render it unenforceable.” Id., citing Young v. FDIC, 103 F.3d 1180, 1195 (4th Cir. 1997) and

        Alexander v. Industries of the Blind, Inc., 901 F.2d 40, 41 (4th Cir. 1990); Petty v. Timken Corp.,

        849 F.2d 130, 133 (4th Cir. 1988)(enforcing an oral settlement in a Title VII case). In order to

        enforce a settlement agreement, a district court must: (1) find that the parties reached a complete

        agreement, and (2) must be able to determine its terms and conditions. Hensley at 541; Moore v.

        Beaufort County, 936 F.2d 159, 162 (4th Cir. 1991).

               The requirements needed to enforce the Settlement Agreement reached between the

        parties here have been met. The Wegman Declaration, and the exhibits thereto, demonstrate that

        a complete Settlement Agreement had been reached between Plaintiff and Frontier. Plaintiff

        agreed to release and dismiss all her claims against Frontier, as set forth in her complaint, in

        exchange for the monetary amount demanded and confidentiality. (Wegman Decl., ¶10.) The

        Settlement Agreement was confirmed in writing by Frontier. (Wegman Decl., ¶12.) Plaintiff did

        not question or contest the confirmation of the Settlement Agreement. Id. A written Full

        Release and Settlement Agreement was provided to Plaintiff. (Wegman Decl., ¶13.) Plaintiff

        did not question or contest the written Settlement Agreement or any of its terms. (Wegman

        Decl., ¶14.) Rather, the single modification requested by Plaintiff was the addition of a signature

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        line for Frontier, to which counsel for Frontier agreed. (Wegman Decl., ¶14, 15.) Indeed, the

        fact that a complete Settlement Agreement had been reached is conceded in Plaintiff’s counsel’s

        subsequent correspondence (attempting to renege) which specifically states that “I have advised

        my client that she should not go ahead with the agreement at this time.” (Wegman Decl., ¶16,

        Exhibit D.)

               Nor is there any question regarding the settlement terms and conditions that were agreed

        upon. As set forth above, the terms were confirmed in writing and not contested. Those terms

        were captured in a written Confidential Full Release and Settlement Agreement, which was

        provided to Plaintiff. Indeed, Plaintiff’s counsel reviewed the written Confidential Full Release

        and Settlement Agreement, did not contest any of its terms and explicitly agreed that upon

        receipt of such document signed by Frontier, counsel and Plaintiff “will do our part and return it

        to you” with Plaintiff’s signature. (Wegman Decl., ¶14, Exhibit C.) Plaintiff is in possession of

        that exact agreement containing Frontier’s signature and now apparently has had second thoughts

        and refuses to sign. (Wegman Decl., ¶17, 18.) As noted by the Fourth Circuit in Young,

        “having second thoughts about the results of a valid settlement agreement does not justify setting

        aside an otherwise valid agreement.” Young, 103 F.3d at 1195.      A complete Settlement

        Agreement was reached, the terms and conditions of that agreement are clear, and the settlement

        should be enforced. Plaintiff cannot renege on the agreement simply because she now wants

        more money.

                                             III.   CONCLUSION

               WHEREFORE, Defendant Frontier Airlines, Inc. respectfully moves for entry of an

        Order compelling Plaintiff to comply with the parties’ Settlement Agreement, dismiss the case in

                                                         7


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        its entirety and with prejudice, and, given Plaintiff’s unmerited refusal to comply with the

        Settlement Agreement, assess against Plaintiff all costs and fees incurred by Frontier in bringing

        this Motion.

        Dated: January 26, 2015                      Respectfully submitted,



                                                     /s/    ____           ___________
                                                     Sarah E. Moffett (VA Bar No. 72208)
                                                     LECLAIRRYAN, A PROFESSIONAL CORPORATION
                                                     2318 Mill Road, Suite 1100
                                                     Alexandria, Virginia 22314
                                                     Telephone: (703) 647-5930
                                                     Facsimile: (703) 647-5980
                                                     Email: sarah.moffett@leclairryan.com

                                                     - and –

                                                     Paula L. Wegman (pro hac vice pending)
                                                     Steven L. Boldt (admitted pro hac vice)
                                                     ADLER MURPHY & MCQUILLEN LLP
                                                     20 South Clark Street, Suite 2500
                                                     Chicago, Illinois 60603
                                                     Telephone: (312) 345-0700
                                                     Facsimile: (312) 345-9860
                                                     Email: sboldt@amm-law.com
                                                     Email: pwegman@amm-law.com

                                                     Attorneys for Frontier Airlines, Inc.




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                                         CERTIFICATE OF SERVICE

               I hereby certify that, on January 26, 2015, I served the following via U.S. Mail, postage

        prepaid, and via electronic case filing:

               Stephen Swift, Esq.
               Swift & Swift, Attorneys at Law, P.L.L.C.
               21 Eisenhower Avenue
               Suite 200
               Alexandria, VA 22314


                                                    /s/_________________
                                                    Sarah E. Moffett




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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Alexandria Division

        ____________________________________
                                            |
        CHARITY CHIDINMA                    |
        EMERONYE SWIFT,                     |
                                            |
                     Plaintiff,             |                 Civil Action No. 1:14-cv-1139
                                            |
               v.                           |                 Hon. Anthony J. Trenga
                                            |                 Hon. Magistrate Judge Ivan D. Davis
        FRONTIER AIRLINES, INC.             |
        (a Colorado corporation),           |
        and JANE DOE,                       |
                                            |
                     Defendants.            |
        ____________________________________|

                                PLAINTIFF’S OPPOSITION TO
                        FRONTIER AIRLINES, INC.’ MOTION TO ENFORCE
                     THE SETTLEMENT AGREEMENT AND FOR OTHER RELIEF

               Plaintiff Charity Chidinma Emeronye Swift (“Mrs. Swift”), through her undersigned

        attorney, opposes Defendant Frontier Airlines, Inc.’s motion to enforce an alleged “settlement

        agreement”. The facts are given in the attached Affidavit of Charity C. Emeronye Swift.

               I. THIS COURT DOES NOT HAVE JURISDICTION.

               The United States District Court does not have jurisdiction over the subject matter of the

        motion herein opposed, because it is a breach of contract action that is governed by state law,

        over which only state courts have jurisdiction, except in cases arising under the federal courts

        diversity jurisdiction, or where the federal courts have ancillary jurisdiction. (The present case

        arises only under a federal questions, not under diversity.) The federal courts have ancillary

        jurisdiction over an action to enforce a settlement agreement only when a court order has


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        incorporated the settlement agreement. “[W]e think the court is authorized to embody the

        settlement contract in its dismissal order (or, what has the same effect, retain jurisdiction over

        the settlement contract) if the parties agree. Absent such action, however, enforcement of the

        settlement agreement is for state courts, unless there is some independent basis for federal

        jurisdiction.” Kokkonen v. Guardian Life Insurance Company of America, 511 U.S. 375, 114

        S.Ct. 1673, 128 L.Ed.2d 391 (1994). See In re Phar-Mor, Inc. Securities Litigation, 172 F.3d

        270 (3rd Cir., 1999). In Trans States Airlines, Inc. v. Commonwealth Aviation Service, Inc.

        (unpublished Memorandum Opinion in the U.S. District Court for the Eastern District of

        Virginia, Richmond Division, Case 3:08-cv-00112-JRS, Document 97, attached as Exhibit A),

        the Court said:

                       The subject matter jurisdiction of a court to enforce a settlement
               agreement was determined by the Supreme Court in Kokkonen v. Guardian Life
               Ins. Co. of Am., 511 U.S. 375 (1994). The Court determined that the court may
               employ ancillary jurisdiction to enforce a settlement agreement for two reasons:
               "(1) to permit disposition by a single court of claims that are, in varying respects
               and degrees, factually interdependent, ... and (2) to enable a court to function
               successfully, that is to manage its proceedings, vindicate its authority, and
               effectuate its decrees." Id. at 379-80. As to the first prong, the Court in Kokkonen
               found no jurisdiction existed because the claim that brought the original action to
               court was breach of agency, and the enforcement action was a breach of contract
               claim-two distinct actions. Id. at 380. For the second prong, the Court stated that
               had the parties' obligation to comply with the settlement agreement been made
               part of the Order, then breach of the agreement would be a violation of the Order
               and the Court would have ancillary jurisdiction to effectuate its decree. rd.
               However, in Kokkonen, the settlement agreement was in no way incorporated into
               the Court's Order, and the Court did not specifically retain jurisdiction over the
               case within the Order, therefore ancillary jurisdiction was not proper. Id.at
               381-82.

                       The Fourth Circuit employed the Kokkonen rationale in Smyth v. Rivero
               by requiring that "the obligation to comply with a settlement's terms must be
               expressly made part of a court's order for jurisdiction to enforce the settlement
               after dismissal of the action to exist." 282 F.3d 268,283 (4th Cir. 2002). The
               Fourth Circuit stated that this rule is "adhered to strictly," id. at 283 (quoting In re

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               Phar-Mor. Inc. Sec. Litig., 172 F.3d 270, 273 (3d Cir. 1999», and requires that in
               order to retain jurisdiction, the court must "give a clear indication that it is
               incorporating the terms of the agreement into that order or retaining jurisdiction"
               in order to have jurisdiction over an enforcement action. l&L; see also
               Columbus-America Discovery Group v. Atl. Mut. Ins. Co., 203 F.3d 291,299 (4th
               Cir. 2000) (holding that the provision included in the Order stating" [tlhe Court
               retains jurisdiction to enforce the settlement of the parties and the prior Orders in
               this case" satisfied the Kokkonen requirement to maintain jurisdiction). In Smvth,
               the Court held that the mention of the settlement agreement in the Order did not
               require the parties to comply with the terms of the agreement and therefore the
               settlement agreement was not incorporated into the Order.

               In the present case, the court has not even had any knowledge of the alleged settlement

        agreement before the opposed motion was filed. “Generally, a district court may not enforce a

        Settlement Agreement unless ‘the agreement has been approved and incorporated into an order

        of the court, or, at the time the court is requested to enforce the agreement, there exists some

        independent ground upon which to base federal jurisdiction.” Columbus-Am. Discovery Group

        v. Atlantic Mutual Ins. Co., 203 F.3d 291, 299 (4th Cir., 1999).

               II. PLAINTIFF HAS THE RIGHT TO HAVE
               THIS MATTER DECIDED BY A JURY.

               Assuming arguendo that the U.S. District Court has jurisdiction, a proper demand for

        jury trial has been made (by both sides), and there is a disputed issue of material fact as to

        whether or not there is a settlement agreement, so the Plaintiff is entitled to have the issue

        decided by a jury, rather than by the court in summary judgement or the equivalent. As the court

        stated in Millner v. Norfolk & Western Railway Company, 643 F.2d 1005, 1010 (4th Cir., 1981):

               [Plaintiff] had made timely demand for jury trial in his complaint, making no
               specification of the issues to which his demand ran. Under these circumstances,
               he is “deemed to have demanded trial by jury for all the issues so triable,” . . . and
               this demand extends even to issues raised by the opposing party . . . . [Plaintiff’s]
               demand must therefore be treated as running to all issues, including the issue of
               enforcement of the settlement agreement. (Citations omitted.)


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               Young v. F.D.I.C., 103 F.3d 1180 (4th Cir. 1997), cited in Frontier Airlines’

        Memorandum, is distinguishable, because in that case there was “no doubt as to the existence of

        a settlement agreement . . . .” Id. at 1194. Alexander v. Industries of the Blind, Inc., 901 F.2d

        40, 41 (4th Cir. 1990), cited in Frontier Airlines’ Memorandum, held that there must be a

        “plenary evidentiary hearing” on the issue of whether or not there was an oral settlement

        agreement, but did not address the right to trial by jury. In Petty v. Timken Corp., 849 F.2d 130

        (4th Cir., 1988), cited in Frontier Airlines’ Memorandum, the Plaintiff’s attorney confirmed in

        court the existence of an oral settlement agreement reached at a pre-trial conference in the judges

        chambers. By contrast, in the present case there was no court involvement in the alleged

        settlement agreement.

               III. THERE IS NO LEGALLY BINDING SETTLEMENT AGREEMENT.

               Assuming arguendo that the court can decide the matter without a jury, the court should

        find that there was no contract for a settlement agreement, because there was no meeting of the

        minds between Mrs. Swift and Frontier Airlines, nor any complete settlement agreement. A

        settlement agreement is enforceable only if it is a complete settlement of all disputed issues

        between the parties. After the meeting between Mrs. Swift, her counsel and counsel for Frontier

        Airlines on Friday, January 9, 2015, the “Confidential Full Release and Settlement Agreement”

        that counsel for Frontier Airlines e-mailed on Monday, January 12, 2015 added provisions that

        they had not discussed in the meeting, including a long list of parties to be released from all

        liability. Even if Mrs. Swift’s counsel’s e-mailed request on the night of Tuesday, January 13,

        2015 to add a signature line for Frontier Airlines was an offer to make a contract, the offer was

        revoked the next morning on Wednesday, January 14, 2015 by her counsel’s e-mail, before it


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        was “accepted” by Frontier Airlines’ counsel’s e-mail of Friday, January 16, 2015 adding

        counsel’s signature, so no contract was formed. Furthermore, the signature of counsel for

        Frontier Airlines, rather than that of a corporate officer, was not the requisite signature, and as

        such was inadequate.

               “Because exercise of the authority to enforce settlement agreements depends on the

        parties’ agreement to a complete settlement, the court cannot enforce a settlement until it

        concludes that a complete agreement has been reached and determines the terms and conditions

        of that agreement.” Hensley v. Alcon Laboratories, 277 F.3d 535, 540 (4th Cir., 2001). In Moore

        v. Beaufort County, N.C., 936 F.2d 159 (4th Cir., 1991), cited in Frontier Airlines’

        Memorandum, the court found that there was a complete settlement agreement, where the

        Plaintiffs’ attorney signed a document drafted by the Defendants’ attorney. In the present case,

        no one has signed a document drafted by the other side.

               IV. IT IS IMPOSSIBLE TO CARRY OUT THE ALLEGED SETTLEMENT
                            AGREEMENT ACCORDING TO ITS TERMS.

               Assuming arguendo that there was a contract, paragraph H of the “Confidential Full

        Release and Settlement Agreement” provides, “Releasor and the Released Parties further agree

        that this Confidential Full Release and Settlement Agreement shall be confidential and that they

        will not disclose the content of any terms of this Confidential Full Release and Settlement

        Agreement to anyone except as necessary for tax reporting purposes or as otherwise required by

        law.” (Emphasis added.) Thus, it is not merely the redacted dollar amount that was supposed to

        be kept confidential, but the entire agreement. By not redacting any other terms, and filing it and

        publishing it on PACER for all the world to see (not under seal, and with no protective order in

        place), Frontier Airlines has made the agreement impossible to carry out.

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               V. BY ITS TERMS, THE ALLEGED SETTLEMENT AGREEMENT IS
               INVALID IF IT IS NOT SIGNED VOLUNTARILY.

               The “Confidential Full Release and Settlement Agreement” by its own terms implies that

        it will not be an enforceable contract until Mrs. Swift signs it. The last line before the date and

        signatures states in bold type, “CAUTION! READ BEFORE SIGNING.” The second

        sentence of Paragraph F states, “Releasor attests that she has read and understands the content

        and legal effect of this Confidential Full Release and Settlement Agreement and has freely

        executed it.” (Emphasis added.) The statement to be signed by a Notary Public states that Mrs.

        Swift, “. . . acknowledged that she signed, sealed and delivered the said instrument as her free

        and voluntary acts . . . .” If the Court orders her to sign this document, it will be ordering her to

        commit perjury, contrary to public policy.

                                     VI. ATTORNEYS FEES AND COSTS

               While the “American Rule” provides that each party should generally bear its own costs

        (Smyth ex rel. Smyth v. Rivero, 282 F.3d 268, 274 (4th Cir., 2002)), the Court has the inherent

        power to impose sanctions for bad faith. Chambers v. Nasco, Inc., 501 U.S. 32, 111 S.Ct. 2123,

        115 L.Ed.2d 27 (1991). “[U]nder its inherent powers, the district court has authority to shift

        attorneys fees, but again only in the extraordinary circumstances where bad faith or abuse can

        form a basis for doing so.” Hensley v. Alcon Laboratories, 277 F.3d 535, 540 (4th Cir., 2001).

        There are such extraordinary circumstances in the present case, for instance, counsel for Frontier

        Airlines knew that Mrs. Swift was overwhelmed emotionally, but unreasonably pushed forward

        for an agreement that Plaintiff would not agreed to but for her emotional state that she was in

        during the discussion, and is now trying to enforce that alleged agreement, despite its own

        requirement that it be freely signed.

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                                                 CONCLUSION

               Mrs. Swift respectfully requests the court to enter an Order denying the opposed motion,

        because the court does not have jurisdiction, should not decide the matter without a jury, there

        has been no meeting of the minds required for a valid settlement agreement, it is impossible to

        carry out the alleged settlement agreement, and by its terms it cannot be signed involuntarily.

        Plaintiff also asks the Court to assess against Defendant Frontier Airlines, Inc. all costs and fees

        incurred by her in opposing said motion, because it was made in bad faith.

        Dated: February 9, 2015                       Respectfully submitted,


                                                      /s/ Stephen Christopher Swift
                                                      Stephen Christopher Swift
                                                      Virginia State Bar ID No. 38419
                                                      Swift & Swift, Attorneys at Law, P.L.L.C.
                                                      2121 Eisenhower Avenue, Suite 200
                                                      Alexandria, Virginia 22314-4688
                                                      Telephone: (703) 418-0000
                                                      Facsimile: (703) 535-8205
                                                      E-Mail: steve@swift.law.pro

                                                      Attorney for Plaintiff
                                                      Charity Chidinma Emeronye Swift




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                                        CERTIFICATE OF SERVICE


               I hereby certify that, on February 9, 2015, I electronically filed the foregoing and

        attached documents with the Clerk of the Court, using the Court’s CM/ECF system, which will

        automatically cause all counsel of record to be served therewith.



                                                     /s/ Stephen Christopher Swift
                                                     Stephen Christopher Swift




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                                 UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                     ALEXANDRIA DIVISION
        ____________________________________
                                             )
        CHARITY CHIDINMA                     )
        EMERONYE SWIFT,                      )
                                             )
                      Plaintiff,             )
        v.                                   )  Civil Action No. 1:14-cv-1139
                                             )  Hon. Judge Anthony J. Trenga
        FRONTIER AIRLINES, INC.              )  Hon. Magistrate Judge Ivan D. Davis
        (a Colorado Corporation),            )
        and JANE DOE                         )
                                             )
                                             )
                      Defendants.           )
                                             )
        ____________________________________)



                            AFFIDAVIT OF CHARITY C. EMERONYE SWIFT

        COMES NOW, Charity Chidinma Emeronye Swift, and states, under oath, as follows:

        1. I am over the age of eighteen, competent to testify, and under no legal disability and, if called

        and sworn as a witness, would testify to the following facts, which are based upon my own

        personal knowledge, and which I believe to be true and accurate.



        2. I am a lawyer, admitted to practice law in the state of New York, since June 21, 2011.



        3. I am the Plaintiff in the above captioned case, and my husband, Stephen Christopher Swift, is

        presently my attorney.




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        4. Sarah Moffett did not take part in any settlement discussion on January 9, 2015.



        5. At all times during the discussions, my husband and my attorney, Stephen Swift, did not take

        part in any settlement discussions, even though he was present, as he had no authority from me,

        to do so for me, or on my behalf.



        6. On January 9, 2015, both parties, appeared before Magistrate Judge Ivan D. Davis for hearing

        on Plaintiff’s Motion for Leave to amend her Complaint – a motion Defendant opposed. After

        the hearing, and the Judge’s decision partly in favor of Plaintiff, allowing her breach of contract

        count, I informed Paula Wegman (“Ms. Wegman”), counsel for the Defendant that my husband

        and I were leaving unless she still wants to talk to me as she previously indicated to me, during

        our telephone conversation about a week before the hearing (during that telephone conversation,

        she had asked me whether I would “like to talk” then on the phone, or after the hearing, and I

        told her that I would talk to her when I see her after the hearing), she said yes, that she still wants

        to talk to me. I asked if we could sit somewhere in the courthouse but she suggested that we go

        sit down and talk at the offices of the local counsel for Defendant, LeClair Ryan. So, the four of

        us, Ms. Wegman, Sarah Moffett, my husband Stephen Swift and I, went to the law offices of

        LeClair Ryan, which is about a three-to-five-minute walk from the court house.



        7. At LeClair Ryan’s office, the four of us sat in a conference room. Sarah offered us water and

        coffee, and for the best of about fifteen minutes, had some discussions, that did not relate to or

        refer to the case. Sara Moffett asked about the areas of law that I and my husband practiced and

        the state we were licensed to practice. I told her I was licensed to practice in the state of New



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        York. That I worked for a contractor at the Department of Justice for three years on the Savings

        and Loans cases, and that I did Antitrust Law for almost six years as a Legal Consultant, but that

        at present do Employment Law, and General Practice, while my husband told her he is a Patent

        attorney. Sarah then suggested that I should waive into the D.C. Bar or other states to which I

        informed her that it was not that easy for me to do, because I am classified as “foreign educated”

        attorney because I obtained my law degree from the United Kingdom. I explained to her that

        because I did not obtain my law degree from an “ABA approved law school” I cannot waive in

        because the rules are different. After these general discussions over coffee and water, Sarah

        excused herself and left the conference room, leaving the three of us, Ms. Wegman, my husband

        Stephen Swift and me.



        8. After Sarah’s exit from the conference room, the three of us remained there for about another

        hour, making the total time we were there to about one hour and fifteen minutes.



        9. After filing my initial complaint, I received telephone calls and e-mail from Ms. Wegman

        asking if I could call her to discuss my case. When I called her, the first thing she said to me,

        after introducing herself as the attorney for the Defendant, was that when she got my case, she

        immediately thought it was one of those cases that should be settled, and that what was done to

        me was horrible! It was very comforting for me to hear her say those words, I thanked her and

        told her she was a nice person, as I believed she genuinely meant what she said. We even talked

        on a personal level that I told her my sister and her family live in Chicago, that I attended DePaul

        University and that whenever next I visited Chicago, I will contact her and she said sure, that

        will be nice. Because I have been so emotionally impacted by what happened to me on



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        September 4, 2013, in retrospect, I was naively but honestly drawn into taking Ms. Wegman and

        dealing with her as a friend, instead of as an adversary - the attorney for the Defendant, who was

        doing everything and anything possible, to defeat my case all along, albeit in a deceptively

        seemingly friendly way, until it suddenly dawned on me, that she actually was not my friend, at

        the end of our discussion and immediately after I informed her, as part of the discussion, that I

        would also like a written apology from an official from Frontier, to which Ms. Wegman

        furiously shot back at me, in a heightened and remarkably unpleasant and different tone from the

        seemingly friendly tone that she had used throughout the discussion, and told me that no such

        apology was going to be made unless she, herself, apologized to me on behalf of Frontier. I was

        stunned! And I said nothing further.



        10. During the January 9, 2015 discussion, Ms. Wegman spoke for most of the time. She began

        by saying that she wanted to discuss possible settlement and went on to explain to me, where she

        sees Defendant’s position in the case. She also talked about the weakness of my case and cons

        for me, should I decide to take the case to trial.



        11. I explained to Ms. Wegman that I have been emotionally drained by the incident that

        precipitated my action against Frontier, and would like the whole matter to go away if I could,

        because each time I discussed it, as I was doing then, I become so emotional that I wanted to cry.

        I also told her, that I also did not like dragging my husband into the whole matter, and Ms.

        Wegman encouragingly enthused: “think also that you will have to go to Denver, for deposition

        of Defendant’s witnesses and this will cost you time, and money and a lot of hassle.”




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        12. I also explained to Ms. Wegman, during the discussion that the reason I engaged attorney

        Doug Coleman earlier, was to see if he can settle the case as when I attempted to do so and could

        not, when Ms. Wegman called me for the first time and I attempted to do so in an emotional

        state, and that attempt failed. Unfortunately, Mr. Coleman would also fail in his attempt to settle

        the case partly because Frontier believed they had a very strong case to go to trial with, and at

        every opportunity she had, Ms. Wegman continued to tell me how strong Defendant’s case

        against me was.



        13. Ms. Wegman was well aware of the emotional effect the unwarranted treatment from

        Frontier’s agent on September, 4, 2013, had on me, and specifically during the discussions when

        I started reliving the whole episode in my mind, as I tried to retell my story to Ms. Wegman. She

        knew I was not in the required emotional state of mind, to legally effectuate a binding agreement,

        but she pushed forward, for it in a way and in circumstances I believe is indicative of bad faith.



        14. During an attempted telephone settlement discussion, initiated by and with Ms. Wegman,

        immediately after I filed my action and prior to Defendant’s filing their motion to dismiss my

        initial complaint, I had told Ms. Wegman that I would not accept a certain amount, which is

        twice greater than the amount of my counter offer on January 9, 2015, during the discussion and

        part of what Ms. Wegman calls a “valid settlement agreement” between the parties. Also, the

        settlement discussions my former attorney had with Ms. Wegman, I believe during a period close

        to three weeks if not more, failed also, partly because I refused to accept anything less than a

        certain amount (which is also several times more than my counter offer during the discussion and

        part of what Ms. Wegman calls a “valid settlement agreement” between the parties).



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        15. In my emotional state (which I expressed to Ms. Wegman at least three times during the

        discussion including telling her that I was feeling like I would cry, and then apologized for), I

        was so blindsided by emotion, and had no reasonable time or opportunity after Judge Davis’

        decision to reflect on the ramifications of his decision, and weigh it to see how it relates to the

        strength or weakness of my case, as was necessary before entering into any reasonable settlement

        discussions, that in the circumstances, I made a counter offer that was so unfair and unreasonably

        and in no way reflects the reality of the state of the case, and which did not make sense not only

        to me, but also to Ms. Wegman, I believe, who knew, or had reason to know in the

        circumstances, that I would never had made, or agreed to, given my past stand on the settlement

        issue, had I not been so emotionally overwhelmed as I was mentally reliving the experience as I

        retold my story to Ms. Wegman during the discussion, and such that would make it

        unconscionable for any reasonable person in good faith and in the circumstances, to hold such

        decision to be in part or whole, a “valid settlement agreement” between the parties.



        16. I started my part of the discussion, by telling Ms. Wegman that the whole thing is very

        emotional for me. Surely, as I started retelling her what happened to me on the day of the

        incident (as in my complaint), I became emotional and at some point, told her that I am almost

        about to cry, but will try not to, but it was very difficult for me. During the whole discussion, I

        mentioned the fact that I was emotional several times as I truly was. Ms. Wegman knew that I

        was emotional. Several times, I paused to gather myself before continuing, and during those

        times, Ms. Wegman just looked at me and said nothing.




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        17. Throughout the discussion, including when I made a counter offer, I never once thought

        about the Judge’s decision that morning or how it strengthened or weakened my case, because as

        I narrated what happened to me on the day of the incident, to Ms. Wegman my thoughts became

        crowded with overwhelming emotions that prevented me to fully grasp what was going on until

        the angry voice of Ms. Wegman, telling me that no apologies was going to be made by Frontier,

        as I requested as part of the discussions, stunned me, and I quietly and sheepishly said good-bye

        to Ms. Wegman and left with my husband.



        18. During the discussion, Ms. Wegman said that Frontier would not settle for more than a

        certain amount and that the way they see it was to calculate how much it will cost for them to

        make a motion and if it was going to cost them less, they won’t settle for an amount more than

        that, and that litigation is what she does, that she was ready to go to trial if I did not settle.



        19. Ms. Wegman informed me that she had no authority to offer anything up to certain amount

        and did not see how Frontier would go beyond a certain amount. So she offered me an amount to

        which I made a counter offer. The result, I believe, in retrospect, as it seemed to me, was that in

        effect, Ms. Wegman, taking advantage of my emotional state of mind, set for me the perimeter of

        the amount I must ask for, and in my emotional state, and without time to think properly, I made

        a counter offer, that only someone in an emotional funk could have made in the circumstances,

        without any thought or consideration of the strength of my case, whatsoever, in light of the

        Judge’s decision that morning, because I was so emotional at the time of the discussion, and

        taking advantage of that fact, Ms. Wegman immediately and swiftly accepted it, because it fell




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        into the perimeter, it seems to me, Ms. Wegman had predesigned for me as she was clearly

        discussing with me on a very different wavelength as I was with her, in my emotional stupor.



        20. At some point during the discussion, Ms. Wegman asked me how many carry-on’s I and my

        husband had at the time of our flight, i.e. whether we had anything in addition to our carry-ons. I

        told her that I had a small tote bag where I put the newspapers that I was reading and that my

        husband held my cultural head-tie that was in a Macy’s plastic bag that I used for the wedding

        that took us to Montana and our flight on Frontier Airlines. I explained to her that we were

        carrying those items back on the flight the same way we brought them on our flights to

        Bozeman, Montana. To this, Ms. Wegman responded, that the small tote bag I had and my head-

        tie that my husband was carrying, was the reason I was charged for my carry-on. I responded and

        said, that still does not explain why my husband was not charged, and she said nothing further.



        21. On no occasion whatsoever, during all the discussion, was anything said or mentioned by

        anyone including Ms. Wegman, about informing the court that the parties have entered into a

        settlement agreement or have settled the case, or anything whatsoever, about informing the court

        that the case has been settled, and thus, should dismiss the case. No discussion ever was made or

        suggested that the parties was going to do so at any time. I would not have agreed to such, until

        after there has been an executed and legally binding settlement agreement, because during all the

        discussions, and at all times, I intended and believed that both parties had the right to change

        their minds at any time until they executed the written release. Under no circumstances would I

        have accepted to be bound by any agreement that I did not have a reasonable time to think over

        and freely execute, and in the present situation, it was never my belief or intention to be bound



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        by the discussions, until I had reasonable time to think it over, and freely execute Defendant’s

        release agreement sent to me.



        22. After leaving my husband and I very briefly, about two to three minutes, apparently to call

        someone with authority to accept my counter offer, Miss Wegman returned almost immediately

        back to the conference room, stretched her hand out first to shake with my husband, who took no

        part whatsoever, during the whole discussion, as he had no authority to do so, and then next to

        me. My husband and I politely shook her hand.




        23. Immediately after the handshakes, Miss Wegman asked, if there was any other thing I

        wanted? I said yes, that I would also like to have an official written apology from an officer from

        Frontier, but Ms. Wegman emphatically said No! That there will be no such apology, unless it

        was an apology from her, on behalf of Frontier. She then added, I will be sending you the release

        agreement, to which I responded, “we’ll see.”



        24. As I left LeClair Ryan’s office and Ms. Wegman, it became clear to me that my emotional

        state of mind during the discussion, overwhelmed and clouded my judgment, and prevented me

        from making a rational, reasonable decision during that period, which caused me to be angry and

        embarrassed, but relieved, because I knew and believed that the parties were free to change their

        minds at any time prior to signing of any release document. I was so embarrassed that I did not

        share my thoughts or feelings with my husband until later. I pleaded with my husband not to

        discuss anything about the case unless I raised the issue, and he sympathetically agreed.




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        25. During the discussion, references were made only to my case against Frontier. At no time

        whatsoever, did anyone including Ms. Wegman, expressly mention, imply or allude to:

        REPUBLIC AIRWAYS HOLDINGS, INC., INDIGO PARTNERS LLC, FALCON

        ACQUISITION GROUP, INC., FRONTIER AIRLINES HOLDINGS, INC, AIR WORLD

        TRAVEL & TRAINING CORP., WORLDWIDE FLIGHT SERVICES, INC., ALLIANZ

        GLOBAL CORPORATE AND SPECIALTY, ALLIANZ GLOBAL RISKS US INSURANCE

        COMPANY, AND ALLIANZ AVIATION MANAGERS, LLC, as part of the discussion, or are

        they in anyway part of the suit I filed, which is pending in the District Court.



        26. I have no suit pending against any of the above listed institutions, although I may have

        independent legal causes of action against, and the right to sue, some of them, should I decide to

        do so, and reserve the right to do so. I have not heard the names of most of them, nor did I know

        of their existence, until I surprisingly saw their names in Defendant’s attached document titled

        “Confidential Full Release and Settlement Agreement.” I certainly did not discuss nor have them

        in contemplation during my discussion with Ms. Wegman, as it was humanly impossible for me

        to discuss release of institutions I did not sue or know existed prior to, or during, an apparent

        settlement discussion, or after, until I began reading the Release.



        27. My husband did not read the Release document e-mailed to him by Ms. Wegman at the time

        he sent her the e-mail that requested added signature page for Defendant’s signature. In fact, he

        read the document after I read it and refused to sign it. He printed it out, flipped through it and

        saw there was only a signature place for me, the Plaintiff, and none for the Defendant to sign,




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        and thinking it was a mistake (which we later realized was deliberate), without thinking much of

        it, sent Ms. Wegman an email to add Defendant’s signature line.



        28. My husband Stephen Swift, sent the email requesting the added signature line, without

        telling me, and without me seeing the document itself. After he sent the email, he later gave me

        the printed document to read. I did not read it then, and nothing further was said or discussed

        until Wednesday, when I finally read it. It was after reading it, that I explained to my husband

        how I felt about the whole matter since we left LeClair Ryan’s office on January 9, and that I had

        already made up my mind not to sign the Release under any circumstances. It was then he told

        me about the email he sent Ms. Wegman regarding their signature line. I immediately asked him

        to inform Ms. Wegman that I was not going to sign her Release document, and after reading the

        release himself, he then agreed with my decision and advised me that he too, after careful review

        did not think it was in my best interest to sign the Release, and he immediately informed Ms.

        Wegman accordingly, via email.



        29. That Friday, two days later, Ms. Wegman sent another copy of same release document she

        had sent earlier, with her signature.



        30. My suit, which is pending in the District Court, is against Frontier Airlines, Inc., and not their

        attorney, Ms. Wegman.



        I declare under oath and penalty of perjury, that to the best of my recollection, the foregoing is

        true and accurate.


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                              EXHIBIT

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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                       ALEXANDRIA DIVISION

                                                         |
        CHARITY CHIDINMA                                 |
        EMERONYE SWIFT,                                  |
                                                         |
                      Plaintiff,                         |   Civil Action No. 1:14-CV-1139
                                                         |
               v.                                        |   Hon. Judge Anthony J. Trenga
                                                         |   Hon. Magistrate Judge Ivan D. Davis
        FRONTIER AIRLINES, INC. (a Colorado              |
        corporation), and JANE DOE,                      |
                                                         |
                      Defendants.                        |
                                                         |

                      FRONTIER AIRLINES, INC.’S REPLY IN SUPPORT OF ITS
                      MOTION TO ENFORCE THE SETTLEMENT AGREEMENT

               Defendant Frontier Airlines, Inc. (“Frontier”) submits this reply memorandum of law in

        support of its Motion to Enforce the Settlement Agreement, and states as follows:

                                                 ARGUMENT

        A.     ENFORCEMENT OF THE SETTLEMENT AGREEMENT AGAINST
               PLAINTIFF IS REQUIRED BECAUSE A BINDING AND ENFORCEABLE
               AGREEMENT WAS REACHED BETWEEN THE PARTIES.

               Plaintiff’s opposition and supporting affidavit only confirm, not dispute, that Plaintiff and

        Frontier reached a complete, enforceable settlement agreement regarding this litigation.

        Plaintiff’s claim that Frontier’s counsel was “deceptively” friendly and somehow “[took]

        advantage of [her] emotional state of mind” is ludicrous and not well taken. (ECF Dkt. 54-2 at

        ¶¶ 9, 19.) Plaintiff’s own affidavit demonstrates that she is a well-educated lawyer who was

        represented by her husband, who is also an attorney, for the negotiations and consummation of

        the settlement. (ECF Dkt. 54-2 at ¶¶ 2 – 3, 7.) They were both present for the duration of the



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        settlement discussions, Plaintiff herself participated in negotiating the settlement, and both

        Plaintiff, as well as her counsel, agreed to the settlement agreement ultimately reached. (ECF

        Dkt. 54-2 at ¶¶ 8, 19.) The settlement was confirmed in writing and the terms were not

        contested. According to Plaintiff’s Affidavit, however, the settlement agreement should be

        disregarded because she was “in an emotional stupor” and that “only someone in an emotional

        funk” could have possibly asked for the settlement amount that she requested, and to which

        Frontier and she ultimately agreed. (ECF Dkt. 54-2 at ¶ 19.) Plaintiff is simply attempting to

        renege on the agreement because she has changed her mind and wants more money. As noted in

        Frontier’s opening brief, “having second thoughts about the results of a valid settlement

        agreement does not justify setting aside an otherwise valid agreement.” Young v. FDIC, 103 F.3d

        1180, 1195 (4th Cir. 1997). Indeed, this is the very reason why courts must look to the objective

        words and actions of the parties to determine whether there was a meeting of the minds;

        Plaintiff’s “contrary unexpressed state of mind is immaterial” for this purpose. Sengal v. Fakouri

        Elec. Eng’g, Inc., 2011 U.S. Dist. LEXIS 134820, at *7 (E.D. Va. Nov. 22, 2011).

               In sum, and as further set forth below, Plaintiff’s arguments to avoid the settlement she

        admits was reached on January 9, 2015 have no basis in law or fact, and must be rejected.

               1.      This Court Has Jurisdiction to Enforce the Settlement.

               Plaintiff’s contention that this Court does not have jurisdiction over Frontier’s motion to

        enforce the settlement agreement is flat wrong. Indeed, the Fourth Circuit has consistently

        recognized that “[a]lthough resolution of a motion to enforce a settlement agreement draws on

        standard contract principles, it may be accomplished within the context of the underlying

        litigation without the need for a new complaint. To this extent, district courts have inherent

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        authority, deriving from their equity power, to enforce settlement agreements.” Hensley v. Alcon

        Labs., 277 F.3d 535, 540 (4th Cir. 2002). The cases cited by Plaintiff – Kokkonen v. Guardian

        Life Ins. Co. of Am., 511 U.S. 375 (1994); In re Phar-Mor, Inc. Sec. Lit., 172 F.3d 270 (3d Cir.

        1999) and Trans States Airlines, Inc. v. Commonwealth Aviation Serv., Inc., 2008 U.S. Dist.

        LEXIS 88396 (E.D. Va. Oct. 31, 2008) – are wholly irrelevant to the present motion, as those

        cases only address the issue of whether a district court has the ability to reassert jurisdiction to

        enforce a settlement after the litigation has already been dismissed. None of those cases apply

        here, as this case is actively pending before this Court and has not been dismissed. As such, there

        is no question this Court has jurisdiction over the pending motion, as it does with the litigation in

        its entirety, and Plaintiff’s argument must be ignored.

               2.      Plaintiff’s Jury Trial Demand Is Irrelevant.

               Plaintiff’s claim that she filed a jury demand in her initial complaint does not obviate the

        settlement to which she agreed to several months after she instituted the case. Nor does this

        claimed right relinquish this Court of its inherent authority to enforce settlement agreements, and

        her citation to Millner is inapposite. Millner v. Norfolk & W. Ry. Co., 643 F.2d 1005, 1009 (4th

        Cir. 1981). Unlike Plaintiff Swift, the Millner plaintiff produced substantial evidence that his

        attorney did not have the authority to settle his FELA case, and that there was never a meeting of

        the minds between his counsel and the employer. Id. at 1009-10. Unlike the present case, “in an

        FELA action, even the questions whether an employer should be estopped to plead limitations, or

        whether an employee is entitled to rescission of a release because of fraud, are triable to a jury as

        of right.” Id. at 1010 (internal citations omitted). This is not the situation here. Plaintiff Swift, a

        sophisticated attorney, does not dispute that she, along with her own attorney, personally reached

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        a settlement agreement with Frontier’s counsel following a long, in-person meeting to discuss

        resolution of her case. In fact, Plaintiff admits that she herself “made a counter offer” and that

        counsel for Frontier “accepted it.” (ECF Dkt. 54-2, ¶19). There is simply no dispute, let alone a

        substantial dispute, as to the authority Plaintiff’s counsel had when Plaintiff herself agreed to

        settle her own case on January 9, 2015. See, e.g., Petty v. Timken Corp., 849 F.2d 130, 132 (4th

        Cir. 1988) (“Trial courts possess the inherent authority to enforce a settlement agreement and to

        enter judgment based on an agreement without a plenary hearing. Although summary

        enforcement is inappropriate when there is a material dispute about the existence of a settlement

        agreement or the authority of an attorney to enter a settlement agreement on behalf of his client,

        [plaintiff’s] effort to bring his case within that context is thoroughly unpersuasive.” (citing

        Millner, 643 F.2d at 1009)).

               As such, the circumstances in this case are more akin to the Fourth Circuit’s more recent

        decision in Topiwala v. Wessell, 509 Fed. Appx. 184 (4th Cir. 2013). There, the defendants

        attempted to renege on a settlement, claiming there was no meeting of the minds, since “they

        were rushed into the agreement because they had a plane to catch, and that they mistakenly

        agreed to certain terms that they later discovered would be more difficult to satisfy than

        anticipated.” Id. at 186-87. Noting that “[a] settlement agreement may be enforceable

        notwithstanding the fact that it is not yet consummated” and “the fact that a party has ‘second

        thoughts’ about the agreement’s results does not render the agreement unenforceable,” the

        Fourth Circuit, while citing Millner, found that a plenary evidentiary hearing was unnecessary

        because if “a settlement agreement exists and its terms and conditions can be determined, as long

        as the excuse for nonperformance is comparatively unsubstantial, the court may enforce the

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        agreement summarily.” Id. (citing Millner, 643 F.2d at 1009). As such, the court rejected

        defendants’ “catch-a-plane” and “mistake” arguments, finding that such excuses “expose their

        true motivations for avoiding the agreement,” and held that these reasons were “not merely

        comparatively, but wholly unsubstantial.” Id. (citing Millner, 643 F.2d at 1009).

               Like in Wessell, Plaintiff’s arguments here fail because her claim that she was very

        emotional when she admittedly agreed to the settlement does not create a substantial issue of

        material fact that can unwind the undisputed agreement reached between the parties. Simply

        wanting more money after agreeing to an amount certain is exactly the type of “second thoughts”

        that courts look to avoid. See id. at 186 (citing Hensley, 277 F.3d at 540). There exist no factual

        dispute here about the authority of the parties to enter into the agreement, and this Court may

        therefore summarily enforce the settlement agreement. See, e.g., Hensley, 277 F.3d at 541.

               3.      Plaintiff Fails to Identify Any Disputed Terms of the Settlement Agreement.

               Plaintiff’s argument that there is no legally binding settlement agreement because she did

        not sign a written agreement, which she claims contained “provisions that were not discussed in

        the meeting,” is unavailing. Plaintiff does not even dispute any of these terms, let alone claim

        they are material. Indeed they are not. It is undisputed that the only term Plaintiff requested to be

        added after receiving the written release was a signature line for a Frontier representative to sign

        (which was done). This does not excuse Plaintiff of her breach, and enforcement remains proper.

               The issue for the Court here is to determine: (1) did the parties reach a complete

        agreement, and (2) can the terms and conditions be ascertained? Hensley, 277 F.3d 535 (4th Cir.

        2002) (citing Millner, 643 F.2d at 1009). Here, it simply is not, and cannot be, disputed that

        Plaintiff and Frontier reached a complete settlement agreement. (ECF Dkt. 54-2, ¶19). The

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        confirming documentation between Plaintiff’s counsel and Frontier’s counsel further support the

        existence of a complete settlement agreement. The excuse given by Plaintiff is that she changed

        her mind, which does not justify setting aside the agreement.

               The Virginia Supreme Court in Snyder-Falkinham v. Stockburger, for example, held that

        a plaintiff’s oral agreement to a proposed settlement agreement, despite the fact that a later

        writing was contemplated, was sufficient to bind her to that agreement. 457 S.E.2d 36, 41 (Va.

        1995) (“Contrary to the plaintiff’s contention on appeal, the settlement was binding even though

        these parties contemplated that a formal, written ‘Mutual Release and Settlement Agreement’

        memorializing the compromise would be executed.”). There, like here, the plaintiff had a change

        of heart and decided that the settlement amount she orally agreed to was insufficient. Id. The

        Stockburger Court flatly rejected plaintiff’s attempt to renege on the settlement, finding that

        “[o]nce a competent party makes a settlement and acts affirmatively to enter into such

        settlement, her second thoughts at a later time upon the wisdom of the settlement do not

        constitute good cause for setting it aside. That is what occurred here.” Id. (citing Moreland v.

        Suttmiller, 397 S.E.2d 910, 914 (W.Va. 1990).

               Likewise, this Court in Patel v. Barot, recently followed Stockburger and held that

        settlement terms outlined in a party’s email were enforceable, because “neither the inclusion of

        the additional terms in the Agreement, nor the requirement that the Agreement be fully executed

        before taking effect, defeat the enforceability of the settlement as expressed in the January 27 e-

        mail.” 15 F. Supp. 3d 648, 655 (E.D. Va. 2014); see also Campbell v. Adkisson, 546 Fed. Appx.

        146, 153 (4th Cir. 2013) (finding that the parties never expressly stated that their agreement was




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        dependent on the execution of a writing, and later dissatisfaction of the settlement amount was

        not grounds to void the oral settlement agreement).

               Putting the attestations of Plaintiff and Frontier’s counsel aside for a moment, the

        Wegman Declaration contains the correspondence that transpired between Frontier’s counsel and

        Plaintiff’s counsel after the settlement agreement was reached. It is unrefuted. As in Stockburger

        and Patel, the communications here – authored in part by Plaintiff’s counsel – are an objective

        reflection of Plaintiff’s intention to be bound by the settlement agreement. Plaintiff agreed to

        release and dismiss all her claims set forth in her complaint in exchange for the monetary amount

        demanded and confidentiality. (Wegman Decl., ¶10.) The Settlement Agreement was confirmed

        in writing by Frontier. (Wegman Decl., ¶12.) Plaintiff did not question or contest the

        confirmation of the Settlement Agreement. Id. A written Full Release and Settlement Agreement

        was provided to Plaintiff. (Wegman Decl., ¶13.) Plaintiff did not question or contest the written

        Settlement Agreement or any of its terms. (Wegman Decl., ¶14.) Indeed, the fact that a complete

        Settlement Agreement had been reached is conceded in Plaintiff’s counsel’s subsequent

        correspondence (attempting to renege), which specifically states that “I have advised my client

        that she should not go ahead with the agreement at this time.” (Wegman Decl., ¶16, Exhibit D

        (emphasis added).) In sum, a complete agreement was reached between the parties and Plaintiff’s

        counsel’s own correspondence confirmed that the terms and conditions were deemed acceptable.

        They must be enforced here.

               Additionally, Plaintiff’s claim that the settlement agreement cannot be enforced because

        the written agreement was attached, in redacted form, to Frontier’s motion to enforce the

        judgment, and thus the parties cannot “carry out its terms,” is baseless. In other words, Plaintiff

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        argues that, by filing the present motion, Frontier breached the settlement agreement she claims

        did not exist in the first place, and therefore, this Court should not hold Plaintiff to her initial

        material breach of the agreement. Such a legally unsupported and circular argument must be

        rejected, as the present motion was necessitated by Plaintiff’s, not Frontier’s, wrongful attempt to

        renege on the settlement agreement, and the terms became at issue as a direct result. As noted in

        Plaintiff’s opposition, the written agreement specifically states that the content shall not be

        disclosed “except as necessary for tax reporting purposes or as otherwise required by law.” In

        order to enforce the settlement agreement improperly breached by Plaintiff, the Court must

        review such evidence to ascertain the material terms and conditions in dispute and determine

        whether an agreement was reached that can be enforced. The only condition Plaintiff ever raised

        prior to reneging on the settlement was requesting that Frontier add a signature line for itself,

        which Frontier added and executed as requested. The written agreement was attached as part of

        the communications between Frontier and Plaintiff after the settlement agreement was reached,

        and those communications, along with the formal writing, demonstrate that the parties had

        reached an agreement on all material terms. There exists no reason to unwind the legally

        enforceable settlement, and the Court must therefore grant Frontier’s motion to enforce.

               4.      Plaintiff’s Improper Request for Fees and Costs Must Be Denied.

               Finally, Plaintiff’s allegation that Frontier acted in bad faith by entering into settlement

        negotiations with Plaintiff and her counsel and by filing the present motion cannot be taken

        lightly and must be denied. Plaintiff’s assertions that Frontier “knew” she was emotionally

        unstable at the time she entered into the settlement agreement and somehow “took advantage” of

        her are completely unsupported by any evidence and wholly ignore the facts that Plaintiff is an

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        attorney herself and that her husband/counsel was present the entire time. Seeking to enforce a

        settlement that Plaintiff, along with her counsel, negotiated and agreed to does not constitute bad

        faith, and it is not proper for Plaintiff to even request such vexatious relief in her response brief.

               On the other hand, the costs and attorneys’ fees requested by Frontier for being forced to

        bring the present motion and continue litigating a settled case are proper and necessary to put

        Frontier back in the position it would have been had Plaintiff not wrongfully and willfully

        breached the settlement agreement. See, e.g., Sherman v. Phillip Morris, Inc., 1992 U.S. App.

        LEXIS 8457, at *8 (4th Cir. Va. Apr. 24, 1992) (affirming district court’s award of attorneys’

        fees to defendant after prevailing on motion to enforce as a result of, inter alia, “plaintiff’s

        actions in continuing to litigate after entering into a settlement agreement” (citing Arnold v.

        Burger King Corp., 719 F.2d 63, 67 (4th Cir. 1983))); see also Hoey v. Sunrise Senior Living

        Mgmt., Inc., 2013 U.S. Dist. LEXIS 27480, at *7-8 (E.D. Mich. Feb. 28, 2013) (“In order to

        restore [the non-breaching party] to the same position as she would have been if [the breaching

        party] had complied with the settlement agreement, the Court will award the costs and fees of

        bringing and defending this motion.”). Under the circumstances present here, the Court should

        exercise its discretion to award Frontier its costs and fees incurred in bringing this Motion.




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                                                CONCLUSION

               WHEREFORE, Defendant Frontier Airlines, Inc. respectfully moves for entry of an

        Order compelling Plaintiff to comply with the parties’ Settlement Agreement, dismiss the case in

        its entirety and with prejudice, and, given Plaintiff’s unmerited refusal to comply with the

        Settlement Agreement, assess against Plaintiff all costs and fees incurred by Frontier in bringing

        this Motion.



        Dated: February 16, 2015                     Respectfully submitted,



                                                     /s/    ____           ___________
                                                     Sarah E. Moffett (VA Bar No. 72208)
                                                     LECLAIRRYAN, A PROFESSIONAL CORPORATION
                                                     2318 Mill Road, Suite 1100
                                                     Alexandria, Virginia 22314
                                                     Telephone: (703) 647-5930
                                                     Facsimile: (703) 647-5980
                                                     Email: sarah.moffett@leclairryan.com

                                                     - and –

                                                     Paula L. Wegman (admitted pro hac vice)
                                                     Steven L. Boldt (admitted pro hac vice)
                                                     ADLER MURPHY & MCQUILLEN LLP
                                                     20 South Clark Street, Suite 2500
                                                     Chicago, Illinois 60603
                                                     Telephone: (312) 345-0700
                                                     Facsimile: (312) 345-9860
                                                     Email: sboldt@amm-law.com
                                                     Email: pwegman@amm-law.com

                                                     Attorneys for Frontier Airlines, Inc.




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                                       CERTIFICATE OF SERVICE

                I hereby certify that, on February 16, 2015, I served the following via electronic case
        filing and sent a copy to Plaintiff’s counsel at the below e-mail address:

               Stephen Swift, Esq.
               Swift & Swift, Attorneys at Law, P.L.L.C.
               21 Eisenhower Avenue
               Suite 200
               Alexandria, VA 22314
               steve@swift.law.pro

                                                   /s/_________________
                                                   Sarah E. Moffett




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                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF VIRGINIA
                                              Alexandria Division



       CHARITY CHIDINMA
       EMERONYE SWIFT,

                              PlaimifT,
       V.                                                    Civil Action No. 1:14-cv-l 139 (AJT/IDD)

       FRONTIER AIRLINES, INC., et al.,

                              Defendants.



                                                    ORDER


               This matter is before the Court on Frontier Airlines, Inc.'s Motion to Enforce the

       Seltlemenl Agreement and for Other Relief [Doc. No. 48] (the "Motion"). Upon consideration

       of the Motion, the memoranda in support thereof and in opposition thereto, the argument of

       counsel presented at the hearing held on February 20, 2015, and for the reasons stated in open

       court, it is hereby

               ORDERED thai Frontier Airlines, Inc.'s Motion to Enforce the Settlement Agreement

       and for Other Relief [Doc. No. 48] be, and the same hereby is, GRANTED in part and DENIED

       in part, The Motion is GRANTED to the extent that this matter is hereby DISMISSED as settled

       and it is otherwise DENIED.


               The Clerk is directed to forward copies of this Order to all counsel of record.




                                                             Anthony J. Tren/
                                                             United States District Judge
       Alexandria, Virginia
       February 20, 2015




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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Alexandria Division

        ____________________________________
                                            |
        CHARITY CHIDINMA                    |
        EMERONYE SWIFT,                     |
                                            |
                     Plaintiff,             |                 Civil Action No. 1:14-cv-1139
                                            |
               v.                           |                 Hon. Anthony J. Trenga
                                            |                 Hon. Magistrate Judge Ivan D. Davis
        FRONTIER AIRLINES, INC.             |
        (a Colorado corporation),           |
        and JANE DOE,                       |
                                            |
                     Defendants.            |
        ____________________________________|

                                             NOTICE OF APPEAL

                Notice is hereby given that Charity Chidinma Emeronye Swift, Plaintiff in the above-

        named case, hereby appeals to the United States Court of Appeals for the Fourth Circuit from the

        Order dismissing this case as settled, entered in this action on the twentieth day of February,

        2015.




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        Dated: March 5, 2015               Respectfully submitted,


                                           /s/ Stephen Christopher Swift
                                           Stephen Christopher Swift
                                           Virginia State Bar ID No. 38419
                                           Swift & Swift, Attorneys at Law, P.L.L.C.
                                           2121 Eisenhower Avenue, Suite 200
                                           Alexandria, Virginia 22314-4688
                                           Telephone: (703) 418-0000
                                           Facsimile: (703) 535-8205
                                           E-Mail: steve@swift.law.pro

                                           Attorney for Plaintiff
                                           Charity Chidinma Emeronye Swift




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                                        CERTIFICATE OF SERVICE


               I hereby certify that, on March 5, 2015, I electronically filed the foregoing Notice of

        Appeal with the Clerk of the Court, using the Court’s CM/ECF system, which will automatically

        cause all counsel of record to be served therewith.



                                                     /s/ Stephen Christopher Swift
                                                     Stephen Christopher Swift




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